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                                     Hearing Date and Time: April 16, 2024 at 11:00 A.M. (ET)
                                              Response Deadline: April 9, 2024 at 4:00 P.M. (ET)

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Counsel to the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                             Chapter 11
    Genesis Global Holdco, LLC, et al.,1
                                                             Case No. 23-10063 (SHL)
                       Debtors.


    GEMINI TRUST COMPANY, LLC, for itself
    and as agent on behalf of the Gemini Lenders,

                       Plaintiff,

             v.                                              Adv. Proc. No. 23-01192 (SHL)

    GENESIS GLOBAL CAPITAL, LLC,

                       Defendant.




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 175
Greenwich Street, 38th Floor, New York, NY 10007.
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    GENESIS GLOBAL CAPITAL, LLC,

                                      Plaintiff,

    v.
                                                             Adv. Pro. No. 23-01203 (SHL)
    GEMINI TRUST COMPANY, LLC,
    individually and as agent on
    behalf of the Earn Users, and
    EARN USERS 1-232,824

                                      Defendants.


                          NOTICE OF DEBTORS’
               MOTION FOR ENTRY OF AN ORDER APPROVING A
              SETTLEMENT AGREEMENT AMONG THE DEBTORS,
        GEMINI TRUST COMPANY, LLC, THE AD HOC GROUP OF GENESIS
     LENDERS, AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

               PLEASE TAKE NOTICE that on January 19, 2023 (the “Petition Date”), Genesis
Global Holdco, LLC (“Holdco”) and its debtor affiliates, as debtors and debtors-in-possession in
the above-captioned chapter 11 cases (collectively, the “Debtors”),1 each filed a voluntary petition
for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the
“Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of New
York (the “Court”).

              PLEASE TAKE FURTHER NOTICE that on March 19, 2024, the Debtors filed
the Debtors’ Motion for Entry of an Order Approving a Settlement Agreement Among the Debtors,
Gemini Trust Company, LLC, the Ad Hoc Group of Genesis Lenders, and the Official Committee
of Unsecured Creditors (the “Motion”).

              PLEASE TAKE FURTHER NOTICE that a hearing (the “Hearing”) on the
Motion will be held before the Honorable Sean H. Lane, United States Bankruptcy Judge in the
United States Bankruptcy Court for the Southern District of New York, 300 Quarropas Street,
White Plains, NY 10610 pursuant to the Order Implementing Certain Notice and Case
Management Procedures (ECF No. 44) (the “Case Management Order”). The Hearing will
commence on April 16, 2024, at 11:00 a.m. (Prevailing Eastern Time), and will be conducted
through Zoom for government.

               PLEASE TAKE FURTHER NOTICE that parties wishing to register for the
Zoom Hearing should use the eCourt Appearances link on the Court’s website:
https://www.nysb.uscourts.gov/ecourt-appearances. After the deadline to make appearances
passes, the Court will circulate by email prior to the Hearing the Zoom links to those persons who
1
         Holdco, and its Debtor and non-Debtor subsidiaries are collectively referred to as the “Company”.
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made eCourt Appearances, using the email addresses submitted with those appearances. Members
of the public who wish to listen to, but not participate in, the Hearing free of charge may do so by
calling the following muted, listen-only number: 1-929-205-6099, Access Code: 92353761344#.

              PLEASE TAKE FURTHER NOTICE that any objections or responses
(“Responses”), if any, to the Motion or the relief requested therein shall be made in writing, filed
with the Court no later than April 9, 2024, at 4:00 p.m. (Prevailing Eastern Time) (the
“Response Deadline”), and served as required by the Case Management Order.

                PLEASE TAKE FURTHER NOTICE that where a creditor sends the Court a
written Response that is not signed by an attorney, and the creditor does not file the Response on
the docket, the creditor must include with its Response a completed Court Communication Form
(as defined, and in accordance with the requirements set forth, in the Notice of Protocol for Written
Communications to the Bankruptcy Court by Creditors (ECF No. 1094) (the “Written
Communications Protocol”)) authorizing the Court to file the Response on the Court docket and
acknowledging that the creditor’s name and any contact information included in the Response as
well as in the Court Communication Form will be publicly available. The Court Communication
Form is attached as Exhibit A to the Written Communications Protocol. Failure to include a
completed Court Communications Form or to consent to this acknowledgement will result in the
Response not being filed on the docket or considered by the Court. See Written Communications
Protocol at 2.

               PLEASE TAKE FURTHER NOTICE that if no Responses are timely filed and
served with respect to the Motion, the Debtors may, on or after the Response Deadline, submit to
the Court an order substantially in the form annexed as Exhibit A to the Motion, which order the
Court may enter with no further notice or opportunity to be heard.

                PLEASE TAKE FURTHER NOTICE copies of the Motion can be viewed and/or
obtained by: (i) accessing the Court’s website at www.nysb.uscourts.gov, or (ii) from the Debtors’
notice and claims agent, Kroll Restructuring Administration located at One Grand Central Place,
60 East 42nd Street, Suite 1440, New York, New York 10165, at
https://restructuring.ra.kroll.com/genesis or by calling +1 212 257 5450. Note that a PACER
password is needed to access documents on the Court’s website.

               PLEASE TAKE FURTHER NOTICE that the Motion may affect your rights.
Please read the Motion carefully and, if you have one available, discuss it with your attorney. (If
you do not have an attorney, you should consider consulting with one.)



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                PLEASE TAKE FURTHER NOTICE that if you oppose the relief requested in
the Motion, or if you want the Court to hear your position on the Motion, then you or your attorney
must attend the Hearing. If you or your attorney do not follow the foregoing steps, the Court may
decide that you do not oppose the relief requested in the Motion and may enter orders granting the
relief requested by the Debtors.


  Dated:     March 19, 2024                           /s/ Luke A. Barefoot
             New York, New York                       Sean A. O’Neal
                                                      Luke A. Barefoot
                                                      Jane VanLare
                                                      Thomas S. Kessler
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Counsel to the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                             Chapter 11
    Genesis Global Holdco, LLC, et al.,2
                                                             Case No. 23-10063 (SHL)
                       Debtors.


    GEMINI TRUST COMPANY, LLC, for itself
    and as agent on behalf of the Gemini Lenders,

                       Plaintiff,

             v.                                              Adv. Proc. No. 23-01192 (SHL)

    GENESIS GLOBAL CAPITAL, LLC,

                       Defendant.




2
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 175
Greenwich Street, 38th Floor, New York, NY 10007.
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  GENESIS GLOBAL CAPITAL, LLC,

                           Plaintiff,

  v.
                                            Adv. Pro. No. 23-01203 (SHL)
  GEMINI TRUST COMPANY, LLC,
  individually and as agent on
  behalf of the Earn Users, and
  EARN USERS 1-232,824

                           Defendants.


                       DEBTORS’ MOTION FOR
                   ENTRY OF AN ORDER APPROVING
          A SETTLEMENT AGREEMENT AMONG THE DEBTORS,
      GEMINI TRUST COMPANY, LLC, THE AD HOC GROUP OF GENESIS
   LENDERS, AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
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       Genesis Global Capital, LLC (“GGC”), Genesis Asia Pacific Pte. Ltd. (“GAP”), and

Genesis Global Holdco, LLC (“GGH” and, collectively with GGC and GAP, the “Debtors” and

these cases, collectively, the “Chapter 11 Cases”) hereby submit this Motion (the “Motion”) for

entry of an order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”),

pursuant to section 105(a) of title 11 of the United States Code (the “Bankruptcy Code”) and rule

9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), approving the

settlement agreement between the Debtors, Gemini Trust Company, LLC (“Gemini”), the Ad Hoc

Group of Genesis Lenders (the “Ad Hoc Group”), and the Official Committee of Unsecured

Creditors for the Chapter 11 Cases (the “Committee” and, together with the Debtors, Gemini, and

the Ad Hoc Group, the “Parties”) attached hereto as Exhibit B (as may be amended by the Parties,

the “Settlement Agreement”). 1 In support of this Motion, the Debtors submit the Declaration of

Thomas Conheeney in Support of Debtors’ Motion for Entry of an Order Approving a Settlement

Agreement Among the Debtors, Gemini Trust Company, LLC, the Ad Hoc Group of Genesis

Lenders, and the Official Committee of Unsecured Creditors (the “Conheeney Declaration”), filed

contemporaneously herewith as Exhibit C, and the Declaration of Thomas Q. Lynch in Support

of Debtors’ Motion for Entry of an Order Approving a Settlement Agreement Among the Debtors,

Gemini Trust Company, LLC, the Ad Hoc Group of Genesis Lenders, and the Official Committee

of Unsecured Creditors (the “Lynch Declaration”), filed contemporaneously herewith as Exhibit

D, and respectfully state as follows:

                                   PRELIMINARY STATEMENT

       1.      After nearly a year and a half of substantial litigation and settlement discussions,

the Debtors come to this Court seeking approval of a settlement agreement by and among the



1
       Capitalized terms not defined herein shall have the meanings ascribed to them in the Settlement Agreement.
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Debtors, Gemini, the Ad Hoc Group, and the Committee that will resolve all issues among the

Parties on the terms set forth therein, including, without limitation, (a) the adversary proceeding

commenced by Gemini in this Court on October 27, 2023 against the Debtors, and the

counterclaims asserted by the Debtors therein, captioned Gemini Trust Company, LLC, for itself

and as agent on behalf of the Gemini Lenders v. Genesis Global Capital, LLC, Genesis Global

Holdco, LLC, and Genesis Asia Pacific Pte. Ltd., Adv. Pro. No. 23-01192 (SHL) (the “GBTC

Action”), (b) the adversary proceeding commenced by GGC in this Court on November 21, 2023,

captioned Genesis Global Capital, LLC v. Gemini Trust Company, LLC, individually and as agent

on behalf of Earn Users, and Earn Users 1-232,824, Adv. Pro. No. 23-01203 (SHL) (the

“Preference Action” and, together with the GBTC Action, the “Gemini Adversary Proceedings”),

(c) the proof of claim numbered 356 filed by Gemini in these Chapter 11 Cases on behalf of the

Gemini Lenders (the “Gemini Master Claim”), and (d) the proof of claim numbered 406 filed by

Gemini in these Chapter 11 Cases against GGC (the “Gemini Proprietary Claim” and, together

with the Gemini Master Claim, the “Proofs of Claim”). Put plainly, the Settlement Agreement is

truly a monumental achievement that resolves all Gemini-related issues in these Chapter 11 Cases

and paves the way to near-term recoveries of approximately 97% on an in-kind basis to the Gemini

Lenders.

        2.       As more fully described in the Settlement Agreement, 2 to resolve the Gemini

Adversary Proceedings and the Proofs of Claim, the Settlement Agreement provides, among other

things, for near-full near-term payment, on an in-kind “coin-for-coin” basis, of the Gemini Lender

Claims through a combination of (a) cash of digital assets holding a cumulative value equivalent


2
         Any summary of the Settlement Agreement contained in this Motion is solely for illustrative purposes and is
qualified in its entirety by the actual terms and conditions of the Settlement Agreement. To the extent that there is
any conflict between any summary contained herein and the actual terms and conditions of the Settlement Agreement,
the actual terms and conditions of the Settlement Agreement shall control.


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to $50,000,000 contributed directly by Gemini, (b) value up to $50,000,000 (the “DCG Amount”)

that may be contributed directly by Digital Currency Group, Inc. (“DCG”) or will be passed

through to the Gemini Lenders by the Debtors as a percentage of any amounts ultimately recovered

by the Debtors from DCG, whether through litigation, settlement or otherwise, (c) a distribution

from the Debtors’ estates of USD (currently estimated at approximately $114,000,000 in value),

(d) the proceeds of the pledged Gemini GBTC Shares, (e) a distribution from the Debtors’ estates

of certain agreed Alt-Coins that are included in the Gemini Master Claim (currently estimated at

approximately $83,000,000 in value), and (f) release by the Debtors of the Gemini Earn Operations

Assets (currently estimated at approximately $19,000,000 in value). Significantly, the limited

distribution from the Debtors’ estates with respect to (c) and (e) consists solely of Alt-Coins that

the Debtors already own and USD, which will (subject to the potential pass-through described in

(b)) facilitate the Debtors’ satisfaction of obligations to Gemini and all Gemini Lenders, and will

facilitate the Debtors’ efforts to maximize in-kind recoveries for all of the Debtors’ creditors under

the Plan, including by preserving the Debtors’ BTC and ETH for future distributions to other

constituents under the Plan.

       3.      As part of the Settlement Agreement, Gemini would also (a) release any asserted

lien, security interest or constructive trust claims with respect to the Additional GBTC Shares, (b)

assign to the Debtors all claims and causes of action asserted by Gemini against DCG, including

the claims asserted in its proceeding against DCG in the United States District Court for the

Southern District of New York, (c) reduce the Gemini Proprietary Claim (originally asserted for

an amount exceeding $20,000,000, plus certain contingent and unliquidated amounts) to a fixed

amount equal to $7,500,000; provided, however, that Gemini may also receive certain amounts

under Section 2.7(b) of the Settlement Agreement, and (d) indemnify the Debtors from any claims




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and causes of action asserted by the Gemini Lenders arising from any actions taken in accordance

with the Settlement Agreement after the completion of the Genesis Distribution.

       4.      The Settlement Agreement is the product of extensive negotiations among the

Parties. Among other benefits, the Settlement Agreement will resolve the Gemini Adversary

Proceedings, as well as fix and allow the Proofs of Claim filed by Gemini in these Chapter 11

Cases, thereby eliminating the risks, expenses, and uncertainty associated with protracted litigation

with Gemini. Most importantly, the Settlement Agreement would pave the way to near-term

distributions to Gemini Lenders, one of the largest constituencies in these cases, and avoid the

necessity of a significant reserve pending further litigation of the Gemini Adversary Proceedings,

thus enhancing near-term creditor recoveries for non-Gemini Lender creditors as well. Entry into

the Settlement Agreement is an exercise of the Debtors’ sound business judgment and has been

approved by the Special Committee of the Board of Directors of Holdco (the “Special

Committee”), which, following consultation with the Debtors’ legal and financial advisors, has

concluded that the Settlement Agreement is in the best interests of the Debtors’ estates and their

creditors.

       5.      Accordingly, and for all of the reasons set forth herein, the Debtors submit that

entry into the Settlement Agreement is fair and equitable, reasonable, and in the best interests of

the Debtors’ estates. The Debtors respectfully request that the Court grant the relief requested in

this Motion, approve the Settlement Agreement, and enter the Proposed Order.

                                 JURISDICTION AND VENUE

       6.      The United States Bankruptcy Court for the Southern District of New York (the

“Bankruptcy Court” or the “Court”) has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the Southern District of New York dated January 31, 2012 (Preska, C.J.). Venue is


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proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding pursuant to 28

U.S.C. § 157(b). The statutory predicates for the relief requested herein are Section 105 of the

Bankruptcy Code and Bankruptcy Rule 9019.

                                        BACKGROUND

       A.      The Chapter 11 Cases

       7.      On January 19, 2023, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code (the date of such filing, the “Petition Date”). The Debtors are

operating their businesses as debtors-in-possession under Sections 1107(a) and 1108 of the

Bankruptcy Code. The Debtors’ bankruptcy proceedings have been consolidated for procedural

purposes only and are jointly administered pursuant to Bankruptcy Rule 1015(b). See Joint

Administration Order (ECF No. 37). No trustee or examiner has been appointed in the Chapter

11 Cases. The Committee was appointed by the United States Trustee for Region 2 on February

3, 2023, pursuant to Section 1102(a) of the Bankruptcy Code. See Notice of Appointment of

Official Committee of Unsecured Creditors (ECF No. 55).

       B.      History of Dealings Between the Parties

       8.      Prior to the Petition Date, GGC entered into certain Master Digital Loan

Agreements (“MLAs”) with Gemini and certain users of the Gemini platform (each such user, a

“Gemini Lender” and, collectively, the “Gemini Lenders”). Pursuant to the MLAs, the Gemini

Lenders agreed to lend certain digital assets to GGC, with Gemini acting as custodian and agent

for the Gemini Lenders in certain respects (such agreements, the “Gemini Earn Agreements”) and

the transactional arrangements as set forth in the Gemini Earn Agreements, the “Gemini Earn

Program”).

       9.      On August 15, 2022, GGC entered into a security agreement (the “Security

Agreement”) with Gemini, as agent for the Gemini Lenders, pursuant to which GGC pledged


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approximately 30,000,000 shares of GBTC to secure certain of GGC’s obligations under the

Gemini Earn Program (such shares, the “Gemini GBTC Shares”).

       10.     On October 13, 2022, Gemini provided GGC thirty days’ notice of its intention to

terminate the Gemini Earn Program.

       11.     After further negotiations between GGC and Gemini, on November 7, 2022, GGC

and Gemini entered into an amendment to the Security Agreement (the “First Amendment”),

which obligated GGC to maintain its pledge under the Security Agreement until GGC repaid its

obligations under the Gemini Earn Program in full.

       12.     Following the First Amendment, Gemini requested that GGC pledge additional

collateral to further secure certain of GGC’s obligations under the Gemini Earn Program. On

November 10, 2022, GGC, Gemini, and DCG entered into a second amendment to the Security

Agreement (the “Second Amendment”), pursuant to which DCG agreed to transfer to GGC

approximately 31,000,000 shares of GBTC (the “Additional GBTC Shares”), and GGC in turn

agreed to pledge such shares to Gemini for the benefit of Gemini Lenders to secure certain of

GGC’s obligations under the Gemini Earn Program.

       13.     DCG transferred its entire ownership interest in the Additional GBTC Shares to

GGC in November 2022. GGC did not, however, subsequently transfer the Additional GBTC

Shares to Gemini but instead continued to hold the Additional GBTC Shares. See Adversary

Complaint ¶ 53 (ECF No. 1, Adv. Pro. No. 23-01192); Answer, Affirmative Defenses, and

Counterclaims of Genesis Global Capital, LLC, to the Complaint at 26 (ECF No. 10, Adv. Pro.

No. 23-01192). Gemini asserted, among other things, a security interest in the Additional GBTC

Shares on behalf of the Gemini Lenders.




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          14.   On November 16, 2022, GGC announced that it was suspending redemptions by

the Gemini Lenders from the Gemini Earn Program and Gemini delivered a notice to GGC stating

that Gemini foreclosed on the Gemini GBTC Shares through a private sale for total proceeds of

$284,333,194.40. See Adversary Complaint ¶ 43 (ECF No. 1, Adv. Pro. No. 23-01192).

          C.    The Proofs of Claim and the Gemini Adversary Proceedings

          15.   On May 22, 2023, Gemini filed (a) the Gemini Master Claim against GGC on

behalf of the Gemini Lenders, which asserts, among other things, claims for all of the Master Claim

Digital Assets, and (b) the Gemini Proprietary Claim, which asserts, among other things, claims

for agent fees, late fees and claims related to GGC’s obligation to indemnify Gemini and its

affiliates, officers, directors, employees, agents, consultants or other representatives for certain

liabilities in accordance with the terms of the Gemini Earn Agreements (in an amount exceeding

$20,000,000 plus additional contingent and unliquidated amounts).

          16.   On October 27, 2023, Gemini filed the GBTC Action against GGC in the

Bankruptcy Court through the Adversary Complaint (ECF No. 1, Adv. Pro. No. 23-01192 (SHL)),

seeking declaratory judgments that (a) Gemini properly foreclosed on the Gemini GBTC Shares

on November 16, 2022, (b) the Additional GBTC Shares are not property of any of the Debtors’

estates, and (c) Gemini has a security interest in, or constructive trust over, the Additional GBTC

Shares.

          17.   On November 21, 2023, in the GBTC Action, GGC filed (a) a motion to dismiss

the claims related to the Additional GBTC Shares (ECF No. 9) and (b) an answer to the claims

related to the Gemini GBTC Shares, denying the allegations in support of Gemini’s purported

foreclosure and asserting a counterclaim that the First Amendment constituted an avoidable

constructive fraudulent conveyance (ECF No. 10).




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       18.     On the same day, GGC filed the Preference Action against Gemini and certain

Gemini Lenders in the Bankruptcy Court through the Adversary Complaint (ECF No. 1, Adv. Pro.

No. 23-01203 (SHL)).

       19.     On December 18, 2023, Gemini filed a motion to dismiss certain of GGC’s

counterclaims related to the Additional GBTC Shares in the GBTC Action (ECF No. 16). And on

January 5, 2024, Gemini filed a motion to dismiss certain of GGC’s counterclaims related to the

Gemini GBTC Shares in the GBTC Action (ECF No. 24).

       20.     On February 7, 2024, the Bankruptcy Court rendered an opinion in favor of the

Debtors with respect to the Debtors’ motion to dismiss the claims asserted in the GBTC Action

related to the Additional GBTC Shares, wherein the Bankruptcy Court held that Gemini and the

Gemini Lenders did not have a valid and perfected lien on, a security interest in, or a constructive

trust over the Additional GBTC Shares (ECF No. 35). The Bankruptcy Court’s opinion also

dismissed all claims against GGH and GAP without prejudice. An order implementing the opinion

and granting the Debtors’ motion to dismiss was entered on February 22, 2024 (ECF No. 44).

       21.     On February 28, 2024, the parties announced in open court that they had reached

an agreement in principle. In re Genesis Global Holdco, LLC, Case No. 23-10063, Feb. 28, 2024

Hr’g Tr. at 140:15-141:3. In light of the agreement in principle, the Debtors and Gemini filed a

stipulation and proposed order adjourning all pending deadlines sine die, in order to permit the

parties to document and obtain approval of the Settlement Agreement (ECF No. 46). An order

implementing the stipulation was entered on March 15, 2024 (ECF No. 48).




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                             THE SETTLEMENT AGREEMENT

A.     The Settlement Negotiations

       22.     Gemini and the Debtors were engaged in discussions, through both their principals

and advisors, regarding various disputes relating to the Gemini GBTC Shares and the Debtors’

liabilities to Gemini and the Gemini Lenders for more than fifteen months. Conheeney Decl. ¶ 5.

       23.     The Debtors’ efforts to reach a resolution consisted of multiple rounds of

negotiations between the key stakeholders, both before the Petition Date and at various points

during the pendency of the Chapter 11 Cases. Id. ¶ 6. Most recently, the Debtors and Gemini

engaged in numerous discussions, and circulated various term sheets and proposals, in July,

September and October 2023. Id.

       24.     While all key parties with an economic stake had been involved in and kept

apprised of settlement discussions, beginning in December 2023, the Ad Hoc Group became

directly involved in the negotiations, and began discussing various proposals with Gemini to

resolve the outstanding disputes among the Debtors and Gemini. Id. ¶ 11. Since that time, the Ad

Hoc Group and Gemini have continued to have direct discussions, keeping the Debtors and

Committee updated, and obtaining their input as part of the process. Id. ¶¶ 12, 14. While certain

key economic terms were negotiated between the Ad Hoc Group and Gemini, the Debtors and the

Committee also participated in the negotiations and obtained important concessions from Gemini

and the Ad Hoc Group. Id. ¶ 14. These efforts led to an agreement in principle among the Debtors,

Gemini, the Committee and Ad Hoc Group on February 27, 2024. Id.

       25.     The Special Committee approved the proposed agreement in principle on February

28, 2024. Id. ¶ 16. On the same day, the Parties executed the “Term Sheet” and announced the

key terms of the agreement in principle at a hearing before this Court. Id. Since then, the Parties




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and their advisors have worked to convert the Term Sheet into the fulsome terms contained in the

Settlement Agreement. Id.

       26.     The Debtors, with the consent of the Ad Hoc Group, the Committee, and Gemini,

have now filed this Motion, seeking this Court’s approval of the Settlement Agreement.

B.     The Principal Terms of the Settlement Agreement

       27.     The principal terms and conditions of the Settlement Agreement are generally as

follows:

       (a)     Gemini GBTC Shares. The Gemini GBTC Shares shall be deemed to have a value

               equal to the product of: (i) the Effective Date Value of BTC, times (b) 30,905,782

               (the number of Gemini GBTC Shares as of the TS Date), times (c) the TS Date (at

               11:59PM ET) “bitcoin per share” value provided in the “Key Fund Information”

               section of the GBTC website (etfs.grayscale.com/gbtc).

       (b)     Gemini Contribution.       No later than five (5) Business Days following the

               Settlement Effective Date, Gemini shall deposit, for the benefit of the Gemini

               Lenders, the Gemini Contribution into a segregated account identified on Gemini’s

               records as account number 34162511 and with account name “Gemini Agent

               Redeem FBO Earn” (the “Redemption Account”) with the Gemini Distribution

               Agent, which Gemini Contribution shall be distributed to the Gemini Lenders on

               account of the Gemini Master Claim concurrently with the initial distribution of the

               Gemini Distribution Assets pursuant to the provisions of Section 2.5(b) of the

               Settlement Agreement.

       (c)     DCG Amount. Following the Settlement Effective Date, and solely in the event

               that DCG does not pay or otherwise transfer Fifty Million Dollars ($50,000.000.00)

               (the “DCG Amount”) in the aggregate to Gemini following the TS Date but prior


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               to the Application Date, the Debtors or their successors in interest, on a joint and

               several basis, shall transfer to the Gemini Distribution Agent, within five (5)

               Business Days of receipt, six and one-half percent (6.5%) of each USD and of each

               asset, in each case, that constitutes a DCG Recovery, up to an amount equal, in the

               aggregate, to the DCG Amount Cap. Solely for purposes of calculating the DCG

               Amount Cap and the six and one-half percent (6.5%) portion of any DCG Recovery

               under Section 2.2 of the Settlement Agreement, the dollar value of any DCG

               Recovery in a form other than USD shall be equal to: (i) for any DCG Recovery in

               the form of Digital Assets, the value of such Digital Assets as of the instant of

               receipt by the Gemini Distribution Agent of such Digital Asset based on the

               applicable price as provided for in Section 11.11(b) of the Settlement Agreement;

               (ii) for any DCG Recovery in the form of indebtedness, the face amount of such

               indebtedness (which face amount, if denominated in the form of Digital Assets,

               shall be valued (but, for the avoidance of doubt, not transferred) in USD as of the

               instant of receipt by the Gemini Distribution Agent of such indebtedness); (iii) for

               any DCG Recovery in the form of securities that have an existing public market,

               the average closing price for such securities for the ten (10) trading days prior to

               the day of receipt of such securities by the Gemini Distribution Agent; and (iv) for

               any DCG Recovery in the form of securities that do not have an existing public

               market, or any other form of consideration, the fair market value of such securities

               or other form of consideration as mutually agreed upon in good faith by the Parties

               and, if the Parties fail to agree on such fair market value within ten (10) calendar

               days of receipt thereof by the Gemini Distribution Agent, the fair market value as




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               of the date of delivery to the Gemini Distribution Agent, as determined by the

               Bankruptcy Court. Any amounts turned over to the Gemini Distribution Agent

               pursuant to Section 2.2 of the Settlement Agreement shall be used by the Gemini

               Distribution Agent to deliver the Completion Digital Assets as provided in Section

               2.5(c) of the Settlement Agreement.

      (d)      Gemini Earn Operations Assets. No later than five (5) Business Days following

               the Settlement Effective Date, Gemini shall transfer the Gemini Earn Operations

               Assets to the Redemption Account to be distributed to the Gemini Lenders on

               account of the Gemini Master Claim concurrently with the initial distribution of the

               Gemini Distribution Assets pursuant to the provisions of Section 2.5(b) of the

               Settlement Agreement.

      (e)      Genesis Distribution. No later than the five (5) Business Days following the

               Settlement Effective Date, GGC shall deliver to the Gemini Distribution Agent, for

               distribution to the Gemini Lenders, (i) the Genesis Alt-Coin Distribution and (ii) an

               amount of USD equal to (A) the MCDA Value minus (B) the sum of (1) the Gemini

               Contribution, (2) the DCG Amount, (3) the Gemini GBTC Value, (4) the Effective

               Date Value of the Genesis Alt-Coin Distribution to the extent made in accordance

               with the purposes of Section 2.4(a)(i) of the Settlement Agreement, and (5) the

               Effective Date Value of the Gemini Earn Operations Assets.

      (f)      Digital Asset Rebalance. The Gemini Distribution Agent, in its sole and absolute

               discretion and acting on behalf of the Debtors, is authorized to monetize or

               otherwise convert the Gemini Contribution, the Gemini GBTC Shares, the Genesis

               Distribution, the Gemini Reserved Coins, the Gemini Earn Operations Assets, and




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               the DCG Receipts, if any, for the purpose of satisfying through in-kind delivery to

               the greatest extent possible the Gemini Master Claim (the monetization described

               in this sentence, the “Digital Asset Rebalance”).

      (g)      Distributions on Account of Gemini Master Claim. Following the Settlement

               Effective Date and the consummation of the Genesis Distribution, the Gemini

               Distribution Agent shall distribute, from time to time promptly upon its receipt

               thereof, but in no event later than fifteen (15) Business Days thereafter, in

               accordance with the provisions of the Settlement Agreement, the Gemini

               Distribution Assets on behalf of the Debtors to the Gemini Lenders in satisfaction

               of their claims, reducing the Gemini Master Claim on a coin-for-coin basis with

               respect to each Digital Asset so delivered to the Gemini Lenders; provided,

               however, that the Gemini Distribution Assets shall not include the Completion

               Digital Assets, which assets shall be distributed in accordance with the provisions

               of Section 2.5(c) of the Settlement Agreement. The Gemini Distribution Agent

               shall deliver the Completion Digital Assets on behalf of the Debtors to the Gemini

               Lenders in its sole and absolute discretion; provided, however, that, if the Gemini

               Distribution Agent receives DCG Receipts that, in the aggregate, are in value (for

               such other assets, as determined in accordance with the provisions of Section 2.2

               of the Settlement Agreement) equal to or greater than Ten Million Dollars

               ($10,000,000.00) or a multiple of Ten Million Dollars ($10,000,000.00), the

               Gemini Distribution Agent shall distribute to the Gemini Lenders in satisfaction of

               their claims, within thirty (30) days of such receipt, a portion of the Completion

               Digital Assets equal to the quotient of (y) Ten Million Dollars ($10,000,000.00) or




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               the applicable multiple thereof divided by (z) Fifty Million Dollars

               ($50,000,000.00). Following the distribution of the Gemini Distribution Assets in

               accordance with the provisions of Section 2.5(b) of the Settlement Agreement and

               of the Completion Digital Assets in accordance with the immediately preceding

               sentence, neither Gemini nor the Gemini Distribution Agent shall have any further

               obligations to the Gemini Lenders with respect to the Gemini Master Claim.

      (h)      Assignment of Litigation Claims and Proceeds. From and after the Application

               Date, Gemini shall not settle any claims or Causes of Action against DCG without

               the prior written consent of the Debtors, the AHG and the UCC, which consent

               shall not be unreasonably withheld, conditioned, or delayed. On the Settlement

               Effective Date and provided that DCG has not, as of such date, consummated a

               settlement of claims that Gemini or the Debtors maintain against DCG, Gemini

               shall irrevocably transfer, assign, grant and convey to GGC, or its successor in

               interest, for the benefit of GGC’s creditors, all of Gemini’s right, title and interest

               in and to any and all claims and Causes of Action that Gemini has asserted, or that

               could have been asserted, in the DCG Action, including any rights and defenses

               relating to such claims and Causes of Action, the facts underlying the DCG Action

               and any claims related to the DCG Action for indemnification arising from or

               relating to the Gemini Contribution or with respect to potential joint tortfeasor

               obligations.

      (i)      Gemini Proprietary Claim. On the Plan Effective Date, the Gemini Proprietary

               Claim shall be Allowed, as defined in the Plan, as a general unsecured claim against

               GGC in the amount of Seven Million Five Hundred Thousand Dollars




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               ($7,500,000.00) (and for the purpose of the Plan be classified as a Class 3 general

               unsecured claim); provided, however, that, in no event shall the Gemini Proprietary

               Claim be afforded any lesser treatment under the Plan, any other chapter 11 plan

               that may be proposed or effectuated in the Chapter 11 Cases, or in a liquidation

               under chapter 7 of the Bankruptcy Code than any other similarly situated general

               unsecured claim. Gemini shall receive distributions on the Gemini Proprietary

               Claim from the Debtors or the Wind-Down Debtors (as appropriate) pursuant to the

               Plan, including the Distribution Principles, as defined in the Plan. In the event that

               the aggregate amount of DCG Recoveries exceeds $769,230,769.00 (such amounts,

               “Incremental DCG Recoveries”), the Debtors or their successors in interest, on a

               joint and several basis, shall transfer to Gemini, within five (5) Business Days of

               receipt by the Debtors, one and one-half percent (1.5%) of each such Incremental

               DCG Recovery up to an amount equal, in the aggregate, to Ten Million Dollars

               ($10,000,000.00). For purposes of Section 2.7(b) of the Settlement Agreement, the

               dollar value of any DCG Recovery or Incremental DCG Recovery in a form other

               than USD shall be determined in a manner consistent with the second sentence of

               Section 2.2 of the Settlement Agreement. Gemini shall waive all other claims it

               holds in its individual capacity against the Debtors, including, without limitation,

               any claims for substantial contribution or other fees and expenses incurred by

               Gemini, as agent or otherwise, in connection with the Chapter 11 Cases, the Gemini

               Master Claim, and the Gemini Proprietary Claim.

      (j)      Gemini Adversary Proceedings. On the Settlement Effective Date, the Gemini

               Adversary Proceedings shall be dismissed, with prejudice. Within seven (7) days




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               of the Settlement Effective Date, the Parties shall take any and all action reasonably

               necessary to effectuate such dismissal and the waiver of their respective claims

               asserted in the Gemini Adversary Proceedings, including, without limitation, filing

               notices of dismissal with the Bankruptcy Court. For the avoidance of doubt, on the

               Settlement Effective Date, the Debtors shall be deemed to have released and waived

               all claims and Causes of Action that may be asserted against any Gemini Lenders

               (including with respect to Gemini Lenders with zero or de minimis balances as of

               the Petition Date, but with non-zero or non-de minimis balances as of the applicable

               preference period) pursuant to section 547 of the Bankruptcy Code by the Debtors

               and the Debtors’ Estates, including, without limitation, any successors in interest.

      (k)      Gemini Master Claim. Within one (1) Business Day of the Application Date, the

               Debtors shall seek the adjournment of the presentment date of the Master Claim

               Stip to a date and time contemporaneous with the Bankruptcy Court’s

               determination of the Application. Upon approval of the Master Claim Stip by a

               Final Order of the Bankruptcy Court, the Gemini Master Claim shall be Allowed,

               as defined in the Plan, as a general unsecured claim against GGC for the Master

               Claim Digital Assets (and for the purpose of the Plan be classified as a Class 7

               general unsecured claim) with distributions on account of the Gemini Master Claim

               strictly limited to those provided for in the Settlement Agreement.

      (l)      Authorization. The Approval Order shall (i) include a determination by the

               Bankruptcy Court that Gemini has the authority to bind the Gemini Lenders to the

               Settlement Agreement and its terms pursuant to the terms of the Gemini Earn

               Agreements; (ii) confirm that the Gemini Lenders are bound by the terms of the




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               Settlement Agreement; and (iii) provide authority for Gemini to effectuate, as agent

               for the Gemini Lenders and as the Gemini Distribution Agent: (A) the monetization

               of the Gemini GBTC Shares (to the extent not previously authorized pursuant to

               the Trust Asset Order), (B) the Digital Asset Rebalance, and (C) the distributions

               and other transactions contemplated by the Settlement Agreement.

       (m)     Mutual Releases. As set forth in greater detail in the Settlement Agreement, the

               Settlement Agreement provides for the mutual release of all claims of the Debtor

               Releasors, the AHG, the SteerCo Members, and the Committee against the Gemini

               Releasees, on the one hand, and of the Gemini Releasors against the Debtor

               Releasees, the AHG, the SteerCo Members, and the Committee, on the other hand,

               except as set forth therein, including for claims to enforce the Parties’ obligations

               under the Settlement Agreement.

       (n)     Indemnification. As set forth in greater detail in the Settlement Agreement, the

               Settlement Agreement provides for the indemnification by Gemini of the Debtors,

               their successors in interest and their respective Related Parties from any claims and

               causes of action asserted by the Gemini Lenders arising from any actions taken in

               accordance with the Settlement Agreement after completion of the Genesis

               Distribution to the extent such actions were taken after the date of entry of the

               Approval Order.

                                     RELIEF REQUESTED

       28.     The Debtors have determined, in consultation with their advisors, that the

Settlement Agreement is fair and equitable, reasonable, and in the best interests of the Debtors’

estates. By this Motion, the Debtors seek entry of an order substantially in the form attached hereto




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as Exhibit A, approving the Settlement Agreement pursuant to section 105(a) of the Bankruptcy

Code and rule 9019 of the Bankruptcy Rules.

               THE SETTLEMENT AGREEMENT SHOULD BE APPROVED

A.     Basis for Relief

       29.     Bankruptcy Rule 9019 permits a debtor-in-possession to enter into compromises

and settlements with the approval of the Bankruptcy Court. See Bankruptcy Rule 9019(a). In

order to approve a compromise or a settlement under Bankruptcy Rule 9019(a), the bankruptcy

court must find that the compromise or settlement is “in the best interests of the estate.” In re

Purofied Down Prods. Corp., 150 B.R. 519, 523 (S.D.N.Y. 1993) (quotations and citation

omitted); see also Stipulation and Agreed Order ¶ 1, In re Terrestar Corp., No. 11-10612 (SHL)

(Bankr. S.D.N.Y. Aug. 24, 2012) (ECF No. 593) (approving a settlement providing for pre-

confirmation distribution under Bankruptcy Rule 9019). In making this finding, the bankruptcy

court should form an informed and independent judgment as to whether a proposed compromise

is in the best interests of the debtor’s estate. Id. The settlement need not result in the best possible

outcome for the debtor but must only not “fall below the lowest point in the range of

reasonableness.” In re Drexel Burnham Lambert Grp., Inc., 134 B.R. 499, 505 (Bankr. S.D.N.Y.

1991) (quotations and citation omitted).

       30.     In determining whether a compromise or settlement should be approved under

Bankruptcy Rule 9019(a), the bankruptcy court should not substitute its own judgment for that of

the debtor. See In re Neshaminy Off. Bldg. Assocs., 62 B.R. 798, 803 (E.D. Pa. 1986). In fact, the

bankruptcy court may consider the opinions of the debtor-in-possession or the trustee that the

settlement is fair and reasonable. See Nellis v. Shugrue, 165 B.R. 115, 122–23 (S.D.N.Y. 1994).

Furthermore, the bankruptcy court need not conduct a “mini-trial” to decide the numerous issues

of law and fact raised by the settlement, but rather must “canvass the issues and see whether the


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settlement ‘fall[s] below the lowest point in the range of reasonableness.’” Purofied Down Prods.,

150 B.R. at 522 (citations omitted); see also In re W.T. Grant Co., 699 F.2d 599, 608 (2d Cir.

1983); In re Frost Bros., Inc., No. 91 Civ. 5244 (PNL), 1992 U.S. Dist. LEXIS 18301, at *16

(S.D.N.Y. Nov. 30, 1992); Memorandum Decision, In re Genesis Global Holdco LLC, Case No.

23-10063 (SHL) (Bankr. S.D.N.Y, October 6, 2023), ECF No. 781 (the “FTX Settlement Order”).

This requirement “reflect[s] the considered judgment that little would be saved by the settlement

process if bankruptcy courts could approve settlements only after an exhaustive investigation and

determination of the underlying claims,” Purofied Down Prods., 150 B.R. at 522–23, and the fact

that settlements are “favored and, in fact, encouraged” in bankruptcy. Nellis, 165 B.R. at 123

(citation omitted).

       31.     In the Second Circuit, bankruptcy courts apply the following factors in determining

whether a settlement is fair and equitable:

               (a)    the balance between the litigation’s possibility of success and the

                      settlement’s future benefits;

               (b)    the likelihood of complex and protracted litigation, “with its attendant

                      expense, inconvenience, and delay,” including the difficulty in collecting on

                      the judgment;

               (c)    the “paramount interests of the creditors,” including each affected class’s

                      relative benefits “and the degree to which creditors either do not object to or

                      affirmatively support the proposed settlement”;

               (d)    whether other parties in interest support the settlement;

               (e)    the “competency and experience of counsel” who support the settlement;




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               (f)    the “nature and breadth of releases to be obtained by officers and directors”;

                      and

               (g)    the “extent to which the settlement is the product of arm’s length

                      bargaining.”

Motorola, Inc. v. Official Comm. of Unsecured Creditors (In re Iridium Operating LLC), 478 F.3d

452, 462 (2d Cir. 2007).

       32.     Where most or all of the factors are satisfied, a settlement should be approved. See

In re Ben-Artzi, No. 21-10470 (MG), 2021 WL 5871718 (Bankr. S.D.N.Y. Dec. 10, 2021)

(approving a settlement where most but not all of the Iridium factors were satisfied). In particular,

the business judgment of the debtor in recommending the settlement should be factored into the

court’s analysis. In re MF Global Inc., No. 11-2790 (MG) SIPA, 2012 WL 3242533, at *5 (Bankr.

S.D.N.Y. Aug. 10, 2012) (citing JP Morgan Chase Bank, N.A. v. Charter Commc’ns Operating

LLC (In re Charter Commc’ns), 419 B.R. 221, 252 (Bankr. S.D.N.Y. 2009)). “While the

bankruptcy court may consider the objections lodged by parties in interest, such objections are not

controlling. . . . [T]he bankruptcy court must still make informed and independent judgment.” In

re WorldCom, Inc., 347 B.R. 123, 137 (Bankr. S.D.N.Y. 2006).

       33.     Additionally, under section 105 of the Bankruptcy Code, the Court has broad

discretion to “carry out the provisions of this title.” 11 U.S.C. § 105(a); see also Croton River

Club, Inc. v. Half Moon Bay Homeowners Ass’n (In re Croton River Club, Inc.), 52 F.3d 41, 45

(2d Cir. 1995) (holding that bankruptcy courts have broad equity power to manage the affairs of

debtors); Momentum Mfg. Corp. v. Emp. Creditors Comm. (In re Momentum Mfg. Corp.), 25 F.3d

1132, 1136 (2d Cir. 1994) (“[B]ankruptcy courts are courts of equity, empowered to invoke

equitable principles to achieve fairness and justice in the reorganization process.”).




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       34.     The purpose of section 105(a) is “to assure the bankruptcy courts power to take

whatever action is appropriate or necessary in aid of the exercise of their jurisdiction.” 2 Collier

on Bankruptcy ¶ 105.01 (16th ed. 2023). Such power conforms to the Court’s inherent equitable

authority. See, e.g., U.S. v. Energy Res. Co., 495 U.S. 545, 549 (1990).

B.     The Settlement Agreement Falls Well Within the Range of Reasonableness

       35.     It is well within the range of reasonableness for the Debtors to enter into the

Settlement Agreement, which is the result of good faith and arm’s-length negotiations over the

course of many months. See Conheeney Decl. ¶¶ 5-6, 10-12, 14-16, 23. The Debtors, acting under

the oversight of the Special Committee and following consultation with the Debtors’ advisors and

their creditors, have concluded that the Settlement Agreement is fair and equitable, reasonable and

in the best interests of the Debtors’ estates and, thus, should be approved. Id. ¶¶ 17, 22. The

Debtors submit that each of the Iridium factors weigh heavily in favor of the Court’s approval of

the Settlement Agreement.

       36.     First, the Settlement Agreement eliminates the downside risk of an adverse

outcome for the Debtors in the GBTC Action. Conheeney Decl. ¶ 19; see also FTX Settlement

Order at 19-20 (holding “specific analysis and details of the resulting conclusions of the Genesis

Debtors in consultation with their counsel about the value of each claim” is not necessary, and that

the Court is not required to “conduct a ‘mini-trial’ to determine the merits of the underlying

litigation.”). Pursuant to the Settlement Agreement, the Gemini GBTC Shares are valued using a

measurement period starting on the TS Date (i.e., approximating their current price) rather than

the price of such shares at the time of Gemini’s purported foreclosure on November 16, 2022.

Conheeney Decl. ¶ 19. If Gemini had prevailed in the GBTC Action with respect to the Gemini

GBTC Shares, the Gemini Lenders would have had a substantial deficiency claim against the

Debtors’ estates under the terms of the Plan. Id. In addition, the Settlement Agreement also caps


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the Gemini Proprietary Claim at $7,500,000, id. ¶ 20; provided, however, that Gemini may also

receive certain amounts under Section 2.7(b) of the Settlement Agreement. Moreover, the

Settlement Agreement provides for Gemini to release any claimed lien, security interest in or

constructive trust over the Additional GBTC shares, eliminating the prospect of an adverse

determination for the Debtors on appeal. See Ex. B, Settlement Agreement § 3.2. Thus, although

the Settlement Agreement also eliminates the possibility of certain litigation outcomes that would

be more favorable to the Debtors and less favorable to the Gemini Lenders—including the possible

scenario in which GGC were to succeed on its claim to claw back the Gemini GBTC Shares, in

which case the Gemini Lenders would be left with an entirely unsecured claim—the Settlement

Agreement has a substantial benefit to the Debtors’ estates by resolving the risk associated with

further litigation of the GBTC Action.

       37.     Additionally, the Settlement Agreement provides that Gemini will indemnify and

hold harmless the Debtors and their successors in interest from any and all claims and causes of

action asserted by the Gemini Lenders against the Debtors and their successors in interest, and

their respective Related Parties, arising from any actions taken by the Indemnified Parties in

accordance with the Settlement Agreement during the period from and after entry of the Approval

Order, further limiting the potential risk to the Debtors’ estates. Conheeney Decl. ¶ 20.

       38.     The Settlement Agreement also facilitates the making of in-kind distributions of the

Debtors’ Alt-Coins to the extent that there are matching Alt-Coin-denominated claims held by the

Gemini Lenders. Conheeney Decl. ¶ 20; see also In re Terrestar Corp., No. 11-10612 (SHL)

(Bankr. S.D.N.Y. Aug. 24, 2012) (ECF No. 593) (approving a settlement providing for pre-

confirmation distribution under Bankruptcy Rule 9019). And the Settlement Agreement also

provides for Gemini to contribute $50 million in value to reduce the Gemini Master Claim on a




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dollar-for-dollar basis. See Ex. B, Settlement Agreement § 2.1.                   It also provides the Debtors’

estates with other additional consideration, including Gemini’s assignment of claims it has against

DCG to the Debtors’ estates and the reduction of the allowed amount of the Gemini Proprietary

Claim. See Ex. B, Settlement Agreement §§ 2.6, 2.7.

         39.      Second, the Settlement Agreement will allow the Debtors to avoid extensive

litigation costs that would be incurred in protracted and complex litigation against Gemini.

Conheeney Decl. ¶ 21. Any litigation would entail significant professional fees, including but not

limited to discovery (which is currently stayed but, up until an agreement in principle was reached,

was actively ongoing with respect to the GBTC Action), preparation of experts, motion practice,

trial and potential appeals.3 Id. Moreover, any such litigation would significantly distract, and has

distracted, the Debtors at a time when there are other priorities to maximize recoveries for

creditors, including confirmation and implementation of the Plan. See id. If approved, the

Settlement Agreement would fully and finally resolve the Gemini Adversary Proceedings (which

will be dismissed with prejudice) and the Proofs of Claim, permitting the Debtors and their

advisors to focus resources and attention on other claims and, if the Plan is confirmed, on beginning

to make distributions to creditors. Id. Courts routinely approve settlements that resolve litigation,

saving the estate in professionals’ fees. See In re Sabine Oil & Gas Corp., 555 B.R. 180, 309-310

(Bankr. S.D.N.Y. 2016) (“Moreover, the benefits of the Settlement strongly outweigh the

likelihood of success and any rewards of litigation, particularly given the sizable costs of litigation,




3
         Indeed, the Debtors’ advisors alone have already incurred in excess of $2,000,000 in connection with the
Gemini Adversary Proceedings (ECF Nos. 1019, 1043, 1222, 1416, and 1459, Case No. 23-10063 (SHL)). With
further discovery remaining – including fact depositions, expert reports, and expert depositions – as well as probable
summary judgment motions and a potential trial, the additional fees expected would be at least as much as those
already incurred and likely more.


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the risk of damage to the Debtors’ business, and the depletion of asset value which would likely

result from remaining in chapter 11 during any such protracted litigation.”).

       40.     Third, pursuant to the Settlement Agreement, the Debtors’ BTC and ETH will be

preserved for future distributions under the Plan (if confirmed) or any future Chapter 11 plan (if

the Plan is not confirmed).

       41.     In addition, the Settlement Agreement paves the way for material distributions to

the Gemini Lenders, one of the largest constituents in the Chapter 11 cases. See Conheeney Decl.

¶¶ 19-21. Absent a settlement, making such distributions under the Plan (if confirmed) would be

delayed while the parties continued the litigation of the Gemini Adversary Proceedings,

particularly with respect to the value of the Gemini GBTC Shares. See id. ¶¶ 19, 21. Additionally,

a significant reserve of distributable assets may have been necessary pending a final order

regarding the Additional GBTC Shares, which reserve would have materially reduced near-term

recoveries by non-Gemini Lender creditors. By contrast, the Settlement Agreement enables such

distributions in the near term, which is particularly important given pricing volatility. See id. ¶ 21.

       42.     Fourth, the Settlement Agreement is supported by the Ad Hoc Group and the

Committee.

       43.     Fifth, the Parties are represented by sophisticated and experienced professionals—

highly regarded law firms and financial advisors with significant restructuring, litigation, and other

relevant experience. Conheeney Decl. ¶ 23.

       44.     Finally, the Settlement Agreement is the product of arm’s length negotiations

among the Parties. After months of negotiations and litigation, the Parties reached the resolution

reflected in the Settlement Agreement, as discussed in detail in the Conheeney Declaration. See,

e.g., Conheeney Decl. ¶¶ 5-6, 10-12, 14-16, 23; see also FTX Settlement Order at 20-21 (holding




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the Court had “an appropriate evidentiary basis to review and approve” the agreement at issue

given the Genesis Debtors and their restructuring professionals had “conducted a thorough analysis

of all the claims”, and the settlement negotiations were “primarily handled on behalf of the Genesis

Debtors by their counsel in consultation with the independent Special Committee and the

Company’s senior management.”).

       45.     Accordingly, the Debtors submit that the settlement and compromise embodied in

the Settlement Agreement is appropriate in light of the relevant factors, is fair and equitable and

should be approved.

C.     Gemini Has Authority as Agent to Bind the Gemini Earn Users

       46.     Gemini, as the duly authorized agent of the Gemini Lenders under the MLAs and

Gemini Earn Agreements, has the authority to enter into the Settlement Agreement on behalf of

the Gemini Lenders. See Lynch Decl., Ex. 2, MLAs § VI(b) (providing that “[The Gemini] Lender

represents, which representation shall continue during the term of [the MLA] and any Loan

hereunder, that it . . . (ii) has duly appointed [Gemini] as its agent to act on [the Gemini] Lender’s

behalf for all purposes under [the MLA].”); id. at § VIII(a) (providing that “Upon the occurrence

and during the continuation of any Event of Default” Gemini, acting on behalf of a Gemini Lender,

“may, at its option … (3) exercise all other rights and remedies available to the [Gemini Lender]

hereunder, under applicable law, or in equity.”); see also Lynch Decl., Ex. 1, Gemini Earn Program

Terms and Authorization Agreement at § 13 (providing that “[Gemini] shall be entitled to exercise

any rights and remedies under the [MLA] on [the Gemini Lender’s] behalf, and will be fully

protected in acting in any manner [Gemini] deem[s] reasonable and appropriate.”). Pursuant to

the terms of the MLAs and Gemini Earn Agreements, Gemini may therefore enter into the

Settlement Agreement on the Gemini Lenders’ behalf, and thereby bind the Gemini Lenders to the

terms of the Settlement Agreement. See id.; see also Wells v. John Wiley & Sons, Inc., No. 14 Civ.


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6745 (AT)(AJP), 2016 WL 889786, at *7 n.13 (S.D.N.Y. Feb. 17, 2016) (holding “it was clear by

the contract’s written terms that [an agent licensor of principal’s photographs] possessed actual

authority to enter into the settlement agreement with [a third party licensee]” who allegedly

violated a separate licensing agreement.).

                                             NOTICE

       47.     The Debtors have provided notice of this Motion in accordance with the procedures

set forth in the Case Management Order.

       48.     As was authorized by this Court in connection with service of notice of the bar dates

for submitting proofs of claim and with service of notice of the Disclosure Statement Hearing on

Gemini and the Gemini Lenders, the Debtors request that the Court (i) authorize the Debtors to

give notice of the hearing on this Motion and the deadline to file responses by serving the Notice

of Debtors’ Motion for Entry of an Order Approving a Settlement Agreement with Gemini Trust

Company, LLC on Gemini and not the individual Gemini Lenders, (ii) authorize and direct Gemini

to provide notice of the hearing on this Motion to the Gemini Lenders by posting on the Gemini

Earn Program’s website (www.gemini.com/earn), supplemented solely by an email to each Gemini

Lender (the “Gemini 9019 Motion Notice”), and (iii) find that Gemini’s dissemination of the of

the Gemini 9019 Motion Notice solely by email as provided for herein satisfies both the Debtors’

and Gemini’s notice requirements with respect to the Gemini Lenders. The Gemini 9019 Motion

Notice shall be served on each Gemini Lender on or before March 19, 2024.

       49.     The Gemini 9019 Motion Notice, attached hereto as Exhibit E, shall contain a link

to the Motion and a cover email describing certain terms of the Settlement Agreement, including

the distributions on account of the proposed allowed Gemini Master Claim. The Gemini 9019

Motion Notice shall refer the Gemini Lenders to their individual account pages that may be

accessed through the Gemini Earn Program’s website (https://exchange.gemini.com/signin) and


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the Gemini mobile app so that they may confirm their digital assets owed to them and proposed to

be allowed and distributed on pursuant to the Settlement Agreement. Moreover, the Gemini 9019

Motion Notice shall urge all Gemini Lenders to carefully review the Settlement Agreement and

the provide the deadline for responses to this Motion.

         50.   The Debtors and Gemini believe that the form of the Gemini 9019 Motion Notice

is sufficient and effective notice in satisfaction of federal and state due process requirements and

other applicable law to put the Gemini Lenders on notice of the Motion, the Settlement Agreement,

and the assets proposed to be returned to them pursuant to the terms of the Settlement Agreement.

The notice program proposed herein is similar to the notice programs that RMBS trustees utilized

to provide notice to investors of settlements entered into by RMBS trustees on behalf of such

investors respectively in the Lehman Brothers Holdings Inc. and Residential Capital, LLC chapter

11 cases before this Court. See In re Lehman Bros. Holdings Inc., et al., Case No. 08-13555 (SCC)

(Bankr. S.D.N.Y. Mar. 22, 2017) (ECF No. 55096); In re Res. Cap., LLC, 497 B.R. 720, 744

(Bankr. S.D.N.Y. 2013) (the “robust notice program . . . designed by the Garden City Group,

ensured that all investors were provided with notices by distributing notices to all registered

holders of RMBS by mail and posting the notices and other information on the Trustee Website .

. . [,] was reasonably calculated to provide notice to all investors, . . . [and] fully satisfie[d] New

York and federal due process requirements.”) (internal citations omitted).

         51.   The Debtors submit that, in light of the nature of the relief requested, no other or

further notice need be provided.

                                      NO PRIOR REQUEST

         52.   No prior motion for the relief requested herein has been made to this or any other

court.

                            [Remainder of page left intentionally blank]


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                                           CONCLUSION

        WHEREFORE, for the reasons set forth herein the Debtors respectfully request that this

Court (a) enter an order, substantially in the form attached hereto as Exhibit A, and (b) grant such

other and further relief as is just and proper.


  Dated:      March 19, 2024                      /s/ Luke A. Barefoot
              New York, New York                  Sean A. O’Neal
                                                  Luke A. Barefoot
                                                  Jane VanLare
                                                  Thomas S. Kessler
                                                  Andrew Weaver
                                                  CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                                  One Liberty Plaza
                                                  New York, New York 10006
                                                  Telephone: (212) 225-2000
                                                  Facsimile: (212) 225-3999


                                                  Counsel to the Debtors and
                                                  Debtors-in-Possession




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                                     Exhibit A

                                  Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                               Chapter 11
    Genesis Global Holdco, LLC, et al.,1
                                                               Case No. 23-10063 (SHL)
                        Debtors.


    GEMINI TRUST COMPANY, LLC, for itself
    and as agent on behalf of the Gemini Lenders,

                        Plaintiff,

             v.                                                Adv. Proc. No. 23-01192 (SHL)

    GENESIS GLOBAL CAPITAL, LLC,

                        Defendant.



     GENESIS GLOBAL CAPITAL, LLC,

                                      Plaintiff,

     v.
                                                               Adv. Pro. No. 23-01203 (SHL)
     GEMINI TRUST COMPANY, LLC,
     individually and as agent on
     behalf of the Earn Users, and
     EARN USERS 1-232,824

                                      Defendants.




1                 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax
identification number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564);
Genesis Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors
is 175 Greenwich Street, 38th Floor, New York, NY 10007.
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                      ORDER APPROVING SETTLEMENT
              AGREEMENT AMONG THE DEBTORS, GEMINI TRUST
            COMPANY, LLC, THE AD HOC GROUP OF GENESIS LENDERS
           AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

                 Upon the Motion2 of Genesis Global Holdco, LLC (“Genesis”) and its affiliated

debtors and debtors-in-possession (collectively, the “Debtors”) in the above-captioned chapter 11

cases (the “Chapter 11 Cases”) for entry of an order (this “Order”) pursuant to Rule 9019(a) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) approving the settlement and

compromise attached to the Motion as Exhibit B (as such agreement may be amended by the

Parties, the “Settlement Agreement”) entered into by and among (i) the Debtors, (ii) Gemini Trust

Company, LLC (“Gemini”), on behalf of itself and on behalf of the Gemini Lenders, (iii) the Ad

Hoc Group of Genesis Lenders represented by Proskauer Rose LLP (the “Ad Hoc Group”), and

(iv) the Official Committee of Unsecured Creditors (the “Committee”); and upon the Declaration

of Tom Conheeney in Support of Debtors’ Motion for Entry of an Order Approving a Settlement

Agreement Among the Debtors, Gemini Trust Company, LLC, the Ad Hoc Group of Genesis

Lenders, and the Official Committee of Unsecured Creditors (the “Conheeney Declaration”)

attached to the Motion as Exhibit C; and the Court having jurisdiction to decide the Motion and

the relief requested therein pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended

Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and consideration of

the Motion and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b), and

that the Court may enter a final order consistent with Article III of the United States Constitution;

and venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

proper notice of the relief sought in the Motion and the opportunity for a hearing thereon having


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        All capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the
Settlement Agreement.



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been provided in accordance with the Case Management Order and as to the Gemini Lenders in

accordance with the procedures described in the Motion (see Affidavit of Compliance, ECF No.

___); such notice having been adequate and appropriate under the circumstances, and it appearing

that no other or further notice need be provided; and the Court having held a hearing to consider

the relief requested in the Motion on April [●], 2024 (the “Hearing”); and upon the record of the

Hearing, and upon all of the proceedings had before the Court; and the Court having determined

that the legal and factual bases set forth in the Motion establish just cause for relief granted herein

and that such relief is in the best interests of the Debtors, their estates, their creditors, and all parties

in interest; and the Court having overruled objections to the Motion (if any); and after due

deliberation and sufficient cause appearing therefor;

IT IS HEREBY FOUND AND DETERMINED THAT:

                A.       The Debtors have demonstrated sound business judgment for entering into

the Settlement Agreement, and the Debtors’ entry into the Settlement Agreement is a valid exercise

of their business judgment.

                B.       The terms of the Settlement Agreement evidence good faith, arms-length

negotiations and are fair and equitable.

                C.       The settlement is plainly within the range of reasonableness and in the best

interests of the Debtors and their estates and the creditors in this case.

                D.       Based on the record before the Court, the Debtors have demonstrated good

and sufficient basis for the Court to approve the Motion and the Debtors’ entry into and

performance under the Settlement Agreement.

                E.       The Gemini Lenders have been provided good and adequate notice of the

Motion and sufficient opportunity to be heard. Notice of the Motion being duly and properly




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served on the Gemini Lenders by Gemini, in accordance with the manner described in the Motion,

shall constitute sufficient, adequate, and timely notice to the Gemini Lenders of this Settlement

Agreement under the circumstances of these Chapter 11 Cases. No other or further notice need be

provided.

               F.      Gemini has the authority to bind the Gemini Lenders pursuant to the terms

of the Gemini Earn Agreements, and the Gemini Lenders are bound by the terms of the Settlement

Agreement.

               G.      Each of the releases provided for in the Settlement Agreement (i) is within

the Court’s jurisdiction; (ii) is essential to administering the Debtors’ estates; (iii) is an integral

element of the Settlement Agreement and/or to its effectuation; (iv) confers material benefits on,

and is in the best interests of, the Debtors’ estates; and (v) is important to the overall objectives of

the Settlement Agreement.

               H.      The Settlement Agreement reflects an integrated and comprehensive

settlement of the Parties’ respective claims against each other, including Gemini acting as agent

on behalf of the Gemini Lenders as to the Gemini Master Claim, and each component and

provision contained therein and in this Order is an integral part thereof. The entry of this Order is

necessary for the Settlement Agreement to become effective and achieve its goals, which are in

the best interests of the Debtors’ estates.

               IT IS HEREBY ORDERED THAT:

               1.      The Motion is GRANTED to the extent set forth herein.

               2.      Pursuant to Bankruptcy Rule 9019(a), the Settlement Agreement is

approved, and the Debtors are authorized to enter into and perform under the Settlement

Agreement.




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                3.       The provisions of the Settlement Agreement are incorporated herein by

reference and shall be effective and binding as though fully set forth herein. In the event of any

conflict between the Settlement Agreement and this Order, the terms of this Order shall govern.

                4.       As set forth in the Settlement Agreement, on the Settlement Effective Date,

the Gemini Proprietary Claim against GGC shall be ALLOWED in the amount of Seven Million

Five Hundred Thousand Dollars ($7,500,000) as a U.S. Dollar-denominated general unsecured

claim and receive distributions thereon from the Debtors or the Wind-Down Debtors (as

applicable) pursuant to the Plan or any other chapter 11 plan that may be proposed or effectuated

the Chapter 11 Cases, or in a liquidation under chapter 7 of the Bankruptcy Code; provided,

however, in the event that the aggregate amount of DCG Recoveries exceeds $769,230,769.00

(such amounts, “Incremental DCG Recoveries”), the Debtors or their successors in interest, on a

joint and several basis, are authorized to transfer to Gemini, within five (5) Business Days of

receipt by the Debtors, one and one-half percent (1.5%) of each such Incremental DCG Recovery

up to an amount equal, in the aggregate, to Ten Million Dollars ($10,000,000.00); and, provided,

further, that, for purposes of Section 2.7(b) of the Settlement Agreement, the dollar value of any

DCG Recovery or Incremental DCG Recovery in a form other than USD shall be determined in a

manner consistent with the second sentence of Section 2.2 of the Settlement Agreement.

                5.       Notwithstanding anything to the contrary in the Plan, distributions to the

Holders of Allowed Gemini Lender Claims on account of the Gemini Master Claim shall be strictly

limited to the amounts provided under the Settlement Agreement. The following Settlement

Effective Date valuations shall be utilized for implementation of the Settlement Agreement:3




3
        Upon agreement by the Parties to the Settlement Agreement, the Debtors will update the Court with the
amounts below in advance of the hearing on the Motion.



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                    a. MCDA Value: $[●];

                    b. Gemini GBTC Value: $[●];

                    c. TS Date (at 11:59PM ET) “bitcoin per share” value provided in the “Key

                       Fund Information” section of the GBTC website (etfs.grayscale.com/gbtc):

                       [●]

                    d. Effective Date Value of the Genesis Alt-Coin Distribution: $[●];

                    e. Effective Date Value of the Gemini Earn Operations Assets: $[●]; and

                    f. Genesis USD Distribution: $[●].

               6.      As set forth in the Settlement Agreement, on the Settlement Effective Date,

the Gemini Adversary Proceedings shall be dismissed with prejudice, and the Parties shall take

any and all action reasonably necessary, including, without limitation, filing notices of dismissal

with the Bankruptcy Court within seven (7) days of the date thereof, to effectuate such dismissals.

               7.      As set forth in the Settlement Agreement, the Gemini Distribution Agent is

hereby duly appointed as an agent of the Debtors’ estates solely for purposes of effectuating the

Settlement Agreement as provided therein. The Gemini Distribution Agent is authorized and

directed to distribute the Gemini Distribution Assets and, subject to Section 2.5(c) of the

Settlement Agreement, the Completion Digital Assets to the Gemini Lenders in full satisfaction of

each Individual Earn Obligation.

               8.      All distributions made by the Gemini Distribution Agent to the Gemini

Lenders, including, without limitation, the Gemini Distribution Assets and the Completion Digital

Assets, shall constitute distributions from the Debtors’ estates on account of the Gemini Master

Claim for all purposes.




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               9.      As set forth in the Settlement Agreement, the Gemini Distribution Agent,

in its sole and absolute discretion and acting on behalf of the Debtors, is authorized to monetize or

otherwise convert the Gemini Contribution, the Gemini GBTC Shares, the Genesis Distribution,

the Gemini Reserved Coins, the Gemini Earn Operation Assets, and the DCG Receipts, if any, to

obtain Master Claim Digital Assets for the purpose of satisfying through in-kind delivery to the

greatest extent possible the Gemini Master Claim.

               10.     The Parties are authorized to take any action as may be necessary or

appropriate to implement, effectuate, and fully perform any and all obligations under the

Settlement Agreement, including, without limitation, to execute and deliver all instruments and

documents, and take such other action as may be necessary or appropriate to implement, effectuate,

and fully perform under the Settlement Agreement.

               11.     The releases set forth in the Settlement Agreement are hereby approved in

all respects and shall be effective on the Settlement Effective Date.

               12.     Following the distribution of the Gemini Distribution Assets in accordance

with Section 2.5(b) of the Settlement Agreement and the distribution of the Completion Digital

Assets in accordance with Section 2.5(c) of the Settlement Agreement, neither Gemini nor the

Gemini Distribution Agent shall have any further obligations to the Gemini Lenders with respect

to the Gemini Master Claim.

               13.     Upon completion of the Genesis Distribution in accordance with the

provisions of Section 2.4 of the Settlement Agreement, the obligations of the Debtors with respect

to the Gemini Master Claim shall be limited to the payments and deliveries (if any) to be made in

accordance with Section 2.2 of the Settlement Agreement.




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               14.     The failure to specifically include any particular provision of the Settlement

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Court that the Parties’ entry into the Settlement Agreement and implementation

of the transactions contemplated therein be approved in their entirety.

               15.     All persons, as defined in the Bankruptcy Code, are prohibited and enjoined

from taking any action to adversely affect or interfere with the ability of the Parties to carry out

the transactions contemplated under the Settlement Agreement pursuant to and subject to the terms

of the Settlement Agreement.

               16.     Nothing contained in any subsequent settlement, or in any other order,

decision, judgment, nor any act of any Party, shall alter, conflict with, or derogate from the

provisions of the Settlement Agreement or this Order, except pursuant to (i) a successful appeal or

certiorari from this Court or (ii) an order of this Court approving an amendment or modification

to the Settlement Agreement as agreed by the Parties in accordance with the Settlement

Agreement’s terms.

               17.     This Order shall be binding in all respects upon, and shall inure to the

benefit of, the Debtors, their estates, their creditors, successors, and assigns, and any affected third

parties, notwithstanding the subsequent appointment of any trustee(s) under any chapter of the

Bankruptcy Code, as to which trustee(s) this Order likewise shall be binding.

               18.     The Debtors’ claims agent, Kroll Restructuring Administration LLC, and

the clerk of this Court are authorized to take all actions necessary and appropriate to give effect to

this Order.




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               19.    This Order shall be effective and enforceable immediately upon entry and

shall constitute a final order within the meaning of 28 U.S.C. § 158(a). To the extent applicable,

Bankruptcy Rule 6004(h) is hereby waived.

               20.    This Court shall retain jurisdiction with respect to any matters, claims,

rights, or disputes arising from or related to the Motion, the Settlement Agreement, or the

implementation, interpretation, or enforcement of this Order.


Dated: __________________, 2024
       New York, New York


                                             ________________________________
                                             HON. SEAN H. LANE
                                             UNITED STATES BANKRUPTCY JUDGE




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                                     Exhibit B

                               Settlement Agreement
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                                                            EXECUTION VERSION




                            SETTLEMENT AGREEMENT

                                  BY AND AMONG

                          GENESIS GLOBAL CAPITAL, LLC,

                          GENESIS GLOBAL HOLDCO, LLC,

                          GENESIS ASIA PACIFIC PTE. LTD.,

                   THE AD HOC GROUP OF GENESIS LENDERS

                           GEMINI TRUST COMPANY, LLC

                                       AND

           THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
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                               SETTLEMENT AGREEMENT

         SETTLEMENT AGREEMENT, dated as of March 18, 2024, by and among (a) Genesis
Global Capital, LLC (“GGC”), Genesis Global Holdco, LLC (“GGH”), and Genesis Asia
Pacific Pte. Ltd. (“GAP”), (b) the Ad Hoc Group of Genesis Lenders represented by Proskauer
Rose LLP (the “AHG”), (c) the Official Committee of Unsecured Creditors, solely with respect
to itself, and not with respect to any of its individual members (the “UCC”), appointed in the
Debtors’ Chapter 11 Cases, as defined below, and (d) Gemini Trust Company, LLC (“Gemini”),
on behalf of itself and the Gemini Lenders, as defined below. Each of the foregoing shall be
referred to as a “Party” and collectively as the “Parties”. Capitalized terms used but not
otherwise defined herein shall have the meanings set forth in Article I below.

                                          RECITALS

        A.     On January 19, 2023 (the “Petition Date”), each of the Debtors filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) in the jointly administered cases captioned In re Genesis Global Holdco,
LLC et al., Case No. 23-10063 (SHL) (the “Chapter 11 Cases”).

        B.       Prior to the Petition Date, GGC entered into certain Master Digital Loan
Agreements with Gemini and certain users of Gemini (each such user a “Gemini Lender” and
collectively the “Gemini Lenders”) pursuant to which such Gemini Lenders agreed to lend
certain digital assets to GGC, with Gemini acting as custodian and agent for such users in certain
respects (such agreements, the “Gemini Earn Agreements” and the transactional arrangements
as set forth in the Gemini Earn Agreements, the “Gemini Earn Program”).

        C.      Through the Gemini Earn Program, the Gemini Lenders agreed, among other
things, to lend Digital Assets to GGC in exchange for the return of such Digital Assets upon the
request or at the expiration of a specified period and the payment by GGC of specified fees
pursuant to the terms of the relevant Gemini Earn Agreement.

        D.     On August 15, 2022, GGC entered into a security agreement (as may be amended,
restated or modified from time to time, the “Security Agreement”) with Gemini, as agent for the
Gemini Lenders, pursuant to which GGC pledged 30,905,782 shares of the Grayscale Bitcoin
Trust, a trust managed and operated by DCG (“GBTC”) to secure GGC’s obligations to the
Gemini Lenders pursuant to the Gemini Earn Agreements (the “Gemini GBTC Shares”).

       E.     On November 10, 2022, GGC, Gemini and GGC’s parent company, Digital
Currency Group, Inc. (“DCG”) entered into a second amendment to the Security Agreement (the
“Second Amendment”), pursuant to which DCG agreed to deliver an additional 31,180,804
shares of GBTC (the “Additional GBTC Shares”) to GGC against which Gemini has asserted
among other things, a security interest on behalf of the Gemini Lenders.

       F.    GGC breached the Second Amendment by failing to deliver the Additional GBTC
Shares to Gemini.
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       G.      On November 16, 2022 (the “Suspension Date”), GGC announced that it was
suspending redemptions by the Gemini Lenders from the Gemini Earn Program and Gemini
purported to foreclose on the Gemini GBTC Shares for total proceeds of $284,333,194.40.

       H.      As of the date hereof, redemptions have not resumed and the Gemini Lenders
continue to be unable to access the Master Claim Digital Assets.

       I.     On February 3, 2023, the United States Trustee filed the Notice of Appointment
of Official Committee of Unsecured Creditors (ECF No. 53), thereby appointing creditors to
serve on the UCC.

        J.     Pursuant to an order of the Bankruptcy Court, (i) Gemini, as agent on behalf of
the Gemini Lenders, filed Proof of Claim No. 356 against GGC (the “Gemini Master Claim”)
which asserts, among other things, claims for all of the Master Claim Digital Assets, and (ii)
Gemini, in its individual capacity, filed Proof of Claim No. 406 against GGC (the “Gemini
Proprietary Claim”), which asserts, among other things, claims for agent fees and late fees and
claims related to GGC’s obligation to indemnify Gemini and its affiliates, officers, directors,
employees, agents, consultants or other representatives for certain liabilities in accordance with
the terms of the Gemini Earn Agreements.

        K.      On July 7, 2023, Gemini commenced litigation against DCG and Barry Silbert, by
filing a complaint, captioned Gemini Trust Company, LLC v. Digital Currency Group, Inc., et
al., Case No. 1:23-cv-06864-LJL (S.D.N.Y.), asserting causes of action premised on, among
other things, fraud and aiding and abetting fraud (the “DCG Action”).

        L.       On October 27, 2023, Gemini filed an adversary proceeding in the Bankruptcy
Court against GGC through the Adversary Complaint, ECF No. 1, Adv. Pro. 23-01192 (SHL)
(the “GBTC Action”) seeking declaratory judgments from the Bankruptcy Court that (i) Gemini
properly foreclosed on the Gemini GBTC Shares on November 16, 2022, (ii) the Additional
GBTC Shares are not property of any of the Debtors’ estates, and (iii) Gemini has a security
interest in, or constructive trust over, the Additional GBTC Shares.

        M.     On November 21, 2023, GGC filed (i) (a) a motion to dismiss the claims asserted
in the GBTC Action related to the Additional GBTC Shares and (b) an answer to the claims
asserted in the GBTC Action related to the Gemini GBTC Shares, denying the allegations in
support of Gemini’s purported foreclosure and asserting that the agreement extending Gemini’s
obligation to return the Gemini GBTC Shares constituted an avoidable constructive fraudulent
conveyance, and (ii) an adversary proceeding in the Bankruptcy Court against Gemini and
certain Gemini Lenders through the Adversary Complaint, ECF No. 1, Adv. Pro. 23-01203
(SHL) (the “Gemini Preference Action”).

        N.     On November 28, 2023, the Debtors, members of the AHG and the UCC entered
into a Plan Support Agreement (ECF No. 1008).

      O.      On December 6, 2023, the Bankruptcy Court entered the Disclosure Statement
Order approving the solicitation of the Debtors’ Amended Joint Chapter 11 Plan, dated
November 28, 2023 (ECF No. 989, and as amended at ECF Nos. 993, 1325 and 1392, and as it
may be further amended, modified, or supplemented, the “Plan” ).


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        P.      On December 18, 2023, Gemini filed a motion to dismiss GGC’s counterclaims
related to the Additional GBTC Shares.

        Q.      On January 5, 2024, Gemini filed a motion to dismiss GGC’s counterclaims
related to the Gemini GBTC Shares.

        R.      On February 7, 2024, the Bankruptcy Court rendered an opinion in favor of the
Debtors with respect to the Debtors’ motion to dismiss the claims asserted in the GBTC Action
related to the Additional GBTC Shares wherein it held that Gemini and the Gemini Lenders did
not have a valid and perfected lien on, a security interest in or a constructive trust over the
Additional GBTC Shares.

        S.   On February 26, 2024, the Debtors filed the Stipulation and Order by and
Between the Debtors and Gemini Trust Company, LLC on Behalf of Gemini Lenders, Allowing
the Gemini Master Claim (Claim No. 356) (ECF No. 1393), which, upon approval by a Final
Order of the Bankruptcy Court, among other things, would allow the Gemini Master Claim
against GGC for the Master Claim Digital Assets (the “Master Claim Stip”).

       T.     Following months of arm’s length good faith negotiation and to avoid
unnecessary and costly litigation, on February 28, 2024 (the “TS Date”), the Parties executed the
Term Sheet Regarding Gemini Claims (the “Term Sheet”) in which they agreed to resolve all
issues among them, including, without limitation, the GBTC Action and Gemini Preference
Action, and among GGC and all of the Gemini Lenders, and to execute this Settlement
Agreement, consistent with the terms and conditions of the Term Sheet.

       NOW, THEREFORE, the Parties, in consideration of the foregoing and the terms,
conditions, agreements, representations and covenants set forth herein, agree as follows:

                                          ARTICLE I

                                        DEFINITIONS

       Section 1.1 Recitals. The recitals set forth above are incorporated by reference, are
accepted as true by the Parties, and are made a part of the agreement among the Parties.

        Section 1.2 Definitions. The following definitions shall apply to and constitute part of
this Settlement Agreement and all schedules, exhibits and annexes hereto:

       “Alt-Coins” shall mean, collectively, any and all Digital Assets other than BTC, ETH, or
Stablecoins.

       “Application” shall mean the application to be filed seeking entry of an order, pursuant
to Rule 9019 of the Bankruptcy Rules, approving the compromise and settlement set forth in this
Settlement Agreement.

      “Application Date” shall mean the date on which the Application is filed with the
Bankruptcy Court.



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       “Approval Order” shall mean an order approving this Settlement Agreement entered by
the Bankruptcy Court that meets the requirements set forth in Sections 4.1 and 5.1(c) hereof,
which order shall be in form and substance reasonably acceptable to the Parties.

        “Avoidance Actions” shall mean any and all actual or potential avoidance, recovery,
subordination, or other similar Claims, Causes of Action, or remedies that may be brought by or
on behalf of the Debtors or their estates or other authorized parties in interest under the
Bankruptcy Code or applicable non-bankruptcy law, including Claims, Causes of Action, or
remedies arising under chapter 5 of the Bankruptcy Code, or under similar or related local, state,
federal, or foreign statutes and common law, including fraudulent transfer laws.

        “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure
promulgated under section 2075 of the Judicial Code and the general, local, and chambers rules
of the Bankruptcy Court, in each case, as amended from time to time.

       “BTC” shall mean bitcoin, a type of Digital Asset based on an open-source cryptographic
protocol that was introduced in 2009 by an anonymous developer or group of developers using
the name Satoshi Nakamoto.

       “Business Day” shall mean any day other than a Saturday, Sunday, or “legal holiday” (as
defined in Bankruptcy Rule 9006(a)).

        “Causes of Action” shall mean, whether asserted against a Debtor or any other Person or
Entity, any action, claim, cause of action, controversy, third-party claim, dispute, proceeding,
demand, right, action, lien, indemnity, contribution, guaranty, suit, obligation, liability, loss,
debt, fee or expense, damage, interest, judgment, account, defense, remedy, power, privilege,
license, and franchise of any kind or character whatsoever, whether known, unknown, foreseen
or unforeseen, existing or hereafter arising, contingent or non-contingent, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition
Date, in contract, in tort, in law, or in equity or pursuant to any other theory of law. For the
avoidance of doubt, a “Cause of Action” also includes: (i) any right of setoff, counterclaim, or
recoupment and any claim for breach of contract or for breach of duties imposed by law or in
equity; (ii) any claim based on or relating to, or in any manner arising from, in whole or in part,
tort, breach of fiduciary duty, or violation of state or federal law, including securities laws,
negligence, and gross negligence; (iii) the right to object to or otherwise contest, recharacterize,
reclassify, subordinate, or disallow Claims or interests; (iv) any Claim pursuant to section 362 or
chapter 5 of the Bankruptcy Code (including any action under section 542 of the Bankruptcy
Code or any Avoidance Actions); (v) any claim or defense including fraud, mistake, duress, and
usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and (vi) any state
or foreign law fraudulent transfer or similar claim.

        “Claim” shall have the meaning set forth in section 101(5) of the Bankruptcy Code,
against any Debtor.




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       “Completion Digital Assets” shall mean an amount of each Master Claim Digital Asset
type equal to the product of each such Master Claim Digital Asset multiplied by the Redemption
Completion Percent.

       “DCG Amount Cap” shall mean the difference calculated in USD between (i) Fifty
Million Dollars ($50,000,000.00), minus (ii) any DCG Receipts.

       “DCG Note” shall mean that certain promissory note, dated as of June 30, 2022, issued
by DCG to GGC, in the original principal amount of One Billion One Hundred Million Dollars
($1,100,000,000.00), bearing interest at the rate of one percent (1%) per annum, which interest
may, at DCG’s option, be payable in kind.

        “DCG Party” shall mean, collectively, DCG, DCG International Investments Ltd., and
each of their respective affiliates and subsidiaries (excluding the Debtors and the Other Genesis
Entities) and, in their capacities as such, all of their respective current and former officers and
directors, principals, shareholders, members, managers, partners, employees, agents, trustees,
advisory board members, financial advisors, attorneys, accountants, actuaries, investment
bankers, consultants, representatives, and management companies; provided, however, that DCG
Parties shall not include any Genesis Personnel, as defined in the Plan. For the avoidance of
doubt, a “DCG Party” may also be an Excluded Party.

        “DCG Receipts” shall mean any value paid directly by DCG to Gemini on behalf of the
Gemini Lenders, as a result of the DCG Action and/or DCG Recoveries that the Debtors or their
successors in interest transfer to the Gemini Distribution Agent in accordance with the provisions
of Section 2.2 hereof.

        “DCG Recoveries” shall mean any dollar amounts, any indebtedness, and any other
assets, received from time to time following the TS Date by the Debtors, or their successors in
interest, from DCG, any DCG Party, or on behalf of, or at the direction of, any DCG Party
whether through litigation, settlement, or otherwise, including for the avoidance of doubt and
without limitation any recovery by any Debtor with respect to payments or proceeds, if any,
related to (a) the DCG Note, (b) the claims and Causes of Action assigned in accordance with the
provisions of Section 2.6 hereof, and (c) the claims and Causes of Action asserted in Case Nos.
23-BK-01168, 23-01169, and 24-01312 pending in the Bankruptcy Court.

       “Debtor Releasees” shall mean, collectively, each Debtor and, solely in their capacities
as such, its respective Related Parties; provided, however, that “Debtor Releasees” shall not
include any DCG Parties or any Excluded Parties.

         “Debtor Releasors” shall mean, collectively, each Debtor on behalf of itself, and solely
in their capacities as such, its respective Related Parties.

       “Debtors” shall mean, collectively, GGH, GGC, and GAP; provided, however, that,
except as otherwise specifically provided in this Settlement Agreement to the contrary,
references in this Settlement Agreement to the Debtors from and after the Plan Effective Date
shall mean the Wind-Down Debtors to the extent context requires.




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         “Digital Asset” shall mean a digital currency or crypto asset in which transactions are
verified and records are maintained by a decentralized system using cryptography, rather than by
a centralized authority, including Stablecoins, digital coins, and tokens, such as security tokens,
utility tokens, and nonfungible tokens, and governance tokens.

       “Effective Date Value” shall mean, with respect to the applicable Digital Asset, an
amount in USD equal to a fraction, (A) the numerator of which is the sum of the price in USD of
the applicable Digital Asset determined as of 6:00 p.m. EST on March 1, 2024, plus such price
determined as of the expiration of every one-minute period thereafter and until 5:59 p.m. EDT on
March 11, 2024, and (B) the denominator of which is 14,340.

        “Entity” shall have the meaning ascribed to it in section 101(15) of the Bankruptcy
Code.

       “ETH” shall mean ether, the native Digital Asset of the Ethereum blockchain, as
described in https://ethereum.org/en/what-is-ethereum/.

       “Excluded Party” shall mean, in their individual capacities, (i) Barry Silbert, (ii) Mark
Murphy, (iii) Michael Kraines, and (iv) Ducera Partners LLC and its affiliates and subsidiaries,
and any current or former employee, officer, or director of Ducera Partners LLC or its affiliates
and subsidiaries who was engaged by, or performed services for, DCG, DCG International
Investments Ltd., or any of their respective affiliates and subsidiaries during the one (1)-year
period prior to the Petition Date. For the avoidance of doubt, an Excluded Party may also be a
DCG Party.

         “Final Order” shall mean an order or judgment of the Bankruptcy Court or another court
of competent jurisdiction that has been entered on the docket maintained by the clerk of such
court, which is in full force and effect and has not been reversed, vacated, stayed, modified, or
amended and as to which (i) the time to appeal, petition for writ of certiorari, or move for a new
trial, reargument, or rehearing has expired and as to which no appeal, petition for writ of
certiorari, or other proceedings for a new trial, reargument, or rehearing shall then be pending, or
(ii) if an appeal, writ of certiorari, new trial, reargument, or rehearing thereof has been sought,
such order or judgment shall have been affirmed by the highest court to which such order was
appealed, or writ of certiorari shall have been denied, or a new trial, reargument, or rehearing
shall have been denied or resulted in no modification of such order, and the time to take any
further appeal, petition for writ of certiorari, or move for a new trial, reargument, or rehearing
shall have expired; provided, however, for the avoidance of doubt, an order or judgment that is
subject to appeal shall not constitute a Final Order even if a stay of such order or judgment
pending resolution of the appeal has not been obtained; and, provided further, however, that no
order or judgment shall fail to be a “Final Order” solely because of the possibility that a motion
under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous Bankruptcy Rule
(or any analogous rules applicable in another court of competent jurisdiction) or sections 502(j)
or 1144 of the Bankruptcy Code has been or may be filed with respect to such order or judgment.

       “GBTC Replacement Assets” shall mean Digital Assets obtained by the Gemini
Distribution Agent using the proceeds of the Gemini GBTC Shares monetized, sold, or redeemed
by the Gemini Distribution Agent, pursuant to the Trust Asset Order.


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       “Gemini Adversary Proceedings” shall mean, collectively, (a) the Gemini Preference
Action; and (b) the GBTC Action.

       “Gemini Contribution” shall mean either (a) Fifty Million Dollars ($50,000,000.00), (b)
Digital Assets having a value of Fifty Million Dollars ($50,000,000.00) as of the instant of
deposit, or (c) a combination of USD and Digital Assets having a value of Fifty Million Dollars
($50,000,000.00) as of the instant of deposit.

        “Gemini Distribution Agent” shall mean (a) Gemini or (b) any Person or Entity
appointed by Gemini, with the prior written consent of the Debtors, the UCC and the AHG,
solely, in respect of both (a) and (b), in the capacity set forth in Section 10.1 hereof.

       “Gemini Distribution Assets” shall mean the USD and Digital Assets acquired by the
Gemini Distribution Agent from the proceeds of (a) the Digital Asset Rebalance referenced in
Section 2.5 hereof, (b) the Gemini Contribution, (c) the Genesis Distribution, and (d) any DCG
Receipts.

        “Gemini Earn Operations Assets” shall mean the USD and the amount and type of
Digital Assets held by Gemini and owned by the Debtors, and as set forth on Schedule “B”
annexed hereto.

        “Gemini GBTC Value” shall mean the product of: (a) the Effective Date Value of BTC,
times (b) 30,905,782 (the number of Gemini GBTC Shares as of the TS Date), times (c) the TS
Date (at 11:59PM ET) “bitcoin per share” value provided in the “Key Fund Information” section
of the GBTC website (etfs.grayscale.com/gbtc).

       “Gemini Releasees” shall mean Gemini and, solely in their capacities as such, its past
and present officers, directors, principals, employees, successors, attorneys, and insurers.

        “Gemini Releasors” shall mean Gemini and, solely in their capacities as such, its
officers, directors, shareholders, employees, subsidiaries, agents, attorneys and representatives.

       “Gemini Reserved Coins” shall mean those Digital Assets, identified on Exhibit D to the
Gemini Master Claim and which are set forth on Schedule “C” annexed hereto, that Gemini
holds on behalf of the Gemini Lenders.

        “Gemini Retention Costs” shall mean, collectively, all fees and expenses attributable to
the retention of the Gemini GBTC Shares from and after the TS Date.

        “Individual Earn Obligation” shall mean, for each Gemini Lender, the amount of
Digital Assets owed, as of the Suspension Date, pursuant to the Gemini Earn Agreement to
which such Gemini Lender is a party, as such amount is listed as a “pending redemption” on
such Gemini Lender’s Earn account page at https://exchange.gemini.com/signin as of the date of
the Application.

        “Master Claim Digital Assets” shall mean the type and quantity of Digital Assets set
forth on Schedule “A” annexed hereto.



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       “MCDA Value” shall mean the Effective Date Value of the Master Claim Digital Assets.

        “Other Genesis Entities” shall mean, collectively, the following subsidiaries of GGH
other than GGC and GAP: Genesis UK Holdco Limited, Genesis Global Assets, LLC, Genesis
Asia (Hong Kong) Limited, Genesis Bermuda Holdco Limited, Genesis Custody Limited, GGC
International Limited, GGA International Limited, Genesis Global Markets Limited, GSB 2022 I
LLC, GSB 2022 II LLC, and GSB 2022 III LLC.

       “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy Code.

       “Plan Effective Date” shall mean the date the Plan or any other chapter 11 plan that may
be proposed or effectuated in the Chapter 11 Cases is declared effective in accordance with its
terms.

       “Redemption Completion Percent” shall mean an amount equal to the quotient of (i)
Fifty Million Dollars ($50,000,000.00) divided by (ii) the MCDA Value.

        “Related Party” shall mean, in their capacities as such, with respect to any entity, such
entity’s predecessors, successors and assigns, parents, subsidiaries, affiliates, and all of their
respective current and former officers and directors, principals, shareholders, members,
managers, partners, employees, agents, trustee, advisory board members, financial advisors,
attorneys, accountants, actuaries, investment bankers, consultants, representatives, management
companies, and such persons’ respective heirs, executors, estates, servants, and nominees;
provided, however, that “Related Party” shall not include any DCG Party or any Excluded
Party.

     “Settlement Effective Date” shall mean the date upon which the conditions set forth in
ARTICLE V hereof are satisfied or otherwise waived, in writing, by the Parties.

       “Stablecoin” shall mean a type of Digital Asset designed to reduce price volatility
through either (i) pegging the value of the Digital Asset to a reserve asset, such as a fiat currency,
exchange-traded commodity, or another Digital Asset, or (ii) algorithmically regulating the
supply of the Digital Asset.

        “SteerCo Members” shall mean the members of the steering committee of the AHG as
of the date hereof.

        “Trust Asset Order” shall mean that certain Order (I) Authorizing, but Not Directing,
the Sale of Trust Assets and (II) Granting Related Relief (ECF No. 1314).

      “USD” or “$” or “U.S. Dollars” shall mean the lawful currency of the United States of
America.

         “Wind-Down Debtors” shall mean, collectively, GGC, GAP, and GGH, or any
successor thereto, by merger, consolidation, or otherwise, in the form of a corporation, limited
liability company, partnership, or other form, as the case may be, in each case on and after the
Plan Effective Date to, among other things, effectuate the wind down of such Debtors’ estates
following the Plan Effective Date.


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The following terms are defined where indicated in this Settlement Agreement:

Term                                                                                                                                     Section

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AHG ................................................................................................................................... Preamble
Authorizations .............................................................................................................................. 7.4
Bankruptcy Code ................................................................................................................. Recitals
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Chapter 11 Cases.................................................................................................................. Recitals
DCG ..................................................................................................................................... Recitals
DCG Action ......................................................................................................................... Recitals
DCG Amount ............................................................................................................................... 2.2
Digital Asset Rebalance ........................................................................................................... 2.5(a)
GAP.................................................................................................................................... Preamble
GBTC ................................................................................................................................... Recitals
GBTC Action ....................................................................................................................... Recitals
Gemini................................................................................................................................ Preamble
Gemini Earn Agreements ..................................................................................................... Recitals
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                                           ARTICLE II

                             PAYMENTS AND DISTRIBUTIONS

        Section 2.1 Gemini Contribution. No later than five (5) Business Days following the
Settlement Effective Date, Gemini shall deposit, for the benefit of the Gemini Lenders, the
Gemini Contribution into a segregated account identified on Gemini’s records as account number
34162511 and with account name “Gemini Agent Redeem FBO Earn” (the “Redemption
Account”) with the Gemini Distribution Agent, which Gemini Contribution shall be distributed
to the Gemini Lenders on account of the Gemini Master Claim concurrently with the initial
distribution of the Gemini Distribution Assets pursuant to the provisions of Section 2.5(b)
hereof.

        Section 2.2 DCG Amount. Following the Settlement Effective Date, and solely in the
event that DCG does not pay or otherwise transfer Fifty Million Dollars ($50,000.000.00) (the
“DCG Amount”) in the aggregate to Gemini following the TS Date but prior to the Application
Date, the Debtors or their successors in interest, on a joint and several basis, shall transfer to the
Gemini Distribution Agent, within five (5) Business Days of receipt, six and one-half percent
(6.5%) of each USD and of each asset, in each case, that constitutes a DCG Recovery, up to an
amount equal, in the aggregate, to the DCG Amount Cap. Solely for purposes of calculating the
DCG Amount Cap and the six and one-half percent (6.5%) portion of any DCG Recovery
hereunder, the dollar value of any DCG Recovery in a form other than USD shall be equal to: (i)
for any DCG Recovery in the form of Digital Assets, the value of such Digital Assets as of the
instant of receipt by the Gemini Distribution Agent of such Digital Asset based on the applicable
price as provided for in Section 11.11(b) hereof; (ii) for any DCG Recovery in the form of
indebtedness, the face amount of such indebtedness (which face amount, if denominated in the
form of Digital Assets, shall be valued (but, for the avoidance of doubt, not transferred) in USD
as of the instant of receipt by the Gemini Distribution Agent of such indebtedness); (iii) for any
DCG Recovery in the form of securities that have an existing public market, the average closing
price for such securities for the ten (10) trading days prior to the day of receipt of such securities
by the Gemini Distribution Agent; and (iv) for any DCG Recovery in the form of securities that
do not have an existing public market, or any other form of consideration, the fair market value
of such securities or other form of consideration as mutually agreed upon in good faith by the
Parties and, if the Parties fail to agree on such fair market value within ten (10) calendar days of
receipt thereof by the Gemini Distribution Agent, the fair market value as of the date of delivery
to the Gemini Distribution Agent, as determined by the Bankruptcy Court. Any amounts turned
over to the Gemini Distribution Agent pursuant to this Section 2.2 shall be used by the Gemini
Distribution Agent to deliver the Completion Digital Assets as provided in Section 2.5(c) hereof.

       Section 2.3 Gemini Earn Operations Assets. No later than five (5) Business Days
following the Settlement Effective Date, Gemini shall transfer the Gemini Earn Operations
Assets to the Redemption Account to be distributed to the Gemini Lenders on account of the
Gemini Master Claim concurrently with the initial distribution of the Gemini Distribution Assets
pursuant to the provisions of Section 2.5(b) hereof.



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       Section 2.4    Genesis Distribution.

     (a)      No later than five (5) Business Days following the Settlement Effective Date,
GGC shall deliver to the Gemini Distribution Agent, for distribution to the Gemini Lenders:

               (i)    the number and type of Alt-Coins set forth on Schedule “D” annexed
       hereto (the “Genesis Alt-Coin Distribution”); and

               (ii)   an amount in USD equal to (i) the MCDA Value minus (ii) the sum of (A)
       the Gemini Contribution, (B) the DCG Amount, (C) the Gemini GBTC Value, (D) the
       Effective Date Value of the Genesis Alt-Coin Distribution to the extent made in
       accordance with Section 2.4(a)(i) hereof, and (E) the Effective Date Value of the Gemini
       Earn Operations Assets (the “Genesis USD Distribution” and together with the Genesis
       Alt-Coin Distribution, the “Genesis Distribution”).

        (b)    Upon completion of the Genesis Distribution in accordance with the provisions of
this Section 2.4 hereof, the obligations of the Debtors with respect to the Gemini Master Claim
shall be limited to the payments and deliveries if any to be made in accordance with Section 2.2
hereof and as otherwise set forth in this Settlement Agreement.

       Section 2.5    Digital Asset Rebalance and Gemini Distribution Assets.

       (a)     The Gemini Distribution Agent, in its sole and absolute discretion and acting on
behalf of the Debtors, is authorized to monetize or otherwise convert the Gemini Contribution,
the Gemini GBTC Shares, the Genesis Distribution, the Gemini Reserved Coins, the Gemini
Earn Operations Assets, and the DCG Receipts, if any, for the purpose of satisfying through in-
kind delivery to the greatest extent possible the Gemini Master Claim (the monetization
described in this sentence, the “Digital Asset Rebalance”).

        (b)     Following the Settlement Effective Date and the consummation of the Genesis
Distribution, the Gemini Distribution Agent shall distribute, from time to time promptly upon its
receipt thereof, but in no event later than fifteen (15) Business Days thereafter, in accordance
with the provisions of this Settlement Agreement, the Gemini Distribution Assets on behalf of
the Debtors to the Gemini Lenders in satisfaction of their claims, reducing the Gemini Master
Claim on a coin-for-coin basis with respect to each Digital Asset so delivered to the Gemini
Lenders; provided, however, that the Gemini Distribution Assets shall not include the
Completion Digital Assets, which assets shall be distributed in accordance with the provisions of
Section 2.5(c) hereof.

       (c)     The Gemini Distribution Agent shall deliver the Completion Digital Assets on
behalf of the Debtors to the Gemini Lenders in its sole and absolute discretion; provided,
however, that, if the Gemini Distribution Agent receives DCG Receipts that, in the aggregate, are
in value (for such other assets, as determined in accordance with the provisions of Section 2.2
hereof) equal to or greater than Ten Million Dollars ($10,000,000.00) or a multiple of Ten
Million Dollars ($10,000,000.00), the Gemini Distribution Agent shall distribute to the Gemini
Lenders in satisfaction of their claims, within thirty (30) days of such receipt, a portion of the
Completion Digital Assets equal to the quotient of (y) Ten Million Dollars ($10,000,000.00) or


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the applicable multiple thereof divided by (z) Fifty Million Dollars ($50,000,000.00). Following
the distribution of the Gemini Distribution Assets in accordance with the provisions of Section
2.5(b) hereof and of the Completion Digital Assets in accordance with the immediately
preceding sentence, neither Gemini nor the Gemini Distribution Agent shall have any further
obligations to the Gemini Lenders with respect to the Gemini Master Claim.

        Section 2.6 Assignment of Litigation Claims and Proceeds. From and after the
Application Date, Gemini shall not settle any claims or Causes of Action against DCG without
the prior written consent of the Debtors, the AHG and the UCC, which consent shall not be
unreasonably withheld, conditioned, or delayed. On the Settlement Effective Date and provided
that DCG has not, as of such date, consummated a settlement of claims that Gemini or the
Debtors maintain against DCG, Gemini shall irrevocably transfer, assign, grant and convey to
GGC, or its successor in interest, for the benefit of GGC’s creditors, all of Gemini’s right, title
and interest in and to any and all claims and Causes of Action that Gemini has asserted, or that
could have been asserted, in the DCG Action, including any rights and defenses relating to such
claims and Causes of Action, the facts underlying the DCG Action and any claims related to the
DCG Action for indemnification arising from or relating to the Gemini Contribution or with
respect to potential joint tortfeasor obligations.

       Section 2.7    Gemini Proprietary Claim.

        (a)    On the Plan Effective Date, the Gemini Proprietary Claim shall be Allowed, as
defined in the Plan, as a general unsecured claim against GGC in the amount of Seven Million
Five Hundred Thousand Dollars ($7,500,000.00) (and for the purpose of the Plan be classified as
a Class 3 general unsecured claim); provided, however, that, in no event shall the Gemini
Proprietary Claim be afforded any lesser treatment under the Plan, any other chapter 11 plan that
may be proposed or effectuated in the Chapter 11 Cases, or in a liquidation under chapter 7 of
the Bankruptcy Code than any other similarly situated general unsecured claim. Gemini shall
receive distributions on the Gemini Proprietary Claim from the Debtors or the Wind-Down
Debtors (as appropriate) pursuant to the Plan, including the Distribution Principles, as defined in
the Plan.

       (b)    In the event that the aggregate amount of DCG Recoveries exceeds
$769,230,769.00 (such amounts, “Incremental DCG Recoveries”), the Debtors or their
successors in interest, on a joint and several basis, shall transfer to Gemini, within five (5)
Business Days of receipt by the Debtors, one and one-half percent (1.5%) of each such
Incremental DCG Recovery up to an amount equal, in the aggregate, to Ten Million Dollars
($10,000,000.00). For purposes of this Section 2.7(b), the dollar value of any DCG Recovery or
Incremental DCG Recovery in a form other than USD shall be determined in a manner consistent
with the second sentence of Section 2.2 hereof.

       (c)    Gemini shall waive all other claims it holds in its individual capacity against the
Debtors, including, without limitation, any claims for substantial contribution or other fees and
expenses incurred by Gemini, as agent or otherwise, in connection with the Chapter 11 Cases,
the Gemini Master Claim, and the Gemini Proprietary Claim.




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        (d)    Nothing in this Settlement Agreement shall affect Gemini’s rights or entitlements
pursuant to: (a) the Order Authorizing Debtors’ Motion to Approve (I) the Adequacy of
Information in the Disclosure Statement, (II) Solicitation and Voting Procedures, (III) Forms of
Ballots, Notices and Notice Procedures in Connection Therewith, and (IV) Certain Dates with
Respect Thereto [ECF No. 1027]; or (b) Article VI.B.2 of the Plan (which article shall, solely as
to matters pertaining to the Gemini Distribution Agent, not be amended without Gemini’s
Consent, as defined in the Plan).

        Section 2.8 Gemini Adversary Proceedings. On the Settlement Effective Date, the
Gemini Adversary Proceedings shall be deemed dismissed, with prejudice. Within seven (7)
Business Days of the Settlement Effective Date, the Parties shall take any and all action
reasonably necessary to effectuate such dismissal and the waiver of their respective claims
asserted in the Gemini Adversary Proceedings, including, without limitation, the filing of notices
of dismissal with the Bankruptcy Court. For the avoidance of doubt, on the Settlement Effective
Date, the Debtors shall be deemed to have released and waived all claims and Causes of Action
that may be asserted against any Gemini Lenders (including with respect to Gemini Lenders with
zero or de minimis balances as of the Petition Date, but with non-zero or non-de minimis
balances as of the applicable preference period) pursuant to section 547 of the Bankruptcy Code
by the Debtors and the Debtors’ Estates, including, without limitation, any successors in interest.

         Section 2.9 Gemini Master Claim. Within one (1) Business Day after the Application
Date, the Debtors shall seek the adjournment of the presentment date of the Master Claim Stip to
a date and time contemporaneous with the Bankruptcy Court’s determination of the Application.
Upon approval of the Master Claim Stip by a Final Order of the Bankruptcy Court, the Gemini
Master Claim shall be deemed Allowed, as defined in the Plan, as a general unsecured claim
against GGC for the Master Claim Digital Assets (and for the purpose of the Plan be classified as
a Class 7 general unsecured claim) with distributions on account of the Gemini Master Claim
strictly limited to those provided for in this Settlement Agreement.

                                         ARTICLE III

                    RELEASE OF CLAIMS AND INDEMNIFICATION

       Section 3.1 Debtors/UCC/AHG and SteerCo Releases. As of the Settlement Effective
Date, without the need for the execution and delivery of additional documentation or the entry by
the Bankruptcy Court of any order other than the Approval Order becoming a Final Order, the
Debtor Releasors, the AHG (for itself and on behalf of the SteerCo Members, but not with
respect to any other AHG members), and the UCC hereby release, waive, acquit and forever
discharge the Gemini Releasees and each of them, from any and all accounts, actions,
agreements, bonds, bills, causes of action, claims, contracts, controversies, costs, covenants,
damages, disputes, debts, executions, judgments, lawsuits, liabilities, obligations, promises,
reckonings, specialties, suits, sums of money, trespasses, variances, of whatever kind, nature,
character or description, including, without limitation, claims for monies, damages, costs,
expenses, losses and attorneys’, accountants’ and experts’ fees and expenses, whether known or
unknown, anticipated or unanticipated, suspected or unsuspected, which the Debtor Releasors,
the AHG (as an Entity), the SteerCo Members, or the UCC may have or may hereafter claim to
have, or which might have been alleged, against the Gemini Releasees from the beginning of


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time up to and including the Settlement Effective Date, including, for the avoidance of doubt, (i)
any claims resulting from Gemini’s purported foreclosure on the Gemini GBTC Shares, and (ii)
any claims related to the Gemini Reserved Coins and the Gemini Earn Operations Assets;
provided, however, that this release shall not cover obligations reflected in this Settlement
Agreement, which obligations shall survive this release subject to the provisions of this
Settlement Agreement.

         Section 3.2 Gemini Releases. As of the Settlement Effective Date, without the need
for the execution and delivery of additional documentation or the entry by the Bankruptcy Court
of any order other than the Approval Order becoming a Final Order, the Gemini Releasors
hereby release, waive, acquit and forever discharge the Debtor Releasees, the AHG, the SteerCo
Members, and the UCC, and each of them, from any and all accounts, actions, agreements,
bonds, bills, causes of action, claims, contracts, controversies, costs, covenants, damages,
disputes, debts, executions, judgments, lawsuits, liabilities, obligations, promises, reckonings,
specialties, suits, sums of money, trespasses, variances, of whatever kind, nature, character or
description, including, without limitation, claims for monies, damages, costs, expenses, losses
and attorneys’, accountants’ and experts’ fees and expenses, whether known or unknown,
anticipated or unanticipated, suspected or unsuspected, which the Gemini Releasors may have or
may hereafter claim to have, or which might have been alleged, against the Debtor Releasees, the
AHG, the SteerCo Members, or the UCC from the beginning of time up to and including the
Settlement Effective Date; provided, however, that this release shall not cover: (i) the Gemini
Proprietary Claim; (ii) obligations reflected in this Settlement Agreement, which claims and
obligations shall survive this release subject to the provisions of this Settlement Agreement; and
(iii) Claims or Causes of Action assigned to the Debtors pursuant to the terms hereof.

        Section 3.3 Indemnification. In the event that any of the Debtors or their successors in
interest or respective Related Parties (the “Indemnified Parties”) becomes involved in any
claim, suit, action, or proceeding commenced by any Gemini Lender against any Indemnified
Party after the completion of the Genesis Distribution in accordance with the provisions of
Section 2.4 hereof arising from any action taken by any Indemnified Party in accordance with
this Settlement Agreement (collectively, a “Proceeding”), Gemini shall indemnify such
Indemnified Party for any losses and reasonable and documented legal expenses caused by such
Proceeding (“Losses”), except to the extent that that such Losses (a) resulted from the gross
negligence, fraud or willful misconduct of an Indemnified Party as determined by a Final Order
of a court of competent jurisdiction or (b) relate solely to an appeal taken from the Approval
Order. The total aggregate amount of Gemini’s indemnification obligations for any Losses under
this Settlement Agreement shall be limited to and not exceed the U.S. Dollar value of the
Genesis Distribution actually made in accordance with Section 2.4 hereof (calculated using the
Effective Date Value of the Genesis Alt-Coin Distribution and the dollar amount of the Genesis
USD Distribution). Gemini shall have no indemnification obligation for any Proceeding based in
whole or in part on actions taken by any Indemnified Party prior to the date of entry of the
Approval Order. If any Proceeding shall be brought, threatened or asserted against an
Indemnified Party in respect of which indemnity or contribution may be sought against Gemini,
the Indemnified Party shall promptly notify Gemini in writing, but in any event within twenty-
one (21) days from the date on which the Indemnified Party is provided notice of any such
Proceeding, and the failure to provide such notice to Gemini shall relieve Gemini of any and all



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indemnification obligations to such Indemnified Party pursuant to this Settlement Agreement
solely with respect to such Proceeding. Gemini, upon written notice to such Indemnified Party,
may elect to assume the defense of such Proceeding, at Gemini’s own expense, with counsel of
its choice. Such Indemnified Party shall have the right, at its sole expense, to employ separate
counsel in any such Proceeding and to participate in the defense thereof. Gemini shall have the
right to at its sole discretion settle, compromise, or consent to the entry of a judgment in any
pending or threatened Proceeding without requiring the consent of any Indemnified Party so long
as such settlement, compromise, or consent includes an explicit and unconditional release from
the settling, compromising, or consenting party of the applicable Indemnified Party from all
liability arising out of such Proceeding. No Indemnified Party seeking indemnification under
this Settlement Agreement shall, without Gemini’s prior written consent settle, compromise, or
consent to the entry of any judgment or otherwise seek to terminate any Proceeding in respect of
which indemnification may be sought under this Settlement Agreement. In no event will Gemini
be required to pay, pursuant to the indemnification provisions set forth in this Section 3.3 hereof,
(x) fees and expenses for more than one firm of attorneys representing each Indemnified Party in
any jurisdiction in any one legal action or group of related legal actions or (y) with respect to the
fees and expenses incurred by an Indemnified Party prior to the date on which such Indemnified
Party notifies Gemini in writing of the applicable Proceeding, fees and expenses incurred by
such Indemnified Party in connection with such Proceeding in excess of Ten Thousand Dollars
($10,000.00).

                                          ARTICLE IV

                                      APPROVAL ORDER

       Section 4.1 Entry and Effect of Approval Order. Effective upon the execution of this
Settlement Agreement, (i) GGC shall use its reasonable efforts to seek entry of the Approval
Order by the Bankruptcy Court (and to defend against any action to appeal, repeal, vacate or
modify the Approval Order as so entered), (ii) Gemini, the AHG, and the UCC shall reasonably
cooperate with GGC to obtain entry and finality of the Approval Order, and (iii) no Party shall
take any action inconsistent with this Settlement Agreement (other than to enforce this
Settlement Agreement) or cause the Approval Order to be appealed.

                                           ARTICLE V

                            CONDITIONS TO EFFECTIVENESS

       Section 5.1 Except as otherwise provided herein, the consummation of the transactions
contemplated by this Settlement Agreement shall be conditioned upon the following conditions
being satisfied or waived, in writing, by the Parties:

       (a)    the Bankruptcy Court shall have entered the Approval Order and the Approval
Order shall have (i) not been stayed or vacated (including during the pendency of a
determination as to such stay or vacatur) or (ii) become a Final Order;

       (b)    the Parties shall have agreed in writing on the Gemini GBTC Value, the MCDA
Value, the Effective Date Value of the Genesis Alt-Coin Distribution, the Effective Date Value


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of the Gemini Earn Operations Assets, and the TS Date (at 11:59PM ET) “bitcoin per share”
value provided in the “Key Fund Information” section of the GBTC website
(etfs.grayscale.com/gbtc) (collectively, the “Agreed Values”), or, to the extent there shall have
been any dispute among the Parties as to the Agreed Values that is not resolved within ten (10)
days, such dispute shall have been resolved by the Bankruptcy Court; and

        (c)    the Approval Order shall (i) include a determination by the Bankruptcy Court that
Gemini has the authority to bind the Gemini Lenders to this Settlement Agreement and its terms
pursuant to the terms of the Gemini Earn Agreements; (ii) confirm that the Gemini Lenders are
bound by the terms of this Settlement Agreement; and (iii) provide authority for Gemini to
effectuate, as agent for the Gemini Lenders and as the Gemini Distribution Agent: (A) the
monetization of the Gemini GBTC Shares (to the extent not previously authorized pursuant to
the Trust Asset Order), (B) the Digital Asset Rebalance, and (C) the distributions and other
transactions contemplated by this Settlement Agreement.

                                         ARTICLE VI

                               ADDITIONAL AGREEMENTS

       Section 6.1 GBTC Shares. The Parties agree that: (a) Gemini failed to foreclose on
the Gemini GBTC Shares; (b) the Debtors owned, and will own, the Gemini GBTC Shares, the
Additional GBTC Shares, the GBTC Replacement Assets, the Gemini Earn Operations Assets
and any DCG Recoveries that the Debtors and their successors in interest transfer to the Gemini
Distribution Agent in accordance with the provisions of Section 2.2 hereof, from the date such
assets were acquired until such assets are delivered to the Gemini Lenders by the Gemini
Distribution Agent on behalf of the Debtors; (c) until delivered to the Gemini Lenders by the
Gemini Distribution Agent on behalf of the Debtors under this Agreement, Gemini’s and the
Gemini Lenders’ interest in the Gemini GBTC Shares and the GBTC Replacement Assets is and
has been solely as collateral for the Gemini Master Claim; and (d) the Gemini Contribution is
being made in satisfaction of certain claims that the Debtors have against Gemini related to the
Gemini Earn Program.

         Section 6.2 Tax Treatment. The Parties agree that, for U.S. federal and applicable
state and local income tax purposes: (a) the payment or delivery of (i) the Gemini Contribution,
(ii) any DCG Receipts, (iii) any assets delivered to Gemini in accordance with the provisions of
Section 2.3 and 2.4 hereof, as agent of the Gemini Lenders, (iv) the Digital Asset Rebalance, and
(v) the distribution of the Gemini Distribution Assets and Completion Digital Assets by the
Gemini Distribution Agent to the Gemini Lenders pursuant to Section 2.5 hereof shall,
collectively, be treated for U.S. federal and applicable state and local tax purposes as
distributions from the Debtors to the Gemini Lenders in satisfaction of the Gemini Master Claim;
and (b) the Debtors (i) were and will be treated as the owners of the Gemini GBTC Shares until
such assets were or are monetized, (ii) were and will be treated as the owners of the GBTC
Replacement Assets until such assets are monetized pursuant to the Digital Asset Rebalance, and
(iii) will be treated as the owners of the Gemini Distribution Assets from the applicable Digital
Asset Rebalance date until such assets are delivered to the Gemini Lenders by the Gemini
Distribution Agent on behalf of the Debtors, and that, until delivered to the Gemini Lenders by
the Gemini Distribution Agent on behalf of the Debtors pursuant to this Settlement Agreement,


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Gemini’s and the Gemini Lenders’ interest in the assets described in (i) through (iii) shall be
solely as collateral for the Gemini Master Claim. The Parties agree to file, and to cause their
respective affiliates to file, all tax returns consistent with the preceding sentence and to not take,
and to cause their respective affiliates to not take, any position inconsistent therewith unless
otherwise required following a determination within the meaning of Section 1313 of the Internal
Revenue Code of 1986, as amended.

        Section 6.3 IRS Form. The Gemini Distribution Agent shall deliver to the Debtors an
IRS Form W-9, duly executed by the Gemini Distribution Agent, on or before the Settlement
Effective Date.

                                          ARTICLE VII

                         REPRESENTATIONS AND WARRANTIES

      Representations and Warranties of each Party. Each Party executing this Settlement
Agreement hereby represents and warrants to the other Parties that:

        Section 7.1 Authority. Such Party has the requisite corporate, limited liability
company or other entity power and authority to, and, in the case of the AHG, its organizing
principles authorize it to, and to authorize Proskauer Rose LLP to, on behalf of the AHG as a
whole and each of the SteerCo Members individually as if each such SteerCo Member were a
Party hereto, execute and deliver this Settlement Agreement, and to perform its obligations
hereunder. This Settlement Agreement has been duly authorized, executed and delivered by such
Party and, in the case of the AHG, by Proskauer Rose LLP on behalf of the AHG as a whole and
each of the SteerCo Members individually, and, assuming the due authorization, execution and
delivery hereof by each other Party, this Settlement Agreement constitutes a legal, valid and
binding obligation of such Party (including each of the SteerCo Members) enforceable against
such Party (including each of the SteerCo Members) in accordance with its terms, except as such
enforcement may be limited by bankruptcy, insolvency or other similar laws affecting the
enforcement of creditors’ rights generally or by general principles of equity.

       Section 7.2 Tax Advice. No tax advice has been offered or given by such Party in the
course of these negotiations, and such Party is relying upon the advice of its own tax consultants
with regard to any tax consequences that may arise as a result of the execution of this Settlement
Agreement.

        Section 7.3 New Information. The Parties subsequently may discover facts different
from or in addition to those now known or believed to be true regarding the subject matter of this
Settlement Agreement and agree that this Settlement Agreement shall remain in full force and
effect notwithstanding the existence or discovery of any such different or additional facts.

        Section 7.4 Authorizations. Other than the approval by the Bankruptcy Court and
entry of the Approval Order, or as otherwise set forth in this Settlement Agreement, no
authorizations, approvals, consents or waivers by, or notifications to, a governmental authority,
or other person (including but not limited to licenses, notifications, registrations or declarations)
(collectively, “Authorizations”) are required for the execution, delivery or satisfaction by such



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Party of this Settlement Agreement or the satisfaction of any of the obligations of such Party
contemplated hereby, or, if required, all such Authorizations have been obtained.

                                         ARTICLE VIII

                                         COVENANTS

       Section 8.1 Covenants of the Debtors. For so long as this Settlement Agreement
remains in effect, each of the Debtors hereby covenants and agrees that it shall, and shall cause
its Debtor affiliates and subsidiaries to, support and take any and all actions commercially
reasonable, necessary or appropriate to consummate the transactions set forth in this Settlement
Agreement, including, but not limited to:

      (a)    preparing, and seeking Bankruptcy Court approval of, the Application in
compliance with the Bankruptcy Code, the Bankruptcy Rules and other applicable law;

        (b)     supporting approval of the Application (and not objecting to, or supporting the
efforts of any other Person to oppose or object to, approval of the Application);

        (c)    providing counsel to the AHG, the UCC, and Gemini with such information as
shall be reasonably requested to evaluate, consider, support and defend, to the extent necessary,
this Settlement Agreement, the Application and the transactions contemplated herein, including,
without limitation, such information as shall be reasonably requested by such counsel in
furtherance of making distributions pursuant hereto, including, without limitation, on an in-kind
basis corresponding with the currency denomination of the underlying Gemini Master Claim;

       (d)    using commercially reasonable efforts to obtain any required governmental,
regulatory, and/or third-party approvals necessary or required for the implementation or
consummation of the transactions contemplated herein;

      (e)     working cooperatively with the other Parties and their respective counsel to
implement the transactions contemplated in this Settlement Agreement;

        (f)    executing any document and giving any notice, order, instruction, or direction that
is necessary to support, facilitate, implement, or consummate, or otherwise give effect to the
transactions contemplated herein;

        (g)     reasonably cooperating with the defense of any pending or threatened litigations
against any other Party solely to the extent that such litigation or adversary proceeding relates to
any of the transactions contemplated herein; and

       (h)      in the event that a party files a notice of appeal from the entry of the Approval
Order and seeks a stay pending appeal in connection therewith, using reasonable best efforts to
oppose such stay request, including, without limitation, seeking the posting of a supersedeas
bond in an amount commensurate with potential losses resulting from any delay caused by any
appeals or petitions for review of the Approval Order.




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        Section 8.2 Covenants of Gemini. For so long as this Settlement Agreement remains
in effect, Gemini hereby covenants and agrees that it shall, and shall cause its affiliates and
subsidiaries to, support and take any and all actions commercially reasonable, necessary or
appropriate to consummate the transactions contemplated herein, including, but not limited to:

        (a)     unless otherwise agreed to, in writing, by the Parties, not selling, reselling,
reallocating, using, transferring, pledging, hypothecating, participating, donating or otherwise
encumbering or disposing of, or directly or indirectly (including through derivatives, options,
swaps, forward sales or other transactions) assigning, all or any portion of the Gemini
Proprietary Claim during the period from the date hereof up to and including the earlier to occur
of (i) the Settlement Effective Date and (ii) the termination of this Settlement Agreement in
accordance with the provisions of Section 11.15 hereof;

        (b)     supporting approval of the Application (and not objecting to, or supporting the
efforts of any other person to oppose or object to, approval of the Application);

        (c)    providing counsel to the AHG, the UCC, and the Debtors with such information
as shall be reasonably requested to evaluate, consider, support and defend, to the extent
necessary, this Settlement Agreement, the Application and the transactions contemplated herein,
including, without limitation, such information as shall be reasonably requested by such counsel
or counsel to the Wind-Down Debtors, as applicable, for tax purposes and in furtherance of
Section 6.2 and making distributions pursuant hereto, including, without limitation, on an in-kind
basis corresponding with the currency denomination of the underlying Gemini Master Claim;

        (d)    executing any document and giving any notice, order, instruction, or direction that
is necessary to support, facilitate, implement, or consummate or otherwise give effect to the
transactions contemplated herein;

      (e)     working cooperatively with the other Parties and their respective counsel to
implement the transactions and tax treatment contemplated by this Settlement Agreement;

        (f)     reasonably cooperating with the defense of any pending or threatened litigations
against any other Party solely to the extent that such litigation or adversary proceeding relates to
any of the transactions contemplated herein;

        (g)     unless prohibited by applicable law or existing obligations as of the date hereof,
providing written notice to counsel to the Debtors, the AHG and the UCC of (A) the occurrence,
or failure to occur, of any event, change, effect, occurrence, development, circumstance or
change of fact of which Gemini has knowledge, including any action taken by any governmental
department, authority or agency, wherein occurrence of failure to occur could reasonably be
expected to cause, or has caused, (1) any representation or warranty of Gemini contained herein
to be untrue or inaccurate in any material respect or (2) any covenant of Gemini contained herein
not to be satisfied in any material respect, or (B) receipt by Gemini of any material written notice
from any governmental body alleging that the consent of such governmental body is or may be
required in connection with the transactions contemplated herein, promptly upon, but in any
event within fourteen (14) days of, obtaining knowledge of any of the foregoing; and



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       (h)      in the event that a party files a notice of appeal from the entry of the Approval
Order and seeks a stay pending appeal in connection therewith, using reasonable best efforts to
oppose such stay request, including, without limitation, seeking the posting of a supersedeas
bond in an amount commensurate with potential losses resulting from any delay caused by any
appeals or petitions for review of the Approval Order.

         Section 8.3 Covenants of the UCC and the AHG. For so long as this Settlement
Agreement remains in effect, each of the UCC and the AHG, individually on a several and not
joint basis, hereby covenants and agrees, solely with respect to itself, and not with respect to any
of its individual members (but, for the avoidance of doubt, including the SteerCo Members), that
it shall support and take any and all actions commercially reasonable, necessary or appropriate to
consummate the transactions set forth in this Settlement Agreement, including, but not limited
to:

        (a)     supporting approval of the Application (and not objecting to, or supporting the
efforts of any other person to oppose or object to, approval of the Application);

      (b)     working cooperatively with the other Parties and their respective counsel to
implement the transactions contemplated by this Settlement Agreement;

        (c)    executing any document and giving any notice, order, instruction or direction that
is necessary to support, facilitate, implement, consummate or otherwise give effect to the
transactions contemplated herein;

       (d)     providing counsel to Gemini, the AHG, the UCC and the Debtors, as applicable,
with such information as shall be reasonably requested to evaluate, consider, support and defend,
to the extent necessary, this Settlement Agreement, the Application and the transactions
contemplated herein, including, without limitation, such information as shall be reasonably
requested by such counsel in furtherance of making distributions pursuant hereto, including,
without limitation, on an in-kind basis corresponding with the currency denomination of the
underlying Gemini Master Claim;

        (e)    to the extent that any legal or structural impediment arises that would prevent,
hinder or delay the consummation of the transactions contemplated herein, negotiating with the
Parties in good faith a resolution to address any such impediment;

         (f)    reasonably cooperating with respect to the defense of any pending or threatened
litigations against any other Party solely to the extent that such litigation or adversary proceeding
relates to any of the transactions contemplated herein; and

       (g)      in the event that a party files a notice of appeal from the entry of the Approval
Order and seeks a stay pending appeal in connection therewith, using reasonable best efforts to
oppose such stay request, including, without limitation, seeking the posting of a supersedeas
bond in an amount commensurate with potential losses resulting from any delay caused by any
appeals or petitions for review of the Approval Order.




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                                          ARTICLE IX

                                 RESERVATION OF RIGHTS

        Section 9.1 Reservation. Except as otherwise provided in this Settlement Agreement,
the Parties hereby reserve all rights with respect to all matters between them (or any of their
respective affiliates) not related to this Settlement Agreement or the transactions contemplated
hereby, which rights shall not be affected by this Settlement Agreement, by implication or
otherwise. The sole purpose of this Settlement Agreement is to provide for, confirm, and
acknowledge the completion of the transactions contemplated in this Settlement Agreement.

        Section 9.2 Non-Admissibility. Neither this Settlement Agreement nor any
negotiations or proceedings in connection herewith may be used, and such negotiations and
proceedings shall not be admissible, in any proceeding against any Party or its affiliates for any
purpose, except to seek Bankruptcy Court approval or to effectuate or otherwise enforce the
terms of this Settlement Agreement. For the avoidance of doubt, in the event the Settlement
Effective Date does not occur, each Party agrees that it will not rely on anything set forth in this
Settlement Agreement in the GBTC Action.

                                          ARTICLE X

         MATTERS PERTAINING TO THE GEMINI DISTRIBUTION AGENT

        Section 10.1 Authorization to Distribute. Each of the Debtors irrevocably appoints
Gemini as the Gemini Distribution Agent and authorizes Gemini in such capacity to make all
distributions to the Gemini Lenders pursuant to this Settlement Agreement, and each of the UCC
and the AHG consents to such appointment and authorization. On behalf of the Debtors, the
Gemini Distribution Agent shall distribute the Gemini Distribution Assets and the Completion
Digital Assets as set forth in this Settlement Agreement in full satisfaction of each Individual
Earn Obligation. The Gemini Distribution Agent shall not be required to give any bond or surety
or other security for the performance of its duties unless otherwise ordered by the Bankruptcy
Court; provided, however, that, in the event that the Gemini Distribution Agent is so otherwise
ordered, all costs and expenses of procuring any such bond or surety shall be borne by the
Debtors or the Wind-Down Debtors, as applicable.

       Section 10.2 Additional Authorization. Solely to the extent it deems necessary to
implement this Settlement Agreement and the transactions contemplated hereby, the Gemini
Distribution Agent shall be empowered and directed to: (a) effect all actions and execute on its
behalf all agreements, instruments, and other documents necessary to perform its duties under
this Settlement Agreement; (b) make all distributions contemplated hereby; (c) employ
professionals to represent it with respect to its responsibilities; and (d) exercise such other
powers as may be vested in the Gemini Distribution Agent by order of the Bankruptcy Court,
pursuant to this Settlement Agreement or as deemed by the Gemini Distribution Agent to be
necessary and proper to implement the provisions of this Settlement Agreement.

        Section 10.3 Monetization. The Gemini Distribution Agent shall, at its sole discretion
and to the maximum extent permitted by law, be authorized to (a) monetize assets distributed or


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transferred to the Gemini Distribution Agent, including the Gemini GBTC Shares (in accordance
with the terms of the Trust Asset Order), the Gemini Reserved Coins, the Gemini Earn
Operations Assets, and the Genesis Distribution, and (b) rebalance assets distributed or
transferred to the Gemini Distribution Agent, including the Gemini GBTC Shares, the Gemini
Reserved Coins, the Gemini Earn Operations Assets, and the Genesis Distribution in a manner
consistent with the provisions of this Settlement Agreement, in each case, to enable the Gemini
Distribution Agent to make distributions in respect of Gemini Lender Claims denominated in
Digital Assets in the like kind form of Digital Asset in which such Claims are denominated. The
Gemini Distribution Agent, to the maximum extent permitted by law, is authorized to effectuate
such rebalancing by buying and selling of Digital Assets or otherwise exchanging any type of
Digital Asset into any other type of Digital Asset.

        Section 10.4 Gemini Fees. Except as otherwise ordered by the Bankruptcy Court, the
amount of any reasonable and documented fees and expenses incurred by the Gemini
Distribution Agent (solely in its capacity as Gemini Distribution Agent and solely with respect to
its duties in such capacity) on or after the Settlement Effective Date, and any reasonable and
documented compensation and expense reimbursement claims (including reasonable and
documented attorney fees and expenses) made by the Gemini Distribution Agent (solely in its
capacity as such), shall be paid in cash by the Debtors (or, from and after the Plan Effective
Date, by the Wind-Down Debtors from the Wind-Down Reserve (as defined in the Plan));
provided, however, that the fees and expenses incurred by the Gemini Distribution Agent shall
be subject to and limited by a budget determined in the Debtors’ reasonable discretion, with the
Committee’s Consent, Gemini’s Consent, and the Ad Hoc Group’s Consent, each as defined in
the Plan, and the Gemini Distribution Agent shall not incur any fees and expenses in excess of
such budget without the prior written consent of the Debtors or, from and after the Plan Effective
Date, the PA Officer, which consent shall not be unreasonably withheld, conditioned, or delayed;
and, provided, further, that, if the Parties cannot agree to such budget pursuant to the terms of
this Settlement Agreement prior to the objection deadline provided for in the Application, the
Parties (or any of them) may seek a determination of the Bankruptcy Court regarding the same.

        Section 10.5 Reliance by the Gemini Distribution Agent. Solely to the extent it deems
necessary to implement this Settlement Agreement and the transactions contemplated hereby, the
Gemini Distribution Agent (a) shall be entitled to rely upon, and shall not incur any liability for
relying upon, any notice, request, certificate, consent, statement, instrument, document or other
writing (including any electronic message, Internet or intranet website posting or other
distribution) reasonably believed by it to be genuine and to have been signed, sent or otherwise
authenticated by the proper person and (b) may consult with legal counsel, independent
accountants and other experts selected by it, and shall not be liable for any action taken or not
taken by it in good faith and in reliance on the advice of any such counsel, accountants, experts
or professional advisors.

        Section 10.6 Delegation by Gemini Distribution Agent. Upon five (5) Business Days’
prior written notice to counsel to the Debtors, the UCC, and the AHG, the Gemini Distribution
Agent may appoint one or more entities under common control with Gemini as agents to assist it
in furtherance of the performance by the Gemini Distribution Agent of its duties under this
Settlement Agreement; provided, however, that, notwithstanding the appointment of any such



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agents, the Gemini Distribution Agent shall remain responsible for any and all of its duties and
obligations under this Settlement Agreement.

        Section 10.7 No Third-Party Beneficiary. The provisions of this ARTICLE X are
solely for the benefit of the Gemini Distribution Agent, the Debtors, the UCC, and the AHG, and
no other person shall have rights as a third party beneficiary of any such provisions.

       Section 10.8 Non-Waiver of Rights. For the avoidance of doubt, nothing set forth in
this ARTICLE X shall be deemed to waive, prejudice, amend, or otherwise alter Gemini’s rights
pursuant to the Gemini Earn Agreements or any other agreements between Gemini and the
Gemini Lenders. Such rights are preserved to the fullest extent possible.

                                          ARTICLE XI

                                       MISCELLANEOUS

        Section 11.1 No Admission of Liability. This Settlement Agreement is not an
admission of any liability but is a compromise and settlement and neither this Settlement
Agreement, nor any of the communications or proceedings described in the following sentence,
shall be treated as, or claimed to be, or to be evidence of, an admission of any liability or
wrongdoing whatsoever, or the truth or untruth, or merit or lack of merit, of any claim or defense
of any Party. Without limitation of the preceding sentence, all communications (whether oral or
in writing) between or among the Parties, their counsel or their respective representatives, and all
proceedings relating to, concerning or in connection with this Settlement Agreement, or the
matters covered hereby and thereby (whether occurring prior to, on or after the date hereof), shall
be governed and protected in accordance with the Federal Rule of Evidence 408 and New York
Civil Practice Law and Rules Section 4547 to the fullest extent permitted by law.

       Section 11.2 Further Assurances. Each Party agrees that from time to time it will
promptly, and at its sole cost and expense (subject to and in accordance with the Bankruptcy
Code and the Federal Rules of Bankruptcy Procedure), execute and deliver all further
agreements, instruments, documents and certificates, and shall make or cause to be made such
recordings or registrations and take all further action, as may be necessary or reasonably
desirable or as may be reasonably requested by a Party hereto to evidence any of the terms and
provisions of this Settlement Agreement.

        Section 11.3 Governing Law. This Settlement Agreement and any disputes arising
hereunder or controversies related hereto, shall be construed, performed and enforced in
accordance with, and governed by the internal laws, and not the laws of conflicts, of the State of
New York that apply to contracts made and performed entirely within such state, except to the
extent that the laws of the State of New York are superseded by the Bankruptcy Code.

        Section 11.4 Jurisdiction. The Parties hereby (i) irrevocably and unconditionally
submit to the exclusive jurisdiction of the Bankruptcy Court to determine all claims or disputes
relating in any way to this Settlement Agreement and (ii) irrevocably and unconditionally waive,
to the fullest extent permitted by law, any objection to the laying of venue in the aforesaid courts.



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      Section 11.5 Waiver of Jury Trial. EACH PARTY HERETO, FOR ITSELF AND ITS
AFFILIATES, HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW ALL RIGHT TO TRIAL BY
JURY IN ANY PROCEEDING (WHETHER BASED ON CONTRACT, TORT OR
OTHERWISE) ARISING OUT OF OR RELATING TO THE ACTIONS OF THE PARTIES
HERETO OR THEIR RESPECTIVE AFFILIATES PURSUANT TO THIS SETTLEMENT
AGREEMENT OR IN THE NEGOTIATION, ADMINISTRATION, PERFORMANCE OR
ENFORCEMENT HEREOF.

        Section 11.6 Complete Agreement. Except as otherwise expressly provided in this
Settlement Agreement, this Settlement Agreement constitutes the entire agreement of the Parties
with respect to the subject matter of this Settlement Agreement and supersedes all prior
negotiations, commitments, course of dealings, agreements, and undertakings, both written and
oral, between or on behalf of the Parties with respect to the subject matter of this Settlement
Agreement. Any amendment, modification or supplement to this Settlement Agreement must be
in writing, state that it is amending, modifying, or supplementing this Settlement Agreement, as
the case may be, and be signed by each of the Parties.

       Section 11.7 Assignment. This Settlement Agreement may not be assigned by any
Party without the prior written consent of the others, and any purported assignment in violation
hereof will be null and void.

       Section 11.8 Successors and Assigns. The provisions of this Settlement Agreement and
the obligations and rights hereunder shall be binding upon, inure to the benefit of and be
enforceable by and against the Parties and their respective successors and permitted assigns.
Nothing in this Settlement Agreement is intended to or will confer any rights or remedies on any
person or entity other than the Parties and their respective successors and permitted assigns.

        Section 11.9 Waivers. The delay or failure of any Party to exercise or enforce any of its
rights under this Settlement Agreement will not constitute, or be deemed to be, a waiver of those
rights, nor will any single or partial exercise of any such rights preclude any other or further
exercise thereof or the exercise of any other right. No waiver of any provision of this Settlement
Agreement will be effective unless it is in writing and signed by the Party against which it is
being enforced.

        Section 11.10 Counterparts. This Settlement Agreement may be executed in one or more
counterparts, all of which shall be considered one and the same agreement, and shall become
effective when one or more such counterparts have been signed by each of the Parties and
delivered to each of the Parties. This Settlement Agreement may be executed and transmitted to
any other party by email of a PDF, which email or PDF shall be deemed to be, and utilized in all
respects as, an original, wet-inked document.

       Section 11.11 Interpretation.

        (a)    The Parties all participated in the negotiation and drafting of this Settlement
Agreement. If an ambiguity or question of interpretation should arise, this Settlement Agreement
shall be construed as if drafted jointly by the Parties and no presumption or burden of proof shall



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arise favoring or burdening any such Party by virtue of the authorship of any of the provisions in
this Settlement Agreement.

        (b)    Unless otherwise agreed by the Parties, any Digital Asset to be valued in
connection with this Settlement Agreement shall be valued by using (i) with respect to Digital
Assets that have real time CME CF rates as of the applicable date, CME CF benchmarks (located
at                  https//www.cmegroup.com/markets/cryptocurrencies/cme-cf-cryptocurrency-
benchmarks.html), (ii) with respect to any other Digital Asset other than RLY and TOKE, the
Coinbase exchange in the first instance or the Binance exchange, if such Digital Asset is not
listed on the Coinbase exchange, (iii) with respect to RLY, using $0.016 per token, and (iv) with
respect to TOKE using $1.40 per token, in each of cases (i) and (ii) as finally determined in
accordance with the remainder of this Section 11.11(b). The Parties shall work in good faith to
determine the Effective Date Value of applicable Digital Assets pursuant to the terms of this
Settlement Agreement. If the Parties cannot agree to the Effective Date Value of any Digital
Asset pursuant to the terms of this Settlement Agreement prior to the objection deadline provided
for in the Application, the Parties (or any of them) may seek a determination of the Bankruptcy
Court regarding the same.

       (c)      To the extent of any inconsistencies between the provisions of this Settlement
Agreement and the Approval Order, on the one hand, and any prior order of the Bankruptcy
Court, on the other hand, the provisions of the Approval Order and this Settlement Agreement
shall govern in all respects. In the case of any inconsistencies between the provisions of this
Settlement Agreement and the Approval Order, the provisions of the Approval Order shall
govern in all respects.

        Section 11.12 Severability. In the event any one or more of the provisions contained in
this Settlement Agreement should be held invalid, illegal or unenforceable in any respect, the
validity, legality and enforceability of the remaining provisions contained herein shall not in any
way be affected or impaired thereby. The Parties shall endeavor in good-faith negotiations to
replace the invalid, illegal, or unenforceable provisions with valid provisions, the economic
effect of which comes as close as possible to that of the invalid, illegal, or unenforceable
provisions.

         Section 11.13 Business Days. When calculating the period of time before which, within
which, or following which any act is to be done pursuant to this Settlement Agreement, the date
that is the reference date in calculating such period shall be excluded, and if the last day of such
period is not a Business Day, the period shall end on the next succeeding Business Day, and if
the period is for five (5) days or fewer, only Business Days shall be counted.

       Section 11.14 Titles and Headings. The titles, headings and captions of this Settlement
Agreement are for convenience only and are not a part of this Settlement Agreement and do not
in any way limit or amplify the terms and provisions of this Settlement Agreement and shall have
no effect on its interpretation.

        Section 11.15 Outside Date. This Settlement Agreement shall terminate and be of no
further force or effect if the Settlement Effective Date has not occurred at the earliest to occur of
(a) May 31, 2024 (or such later date as the Parties may agree in writing), and (b) the entry of a


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Final Order of the Bankruptcy Court denying the Application and the relief requested therein, in
each case, except that the provisions of Section 11.17 hereof shall be effective and shall survive
such termination.

        Section 11.16 Access to Information. Each of the Parties acknowledges that it has had
access to the data and information it requires and has had answered to its satisfaction any
questions it has asked, with regard to the meaning and significance of any of the provisions of
this Settlement Agreement.

       Section 11.17 Fees, Costs and Expenses. All Gemini Retention Costs, if any, shall be
borne by Gemini. Except for the foregoing sentence or as otherwise provided in this Settlement
Agreement, including Sections 3.3 and 10.4 hereof each Party shall (subject to and in accordance
with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure) be responsible for the
payment of its own costs and expenses (including, without limitation, reasonable attorneys’ fees
and carrying costs) in connection with the drafting, execution, and implementation of this
Settlement Agreement and the transactions contemplated hereby. Nevertheless, in any action or
proceeding to enforce this Settlement Agreement, the prevailing Party shall be entitled to
payment of its reasonable costs and expenses (including, without limitation, reasonable
attorneys’ fees).

       Section 11.18 Notices. All notices, requests, claims, demands and other communications
under this Settlement Agreement shall be in English, shall be in writing and shall be given or
made (and shall be deemed to have been duly given or made upon receipt) by delivery in person,
by overnight courier service, by email with receipt confirmed or by registered or certified mail
(postage prepaid, return receipt requested) to the respective Parties at the following addresses (or
at such other address for a Party as shall be specified in a notice given in accordance with this
Section 11.18.

       (a)     If to Gemini, to:

                    Gemini Trust Company, LLC
                    315 Park Avenue South, 18th Floor
                    New York, New York 10010
                    Attn: Gemini Earn

               With a copy (which shall not constitute notice) to:

                     Hughes Hubbard & Reed LLP
                     One Battery Park Plaza
                     New York, New York 10004
                     Attention:      Anson B. Frelinghuysen
                                     Dustin P. Smith
                                     Erin E. Diers
                     Email:          anson.frelinghuysen@hugheshubbard.com
                                     dustin.smith@hugheshubbard.com
                                     erin.diers@hugheshubbard.com



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       (b)     If to the Debtors, to:

                     Genesis Global Capital, LLC
                     175 Greenwich Street, Floor 38
                     New York, New York 10007
                     Attn: A. Derar Islim

               With a copy (which shall not constitute notice) to:

                      Cleary Gottlieb Steen & Hamilton LLP
                      One Liberty Plaza
                      New York, New York 10006
                      Attention:      Sean A. O’Neal
                                      Luke A. Barefoot
                                      Jane VanLare
                                      Thomas S. Kessler
                       Email:         soneal@cgsh.com
                                      lbarefoot@cgsh.com
                                      jvanlare@cgsh.com
                                      tkessler@cgsh.com

       (c)     If to the AHG, to:

               Proskauer Rose LLP
               Eleven Times Square
               New York, New York 10036-9299
               Attention:          Brian S. Rosen, Esq.
                                   Jordan Sazant, Esq.
               Email:              brosen@proskauer.com
                                   jsazant@proskauer.com

       (d)     If to the UCC, to:

               White & Case LLP
               1221 Avenue of the Americas
               New York, New York 10020
               Attention:   J. Christopher Shore, Esq.
                            Philip Abelson, Esq.
               Email:               cshore@whitecase.com
                                    philip.abelson@whitecase.com

Each Party may, by notice given in accordance herewith to the other Party, designate any further
or different address to which subsequent notices, requests, claims, demands and other
communications shall be sent.

       Section 11.19 Reconciliation. For all purposes of this Settlement Agreement, whenever
the Parties have agreed herein to reconcile, deliver a statement or supporting documentation
regarding, or otherwise confirm any valuations or costs, including, but not limited to, whether


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transactions effected or costs incurred, estimated or otherwise calculated in connection with this
Settlement Agreement were effected, incurred, estimated or calculated in the manner described
and permitted in this Settlement Agreement, as promptly as practicable after any reasonable
request from any Party, the other Party shall provide such requesting Party with the requested
information and documentation (to the extent not previously provided) regarding the
reconciliation.

        Section 11.20 Specific Performance. It is understood and agreed by the Parties that
money damages would not be a sufficient remedy for any breach of this Settlement Agreement
by any Party and each non-breaching Party shall be entitled to specific performance and
injunctive or other equitable relief (including attorneys’ fees and costs) as a remedy of any such
breach, without the necessity of proving the inadequacy of money damages as a breach,
including an order of the Bankruptcy Court requiring any Party to comply promptly with any of
its obligations hereunder. Each Party agrees to waive any requirement for the securing or
posting of a bond in connection with such remedy.

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        IN WITNESS WHEREOF, the Parties have caused this Settlement Agreement to be duly
executed and delivered by their respective duly authorized officers, solely in their respective
capacity as officers or counsels of the undersigned and not in any other capacity as of the day and
year first above written.


                                              GENESIS GLOBAL CAPITAL, LLC,
                                                as Debtor-in-Possession




                                              By:      A. Derar Islim

                                              Title: Interim CEO & COO



                                              GENESIS GLOBAL HOLDCO, LLC,
                                                as Debtor-in-Possession




                                              By:      A. Derar Islim

                                              Title: Interim CEO & COO



                                              GENESIS ASIA PACIFIC PTE. LTD.,
                                                as Debtor-in-Possession




                                              By:      A. Derar Islim

                                              Title: Interim CEO & COO




                               [Signature page to Settlement Agreement]
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                    IN WITNESS WHEREOF, the Parties have caused this Settlement Agreement to be duly
            executed and delivered by their respective duly authorized officers, solely in their respective
            capacity as officers or counsels of the undersigned and not in any other capacity as of the day and
            year first above written.



                                                              GEMINI TRUST COMPANY, LLC




                                                              By:      William Costello

                                                              Title: General Counsel




                                               [Signature page to Settlement Agreement]
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 OXT                                                                    94,912.56191
 BAL                                                                     3,030.37812
 INJ                                                                     6,601.47982
 ALCX                                                                    1,602.68169
 LPT                                                                       232.63711
 UMA                                                                     2,638.51827
 SKL                                                                 1,904,756.72718
 BNT                                                                    22,566.62684
 CHZ                                                                    32,785.72092
 RLY                                                                 2,519,625.42696
 TOKE                                                                    8,289.07956
 MIR                                                                        90.35325
 LUNA                                                                   61,360.59601
 UST                                                                    13,263.57257
 RBN                                                                     9,805.34161
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 TOKE                                                              8,029.9938856154
 UMA                                                             55,168.3928344178
 UNI                                                                   244,032.10679
 XTZ                                                             621,248.075894852
 YFI                                                              113.957941046844
 ZEC                                                                    12,177.06899
 ZRX                                                            2,684,339.70512534
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                                     Exhibit C

                               Conheeney Declaration
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                          Chapter 11

    Genesis Global Holdco, LLC, et al.,1                            Case No.: 23-10063 (SHL)

                                     Debtors.                       Jointly Administered


    GEMINI TRUST COMPANY, LLC, for itself
    and as agent on behalf of the Gemini Lenders,

                       Plaintiff,

             v.                                                   Adv. Proc. No. 23-01192 (SHL)

    GENESIS GLOBAL CAPITAL, LLC,

                       Defendant.



     GENESIS GLOBAL CAPITAL, LLC,

                                      Plaintiff,

     v.
                                                                  Adv. Pro. No. 23-01203 (SHL)
     GEMINI TRUST COMPANY, LLC,
     individually and as agent on
     behalf of the Earn Users, and
     EARN USERS 1-232,824

                                      Defendants.




1
        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis
Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors 175
Greenwich Street, Floor 38, New York, NY 10007.
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                      DECLARATION OF THOMAS
                  CONHEENEY IN SUPPORT OF DEBTORS’
              MOTION FOR ENTRY OF AN ORDER APPROVING
           A SETTLEMENT AGREEMENT AMONG THE DEBTORS,
       GEMINI TRUST COMPANY, LLC, THE AD HOC GROUP OF GENESIS
    LENDERS, AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

               I, Thomas Conheeney, pursuant to 28 U.S.C. § 1746, hereby declare under penalty

of perjury that the following is true and correct to the best of my knowledge, information and belief:

       1.      I submit this declaration (the “Declaration”)2 in support of the Debtors’ Motion for

Entry of an Order Approving a Settlement Agreement Among the Debtors, Gemini Trust Company,

LLC, the Ad Hoc Group of Genesis Lenders, and the Official Committee of Unsecured Creditors

(the “Motion”), filed concurrently with this Declaration.

                                             BACKGROUND

       2.      I am a member of the Special Committee of the Board of Directors (the “Special

Committee”) of Genesis Global Holdco, LLC (“Holdco,” and together with Genesis Global

Capital, LLC (“GGC”) and Genesis Asia Pacific Pte. Ltd., the “Debtors,” and together with the

Debtors and Holdco’s non-Debtor subsidiaries, the “Company”). I have held my current title since

November 2022.

       3.      I am generally familiar with the day-to-day operations and affairs of the Debtors,

and have been directly involved in overseeing the Debtors’ operations and restructuring efforts

since the initiation of the Chapter 11 Cases. Except as otherwise indicated, all statements in this

Declaration are based upon my personal knowledge attained while working with the Debtors; my

discussions with members of the Special Committee of the Board of Directors of Holdco;

discussions with other members of the Debtors’ team and the Debtors’ other advisors; my review

of relevant documents; and my views based upon my professional experience.


2
       Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.


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        4.     To the extent that the Debtors learn that any information provided herein is

materially inaccurate, the Debtors will act promptly to notify the Court and other parties; however,

I believe all information herein to be true to the best of my knowledge, information and belief. I

am authorized to submit this Declaration on behalf of the Debtors and, if called upon to testify, I

could and would testify competently to the facts set forth herein.

A.      The Settlement Process

        5.     The Debtors and Gemini, through both their principals and advisors, were engaged

in discussions regarding various disputes relating to the Gemini GBTC Shares before the Petition

Date.    These discussions continued, and increasingly focused on the pledged collateral,

immediately in the wake of Gemini’s purported foreclosure on the Gemini GBTC Shares. Since

the Petition Date, the Debtors and their advisors have continued to seek a resolution of ongoing

disputes with Gemini.

        6.     The Debtors’ efforts in this regard included multiple rounds of negotiations

amongst the key stakeholders, occurring both before the Petition Date and at various points

throughout the pendency of the Chapter 11 Cases. On February 10, 2023 the Debtors announced

an agreement in principle that contemplated a settlement of certain disputes with Gemini, which

was subsequently abandoned. Following the abandonment of the February 2023 agreement in

principle, the Debtors and Gemini continued to engage in discussions, notably exchanging various

drafts and counterproposals in July 2023, September 2023 and October 2023.

        7.     On October 27, 2023, Gemini filed the GBTC Action against GGC in the

Bankruptcy Court through the Adversary Complaint (ECF No. 1, Adv. Pro. No. 23-01192 (SHL)),

seeking declaratory judgments that (i) Gemini properly foreclosed on the Gemini GBTC Shares

on November 16, 2022, (ii) the Additional GBTC Shares are not property of any of the Debtors’




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estates, and (iii) Gemini has a security interest in, or constructive trust over, the Additional GBTC

Shares.

          8.    On November 21, 2023, in the GBTC Action, GGC filed (i) a motion to dismiss the

claims related to the Additional GBTC Shares (ECF No. 9) and (ii) an answer to the claims related

to the Gemini GBTC Shares, denying the allegations in support of Gemini’s purported foreclosure

and asserting as a counterclaim that the First Amendment’s obligation to require GGC to pledge

the collateral until an indefinite date when all obligations to the Gemini Lenders had been

discharged constituted an avoidable constructive fraudulent conveyance (ECF No. 10). On the

same date, GGC filed the Preference Action against Gemini and certain Gemini Lenders in the

Bankruptcy Court through an Adversary Complaint (ECF No. 1, Adv. Pro. No. 23-01203 (SHL)).

          9.    On December 18, 2023, Gemini filed a motion to dismiss GGC’s counterclaims

related to the Additional GBTC Shares in the GBTC Action (ECF No. 16).

          10.   While the parties proceeded to litigate the Gemini Adversary proceedings,

including in the first instance, the cross motions to dismiss claims and counterclaims concerning

the Additional GBTC shares that were never delivered to Gemini, both discovery and settlement

discussions continued.

          11.   While all key parties with an economic stake had been involved in and kept

apprised of settlement discussions, following unsuccessful attempts to reach a resolution, the

Debtors encouraged the Ad Hoc Group to commence direct negotiations with Gemini. In response

to this suggestion, the Ad Hoc Group representatives began making formal proposals to the

Debtors and Gemini in December 2023, while consulting and keeping all parties apprised of the

progress.




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       12.     Since that time, the Debtors, the Ad Hoc Group, the Committee, and Gemini

(together, the “Parties”) engaged in further negotiations to explore the possibility of a settlement

agreement to resolve the Gemini Adversary Proceedings and the Proofs of Claim. At the direction

of the Special Committee, the Debtors’ advisors participated in certain of these discussions and

provided input to Gemini and the Ad Hoc Group. The Special Committee was kept informed of

these discussions.

       13.     On February 7, 2024, the Court issued a memorandum opinion in the GBTC Action

dismissing Gemini’s claims that it had a valid and perfected lien on, security interest in or

constructive trust over the Additional GBTC Shares (ECF No. 35). The memorandum opinion

also dismissed without prejudice all claims against GAP and GGH. An order implementing the

opinion and granting the Debtors’ motion to dismiss was entered on February 22, 2024 (ECF No.

44).

       14.     Over the past few months and weeks, including the period both before and after the

February 7, 2024 memorandum decision, the Ad Hoc Group and Gemini continued to have direct

discussions, while keeping the Debtors and Committee updated and obtaining their input as part

of the process. Although key economic terms were initially negotiated between the Ad Hoc Group

and Gemini, the Debtors and the Committee also participated in the negotiations and obtained

important concessions from Gemini and the Ad Hoc Group. These efforts resulted in the Parties

reaching an agreement in principle on February 27, 2024.

       15.     Settlement negotiations were primarily handled on behalf of the Debtors by the

Debtors’ counsel, Cleary Gottlieb Steen & Hamilton LLP, who regularly consulted with the

Special Committee as well as the Company’s senior management and kept the Special Committee




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updated about the process and progress of negotiations as well as developments in the Gemini

Adversary Proceedings.

       16.     The Special Committee approved the proposed agreement in principle on February

28, 2024. On the same day, the Parties announced the key terms of the agreement in principle at

a hearing before the Bankruptcy Court. Since that time the Parties and their advisors have worked

to document the agreement in principle, which has resulted in the Settlement Agreement.

       17.     In this case, after consultation with the Debtors’ advisors, the Special Committee

has concluded that the Settlement Agreement is fair and equitable, reasonable and in the best

interests of the Debtors’ estates and, thus, should be approved.

B.     The Settlement Agreement

       18.     The terms of the Settlement Agreement provide significant and near-term benefits

to the Debtors and their creditors, in contrast to the uncertainty and expense of continued litigation

of the Gemini Adversary Proceedings and various disputes concerning the Proofs of Claim.

       19.     The Settlement Agreement maximizes creditor recoveries and eliminates the

potential risk of an adverse judgment against the Debtors following litigation of the Gemini

Adversary Proceedings. Under the Settlement Agreement, the Gemini GBTC Shares are valued

to approximate their current price, as compared to their price at the time of Gemini’s purported

foreclosure on November 16, 2022, which Gemini previously asserted should be used to value the

Gemini GBTC Shares. If Gemini had prevailed in the GBTC Action with respect to the validity

of their foreclosure over such shares, Gemini would assert that the Gemini Lenders would have

had a substantial deficiency claim against the Debtors’ estates. Continuing to litigate the GBTC

Action also would have caused significant delay in making fulsome and prompt distributions to

creditors, including the Gemini Lenders. Moreover, if the Debtors had lost the litigation over this




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issue, recoveries of general unsecured creditors other than the Gemini Lenders would be negatively

impacted.

       20.     Further, the distribution from the Debtors to the Gemini Lenders under the

Settlement Agreement is substantially less than the Debtors’ had previously proposed to Gemini

in prior settlement offers. The Settlement Agreement also has the benefit of capping the Gemini

Proprietary Claim at a significant discount to the value originally asserted by Gemini. Moreover,

the Settlement Agreement provides that Gemini shall indemnify and hold harmless the Debtors

and their successors in interest from any and all claims and causes of action asserted by the Gemini

Lenders against the Debtors, their successors in interest, and their respective Related Parties,

arising from any actions taken by the Indemnified Parties in accordance with the Settlement

Agreement during the period from and after entry of the Approval Order, further limiting the

potential risk to the Debtors’ estates. In addition, the Settlement Agreement facilitates the Debtors’

making of in-kind distributions of alt-coins, to the extent that there are matching alt-coin-

denominated claims held by the Gemini Lenders.

       21.     The Settlement Agreement will also allow the Debtors to avoid extensive litigation

costs that would be incurred in protracted and complex litigation against Gemini. Any litigation

would entail significant professional fees, including but not limited to potential discovery,

preparation of experts, motion practice, and potentially trial and a post-trial remedies phase. Any

such litigation would significantly distract the Debtors at a time where there are other priorities to

maximize recoveries for creditors, including confirmation and consummation of the Chapter 11

Plan. If approved, the Settlement Agreement would fully and finally resolve the GBTC Action

and the Proofs of Claim, permitting the Debtors and their advisors to focus resources and attention

on other claims, confirmation and consummation of the Plan and on beginning to make




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                                     Exhibit D

                                 Lynch Declaration
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CLEARY GOTTLIEB STEEN & HAMILTON LLP
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Andrew Weaver
One Liberty Plaza
New York, New York 10006
Telephone: (212) 225-2000
Facsimile: (212) 225-3999

Counsel to the Debtors
and Debtors-in-Possession
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                              Chapter 11
Genesis Global Holdco, LLC, et al.,1
                                                              Case No. 23-10063 (SHL)
                      Debtors.


GEMINI TRUST COMPANY, LLC, for itself
and as agent on behalf of the Gemini Lenders,

                      Plaintiff,

         v.                                                   Adv. Proc. No. 23-01192 (SHL)

GENESIS GLOBAL CAPITAL, LLC,

                      Defendant.




1
        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis
Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 175
Greenwich Street, 38th Floor, New York, NY 10007.


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    GENESIS GLOBAL CAPITAL, LLC,

                                       Plaintiff,

    v.
                                                                Adv. Pro. No. 23-01203 (SHL)
    GEMINI TRUST COMPANY, LLC,
    individually and as agent on
    behalf of the Earn Users, and
    EARN USERS 1-232,824

                                       Defendants.


                       DECLARATION OF THOMAS Q. LYNCH
             IN SUPPORT OF DEBTORS’ MOTION FOR ENTRY OF AN ORDER
           APPROVING A SETTLEMENT AGREEMENT AMONG THE DEBTORS,
            GEMINI TRUST COMPANY, LLC, THE AD HOC GROUP OF GENESIS
         LENDERS, AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

           I, Thomas Q. Lynch, declare as follows pursuant to 28 U.S.C. § 1746:

           1.       I am an associate at the law firm Cleary Gottlieb Steen & Hamilton LLP, counsel

to the Debtors in the above-captioned cases.

           2.       I respectfully submit this declaration in support of the Debtors’ Motion for Entry

of an Order Approving a Settlement Agreement Among the Debtors, Gemini Trust Company,

LLC, the Ad Hoc Group of Genesis Lenders, and the Official Committee of Unsecured Creditors

(the “Motion”).2

           3.       A true and correct copy of the Gemini Earn Program Terms and Authorization

Agreement is attached hereto as Exhibit 1.




2
           Capitalized terms used, but not otherwise defined, herein shall have the meanings set forth in the Motion.


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       4.      A true and correct unexecuted copy of a Master Digital Asset Loan Agreement by

and between GGC, as borrower, Gemini, as authorized agent of a Gemini Lender, and a Gemini

Lender is attached hereto as Exhibit 2.



Dated: March 1, 2024                             Respectfully submitted,
       New York, New York


                                                  Thomas Q. Lynch
                                                  tlynch@cgsh.com
                                                  CLEARY GOTTLIEB STEEN &
                                                  HAMILTON LLP
                                                  One Liberty Plaza
                                                  New York, New York 10006
                                                  T: 212-225-2000
                                                  F: 212-225-3999

                                                  Counsel to the Debtors and
                                                  Debtors-in-Possession




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                                     Exhibit 1

               Gemini Earn Program Terms and Authorization Agreement
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                                       Exhibit 2

                          Master Digital Asset Loan Agreement
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                     MASTER DIGITAL ASSET LOAN AGREEMENT

This Master Digital Asset Loan Agreement (“Agreement”) is made on this [date of Lender
onboarding] by and between Genesis Global Capital, LLC (“Genesis” or “Borrower”), a
corporation organized and existing under the laws of Delaware with its principal place of
business at 111 Town Square Place, Suite 1203, Jersey City, NJ 07310 Gemini Trust Company,
LLC (“Gemini” or “Custodian”) a trust company organized and existing under the laws of the
State of New York with its principal place of business at 315 Park Avenue South, 18th Floor,
New York, NY 10010, acting as the authorized agent of a customer of Custodian which accepts
the terms of this Agreement and direct Custodian to lend their assets hereunder (the “Lender”
and, together with Genesis and Gemini, the “Parties”).

                                           RECITALS

WHEREAS, Gemini serves as custodian of Digital Assets for Lender, and Lender have
appointed Gemini as its agent to facilitate Loans of its Digital Assets;

WHEREAS, subject to the terms and conditions of this Agreement, Borrower may, from time to
time, seek to initiate a transaction pursuant to which Custodian will facilitate the lending of
Digital Assets on behalf of Lender to Borrower, and Borrower will pay a Loan Fee and return
such Digital Assets to Lender upon the termination of the Loan; and

WHEREAS, Borrower intends to use any Loaned Assets under this Agreement in its Digital
Asset lending business;

Now, therefore, in consideration of the foregoing and other good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, the Parties hereby agree as follows:

   I.      Definitions

“Airdrop” means a distribution of a new token or tokens resulting from the ownership of a
preexisting token. For the purposes of Section V, an “Applicable Airdrop” is an Airdrop for
which the distribution of new tokens can be definitively calculated according to its distribution
method, such as a pro rata distribution based on the amount of the relevant Digital Asset held at a
specified time. A “Non-Applicable Airdrop” is an Airdrop for which the distribution of new
tokens cannot be definitively calculated, such as a random distribution, a distribution to every
wallet of the relevant Digital Asset, or a distribution that depends on a wallet of the relevant
Digital Asset meeting a threshold requirement.

“Borrower” means Genesis Global Capital, LLC.


“Borrower Email” means lend@genesiscap.co.

“Business Day” means a day on which Genesis is open for business, following the New York
Stock Exchange calendar of holidays.

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“Call Option” means Lender has the option to demand immediate payment of a portion or the
entirety of the Loan Balance at any time, subject to this Agreement and in particular Section
II(c)(ii).

“Digital Asset” means Digital Asset that the Borrower includes in any Offered Loan Terms, and
that is available for trading on the Gemini Exchange.

“Digital Asset Address” means an identifier of alphanumeric characters that represents a digital
identity or destination for a transfer of Digital Asset.

“Fixed Term Loan” means a Loan with a pre-determined Maturity Date.

“Gemini Earn Platform” means a service and accompanying user interface offered by
Custodian whereby a Lender may authorize Custodian, as custodian of Lender’s Digital Assets,
to negotiate one or more loan agreements on the Lender’s behalf for the purpose of lending
certain of Lender’s Digital Assets to one or more borrowers at Lender’s direction.

“Hard Fork” means a permanent divergence in the blockchain (e.g., when non-upgraded nodes
cannot validate blocks created by upgraded nodes that follow newer consensus rules, or an
airdrop or any other event which results in the creation of a new token).

“Loan” means a loan of Digital Assets made pursuant to and in accordance with this Agreement.

“Loan Balance” means the sum of all outstanding amounts of Loaned Assets, including New
Tokens, Loan Fees and Late Fees, and for a particular Loan, as defined in Section III.

“Loaned Assets” means any Digital Asset amount transferred in a Loan hereunder until such
Digital Asset (or identical Digital Asset) is transferred back to Lender hereunder, except that, if
any new or different Digital Asset is created or split by a Hard Fork or other alteration in the
underlying blockchain and meets the requirements set forth in Section V of this Agreement, such
new or different Digital Asset shall be deemed to become Loaned Assets in addition to the
former Digital Asset for which such exchange is made. For purposes of return of Loaned Assets
by Borrower or purchase or sale of Digital Currencies pursuant to Section X, such term shall
include Digital Asset of the same quantity and type as the Digital Asset, as adjusted pursuant to
the preceding sentence.

“Maturity Date” means the pre-determined future date upon which a Loan becomes due in full,
whether by Term or Call Option.

“Open Term Loan” means a Loan without a Maturity Date where Borrower has a Prepayment
Option and Lender has a Call Option.

“Term” means the period from the date Loaned Assets are delivered to Borrower through the
date such Loan’s Loaned Assets are repaid in full.

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   II.     General Loan Terms.

   (a) Offers of Loans to Lender

Custodian will provide to Lender on the Gemini Earn Platform the current terms on which
Borrower has offered to enter into Loans (the “Offered Loan Terms”), which shall be delivered
by Borrower to Custodian. Offered Loan Terms may include the types of Digital Assets which
the Borrower will borrow, the rates and Loan types of such Digital Assets it will borrow, and
maximum amounts it will borrow from all lenders on the Gemini Earn Platform. Custodian will
promptly update the Gemini Earn Platform to reflect any change in the Offered Loan Terms
communicated by Borrower to Custodian. For the avoidance of doubt, no erroneous or contrary
information provided by Custodian to Lender, whether on the Gemini Earn Platform or
otherwise, shall obligate Borrower to enter into Loans on terms other than those specified in the
Offered Loan Terms then in effect.

   (b) Loan Procedure

During the Term of this Agreement, on any Business Day Lender may direct Custodian, via the
Gemini Earn Platform to notify Borrower on its behalf for each Digital Asset and Loan type
listed in the applicable Offered Loan Terms whether it will lend additional Digital Assets at the
current Loan Fee or whether it requests a return of Digital Assets (if applicable). For any Digital
Assets Lender will lend, it shall deliver such Digital Assets according to the time and manner
specified, and to a Digital Asset Address provided by, Custodian. For any Digital Assets Lender
requests to be returned, Borrower shall return such Digital Assets within three Business Days to
a Digital Asset Address provided by Custodian. Upon receipt of the Loaned Assets, Custodian
shall include a record of the Loan, including all the terms of the Loan, in a log of all Lender’s
Loans accessible to Lender and Borrower.

   (c) Loan Repayment Procedure

Loans will be Open Term Loans unless otherwise specified. For Open Term Loans, the Loaned
Assets shall be repaid to a Digital Asset Address provided by Custodian within three Business
Days after the request by Lender pursuant to Section II(b) above. For Fixed Term Loans, the
Loaned Assets shall be repaid to a Digital Asset Address provided by Custodian at the time
indicated in the Offered Loan Terms, unless Borrower and Lender agree to extend the Fixed
Term Loan for another Fixed Term Loan under the then-current Offered Loan Terms, or an Open
Term Loan. If Custodian has not provided to Borrower a Digital Asset Address for receiving the
repayment of a Loan by 5:00 p.m. New York time on the day prior to the earlier of the Maturity
Date or the Recall Delivery Day (defined below), then such Loan will become an Open Term
Loan on said Maturity Date or Recall Delivery Day, whichever applicable, and no additional
Loan Fees shall be accrued after the Maturity Date or the Recall Delivery Day.
Custodian shall notify Borrower to the extent Custodian determines in its sole discretion that it
shall no longer support custody, trading or ancillary services for a particular Digital Asset. The
date of such notice will be deemed the Recall Request Day for any Loan Balance comprised of
such Digital Assets.


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   (d) Termination of Loan

A Loan will terminate upon the earlier of:

          (i)       the Maturity Date;

          (ii)       for an Open Term Loan, the repayment of the Loan Balance by Borrower prior to
                    the Maturity Date;

          (iii)     the occurrence of an Event of Default as defined in Section VIII; however,
                    Lender, or Custodian on behalf of Lender, shall have the right in its sole
                    discretion to suspend the termination of a Loan under this subsection (iii) and
                    reinstitute the Loan. In the event of reinstitution of the Loan pursuant to the
                    preceding sentence, Lender does not waive its right to terminate the Loan
                    hereunder; or

          (iv)      in the event any or all of the Loaned Assets becomes in Borrower’s sole discretion
                    a risk of being: (1) considered a security, swap, derivative, or other similarly-
                    regulated financial instrument or asset by any regulatory authority, whether
                    governmental, industrial, or otherwise, or by any court of law or dispute
                    resolution organization, arbitrator, or mediator; or (2) subject to future regulation
                    materially impacting this Agreement, the Loan, or Borrower’s business.

Nothing in the forgoing shall cause, limit, or otherwise affect the Term and termination of this
Agreement except as specified in Section XXIV.

In the event of a termination of a Loan, any Loaned Assets
shall be redelivered immediately to a Digital Asset Address provided by Custodian and any fees
or owed shall be payable by Borrower immediately to a Digital Asset Address provided by
Custodian. In the event of a termination of a Loan pursuant to Section II(d)(iv), Borrower shall
pay an additional Loan Fee until (i) the end of the then-current monthly loan period or (ii) the
Maturity Date of such Loan (whichever is shorter) at the then-current interest rate on the amount
of the Loan terminated.

   (e) Redelivery in an Illiquid Market

If Gemini and each of the three other highest-volume Digital Asset exchanges that report prices
for the applicable Digital Asset (as measured by the 30-day average daily trading volume of the
applicable Digital Asset on the Loan Date) (these such exchanges, the “Liquidity Exchanges”)
cease or suspend trading as of in the Loaned Assets on the Maturity Date or the Recall Delivery
Day, whichever applicable, Borrower and Custodian will engage in good faith negotiations to
reach agreement on a substitute form of repayment for the affected loans or to otherwise
temporarily suspend the requirement for Borrower to return the Loaned Assets, and such
negotiation shall be binding on Lender.

   III.          Loan Fees and Transaction Fees.

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   (a) Loan Fee

Unless otherwise agreed, Borrower agrees to pay Lender a financing fee on each Loan (the
“Loan Fee”). When a Loan is executed, the Borrower will be responsible to pay the Loan Fee as
set forth in the Offered Loan Terms. Except as Borrower and Lender may otherwise agree, Loan
Fees shall accrue from and include the date on which the Loaned Assets are transferred to
Borrower to the date on which such Loaned Assets are repaid in their entirety to Lender.

Unless otherwise specified in the Offered Loan Terms, (i) Loan Fees shall be based on a monthly
interest rate, which may be updated on the first day of each calendar month upon at least five (5)
days advance notice by Borrower to Custodian; (ii) no minimum amount of Loaned Assets shall
be required for a Loan to accrue a Loan Fee; (iii) Loan Fees shall be calculated using the “daily
balance method”, meaning the applicable monthly interest rate shall be applied to the principal
and interest that has accrued on the Loaned Assets each day; (iv) Loan Fees shall at all times be
greater than 0% APY; and (v) Loan Fees shall be paid monthly by Borrower to a Digital Asset
Address provided by Custodian as agent for Lender. Upon receipt, Custodian shall be solely
responsible for paying Loan Fees to Lenders, and Lender will have no recourse to Borrower for
such Loan Fees.

Borrower shall calculate any Loan Fees (which may be aggregated across all outstanding Loans
from Lender) owed on a daily basis and provide Custodian with the calculation, and information
relied upon to support the calculation, upon request. The Loan Fee will be calculated off all
outstanding portions of the Loaned Assets. If Custodian believes any Loan Fee was calculated in
error, Custodian shall present its own Loan Fee calculation and the Borrower and Custodian shall
cooperate in good faith to decide a mutually agreeable calculation. The calculation of any Loan
Fees accepted by Custodian shall be final and binding upon Lender.

   (b) Late Fee

For each Calendar Day in excess of the Maturity Date or the Recall Delivery Day (whichever is
applicable) in which Borrower has not returned the entirety of the Loaned Assets or failed to
timely pay any outstanding Loan Fee in accordance with Section III(c), Borrower shall incur an
additional fee (the “Late Fee”) of a 1% (annualized, calculated daily) on all outstanding portions
of the Loaned Assets.

   (c) Payment of Loan Fees and Late Fees

Unless otherwise agreed, any accrued but unpaid Loan Fee or Late Fees payable hereunder shall
be paid by Borrower upon the earlier of (i) promptly following the end of the calendar month in
which the Loan was outstanding, but in any even no later than three (3) Business Days after the
end of such month or (ii) the termination of all Loans hereunder (the “Payment Due Date”). The
Loan Fee and Late Fees shall be payable, unless otherwise agreed by the Borrower and Lender in
writing, in the same Loaned Assets that were borrowed, on the same blockchain and of the same
type that was loaned by the Lender during the Loan.



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   IV.     Hard Fork

   (a) No Immediate Termination of Loans Due to Hard Fork

In the event of a Hard Fork in the blockchain for any Loaned Assets or an Airdrop, any
outstanding Loans will not be automatically terminated. Borrower and Custodian, in behalf of
Lender, may agree, regardless of Loan type, either (i) to terminate a Loan without any penalties
on an agreed upon date or (ii) for Custodian to manage the Hard Fork on the behalf of Borrower.
Nothing herein shall relieve, waive, or otherwise satisfy Borrower’s obligations hereunder,
including without limitation, the return of the Loaned Assets at the termination of the Loan and
payment of accrued Loan Fees, which includes the per diem amounts for days on which
Borrower transfers Digital Asset to Custodian and Custodian transfers said Digital Asset back to
Borrower pursuant to this section.

   (b) Lender’s Right to New Tokens

Lender will receive the benefit and ownership of any incremental tokens generated as a result of
a Hard Fork in the Digital Asset protocol or an Applicable Airdrop (such tokens that meet the
following conditions, the “New Tokens”) if the following two conditions are met:
    ● Market Capitalization: the average market capitalization of the New Token (defined as
       the total value of all New Tokens) on the 30th day following the occurrence the Hard
       Fork or Applicable Airdrop (calculated as a 30-day average on such date) is at least 5%
       of the average market capitalization of the Loaned Assets (defined as the total value of
       the Loaned Assets) (calculated as a 30-day average on such date).
    ● 24-Hour Trading Volume: the average 24-hour trading volume of the New Token on the
       30th day following the occurrence the Hard Fork or Applicable Airdrop (calculated as a
       30-day average on such date) is at least 1% of the average 24-hour trading volume of the
       Loaned Assets (calculated as a 30-day average on such date).

For the above calculations, the source for the relevant data on the Digital Asset market
capitalization and 24-Hour trading volume will be blockchain.info (or, if blockchain.info does
not provide the required information, bitinfocharts.com, and if neither provides the required
information, the parties shall discuss in good faith to mutually agree upon another data source).

If the Hard Fork or Applicable Airdrop meets the criteria above, Borrower will have up to 60
days from the Hard Fork or Applicable Airdrop to transfer the New Tokens to Lender. If
sending the New Tokens to Lender is burdensome in Borrower’s reasonable discretion, Borrower
can reimburse Lender for the value of the New Tokens by either (i) a one-time payment in the
same Loaned Assets transferred as a part of the Loan reflecting the amount of the New Tokens
owed using the spot rate reasonably selected by Borrower at the time of repayment, or (ii)
returning the borrowed Digital Asset so that Lender can manage the split of the underlying
digital tokens as described in Section IV(b) above. Alternatively, subject to Lender’s written
agreement, the parties may agree to other methods of making Lender whole for Borrower’s
failure to transfer New Tokens to Lender. For the avoidance of doubt, if Borrower returns a
Loan to Lender prior to the 30th day following a Hard Fork, Borrower’s obligations under this

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Section V shall continue for any New Tokens that meet the criteria in this subsection (b) for such
Loan on the 30th day following the Hard Fork. Lender’s rights to New Tokens as set forth in this
Section shall survive the termination of the relevant Loan, return of the Loaned Assets, and
termination of this Agreement.

   V.      Representations and Warranties.

The Parties hereby make the following representations and warranties, which shall continue
during the term of this Agreement and any Loan hereunder:

   (a) Each Party represents and warrants that (i) it has the power to execute and deliver this
       Agreement, to enter into the Loans contemplated hereby and to perform its obligations
       hereunder, (ii) it has taken all necessary action to authorize such execution, delivery and
       performance, and (iii) this Agreement constitutes a legal, valid, and binding obligation
       enforceable against it in accordance with its terms.

   (b) Each Party hereto represents and warrants that it has not relied on the other for any tax or
       accounting advice concerning this Agreement and that it has made its own determination
       as to the tax and accounting treatment of any Loan, any Digital Assets or funds received
       or provided hereunder.

   (c) Each Party hereto represents and warrants that it is acting for its own account unless it
       expressly specifies otherwise in writing and complies with Section VI.

   (d) Each Party hereto represents and warrants that it is a sophisticated party and fully familiar
       with the inherent risks involved in the transaction contemplated in this Agreement,
       including, without limitation, risk of new financial regulatory requirements, potential loss
       of Loaned Assets and risks due to volatility of the price of the Loaned Assets, and
       voluntarily takes full responsibility for any risk to that effect.

   (e) Each Party represents and warrants that it is not insolvent and is not subject to any
       bankruptcy or insolvency proceedings under any applicable laws.

   (f) Each Party represents and warrants there are no proceedings pending or, to its
       knowledge, threatened, which could reasonably be anticipated to have any adverse effect
       on the transactions contemplated by this Agreement or the accuracy of the representations
       and warranties hereunder or thereunder.

   (g) Each Party represents and warrants that to its knowledge the transactions contemplated in
       this Agreement are not prohibited by law or other authority in the jurisdiction of its place
       of incorporation, place of principal office, or residence and that it has necessary licenses
       and registrations to operate in the manner contemplated in this Agreement.

   (h) Each Party represents and warrants that it has all necessary governmental and other
       consents, approvals and licenses to perform its obligations hereunder.


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   (i) Each Party represents and warrants that it has made its own independent decisions to
       enter into any Loan and as to whether the Loan is appropriate or proper for it based upon
       its own judgement and upon advice from such advisers (other than another Party) as it
       has deemed necessary. It is not relying on any communication (written or oral) of the
       other Parties as investment advice or as a recommendation to enter into any Loan, it
       being understood that information and explanations related to the terms and conditions of
       a Loan will not be considered investment advice or a recommendation to enter into that
       Loan.

   (j) Each Party represents and warrants that it is capable of assessing the merits of and
       understanding (on its own behalf or through independent professional advice), and
       understands and accepts, the terms, conditions and risks of any Loan. It is also capable of
       assuming, and assumes, the risks of that Loan. The other Parties are not acting as a
       fiduciary for or an adviser to it in respect of any Loan.

   (k) Lender represents and warrants that it has, or will have at the time of the transfer of any
       Loaned Assets, the right to transfer such Loaned Assets subject to the terms and
       conditions hereof, and free and clear of all liens and encumbrances other than those
       arising under this Agreement.

   (l) Lender represents and warrants that the Loaned Assets have not been or will not be
       obtained, directly or indirectly, from or using the assets of any: (i) “employee benefit
       plan” as defined in Section 3(3) of the U.S. Employee Retirement Income Security Act of
       1974 which is subject to Part 4 of Subtitle B of Title I of such Act; (ii) any “plan” as
       defined in Section 4975(e)(1) of the U.S. Internal Revenue Code of 1986; or (iii) any
       entity the assets of which are deemed to be assets of any such “employee benefit plan” or
       “plan” by reason of the U.S. Department of Labor’s plan asset regulation, Title 29 of the
       Code of Federal Regulations, Section 2510.3-101.



   (m) Lender represents and warrants that it is in compliance with applicable laws and
       regulations, except where Lender’s failure to so comply would not have a material effect
       on Borrower.

   (n) Borrower represents and warrants that it has, or will have at the time of return of any
       Loaned Assets, the right to transfer such Loaned Assets subject to the terms and
       conditions hereof.

   (o) Borrower has furnished to Lender, or will furnish to Lender within seven (7) Business
       Days after demand by Lender, its most recent statement required to be furnished to
       customers pursuant to Rule 17a-5(c) under the Securities Exchange Act of 1934.

   (p) Custodian represents and warrants that it has been duly authorized by Lender to (i) enter
       into this Agreement and the Loans contemplated by this Agreement; and (ii) perform the
       obligations set forth herein on behalf of Lender.

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   I.       Appointment of Custodian as Agent

   a. Borrower and Custodian agree to execute and comply fully with the provisions of
      Exhibit A (the terms and conditions of which Exhibit are incorporated herein and made a
      part hereof).

   b. Lender represents, which representation shall continue during the term of this Agreement
         and any Loan hereunder, that it:
         (i) has received and reviewed a copy of this Agreement;
         (ii) has duly appointed Custodian as its agent to act on Lender’s behalf for all purposes
              under this Agreement;
         (iii)has duly authorized Custodian to enter into the Loans contemplated by the Agreement
              on its behalf and to perform the obligations of Lender under such Loans;
         (iv) is a Principal referred to in Exhibit A and will be liable as principal with respect to
              Loans entered into by Custodian on its behalf and its related obligations hereunder;
              and
         (v) has taken all necessary action to authorize such appointment of Custodian and such
              performance by it.

   c. Custodian represents and warrants that it is in compliance with applicable laws and
      regulations, except where Custodian’s failure to so comply would not have a material
      effect on the other Parties.

   d. Lender agrees and acknowledges that Borrower’s delivery to Custodian of any Loaned
      Assets in accordance with the terms of this Agreement and Exhibit A will fully discharge
      Borrower’s obligations with respect to such Loaned Assets and that, thereafter, Custodian
      will be the only Party to which Lender may have recourse for such Loaned Assets.
      Subject to the terms of the Gemini Earn Platform and any other applicable agreements
      between Lender and Custodian, Custodian agrees to promptly deliver to Lender all
      Loaned Assets so received from Borrower.

   VI.      Default

It is further understood that any of the following events shall constitute an event of default
hereunder against the defaulting Party, and shall be herein referred to as an “Event of Default” or
“Events of Default”:

   (a) the failure of the Borrower to return any and all Loaned Assets upon termination of any
       Loan however, Borrower shall have two Business Days to cure such default;

   (b) the failure of Borrower to pay any and all Loan Fees, Late Fees, or to remit any New
       Tokens in accordance with Section V, however, Borrower shall have three Business Days
       to cure such default;

   (c) a material default by either Party in the performance of any of the other agreements,
       conditions, covenants, provisions or stipulations contained in this Agreement, including
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      without limitation a failure by either Party to abide by its obligations in Section IV or V
      of this Agreement and such Party’s failure to cure said material default within ten
      Business Days;

   (d) any bankruptcy, insolvency, reorganization or liquidation proceedings or other
       proceedings for the relief of debtors or dissolution proceedings that are instituted by or
       against a Party and are not be dismissed within thirty (30) days of the initiation of said
       proceedings; or

   (e) any representation or warranty made by either Party in this Agreement that proves to be
       incorrect or untrue in any material respect as of the date of making or deemed making
       thereof however, a Party shall have ten Business Days to cure such default.


   (f) any representation or warranty of Custodian in Exhibit A proves to be incorrect or untrue
       in any material respect as of the date of making thereof or during the term of any Loan, or
       Custodian shall fail to perform in any material respect Custodian’s covenants in
       Exhibit A, which shall be deemed an Event of Default by Lender, provided, however,
       Custodian shall have ten Business Days to cure such default.

   VII.   Remedies

   (a) Upon the occurrence and during the continuation of any Event of Default on a Loan by
       Borrower, the Custodian acting on behalf of the Lender may, at its option: (1) declare the
       entire Loan Balance outstanding for the Loan hereunder immediately due and payable;
       (2) transfer any Collateral for a Loan from the collateral account to Custodian’s operating
       account to hold on behalf of itself and the Lender, to the extent necessary for the payment
       of any nonpayment, liability, obligation, or indebtedness created by the Loan; and/or (3)
       exercise all other rights and remedies available to the Lender hereunder, under applicable
       law, or in equity. If any Event of Default by Borrower under Sections VII(a) or (b),
       persist for thirty days or more, or immediately upon an Event of Default by Borrower
       under Sections VII(c) or (d), the Custodian acting on behalf of the Lender may, at its
       option, (4) terminate this Agreement and any Loan hereunder upon notice to Borrower.

   (b) Upon the occurrence and during the continuation of any Event of Default on a Loan by
       Lender or Custodian, the Borrower may, at its option exercise all other rights and
       remedies available to the Borrower hereunder, under applicable law, or in equity. If any
       Event of Default by Lender under Section VII (e) persist for thirty-days or more, or
       immediately upon an Event of Default by Lender under Sections VII (c) or (d), the
       Borrower may, at its option, terminate this Agreement and any Loan hereunder upon
       notice to Lender.

   (c) In addition to its rights hereunder, the non-defaulting Party shall have any rights
       otherwise available to it under any other agreement or applicable law; however, the non-
       defaulting Party shall have an obligation to mitigate its damages in a commercially
       reasonable manner.

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   VIII. Rights and Remedies Cumulative.

No delay or omission by a Party in exercising any right or remedy hereunder shall operate as a
waiver of the future exercise of that right or remedy or of any other rights or remedies hereunder.
All rights of each Party stated herein are cumulative and in addition to all other rights provided
by law, in equity.

   IX.     Survival of Rights and Remedies

All remedies hereunder and all obligations with respect to any Loan shall survive the termination
of the relevant Loan, return of Loaned Assets, and termination of this Agreement.

   X.      Governing Law; Dispute Resolution.

This Agreement is governed by, and shall be construed and enforced under, the laws of the State
of New York without regard to any choice or conflict of laws rules. If a dispute arises out of or
relates to this Agreement, or the breach thereof, and if said dispute cannot be settled through
negotiation it shall be finally resolved by arbitration administered in the County of New York,
State of New York by the American Arbitration Association under its Commercial Arbitration
Rules, or such other applicable arbitration body as required by law or regulation, and judgment
upon the award rendered by the arbitrators may be entered in any court having jurisdiction. The
parties agree to waive their rights to a jury trial. If any proceeding is brought for the
enforcement of this Agreement, then the successful or prevailing party shall be entitled to
recover attorneys’ fees and other costs incurred in such proceeding in addition to any other relief
to which it may be entitled.

   XI.     Confidentiality.

   (a) Each Party to this Agreement shall hold in confidence all information obtained from the
       other Party in connection with this Agreement and the transactions contemplated hereby,
       including without limitation any discussions preceding the execution of this Agreement
       (collectively, “Confidential Information”). Confidential Information shall not include
       information that the receiving Party demonstrates with competent evidence was, or
       becomes, (i) available to the public through no violation of this Section XII, (ii) in the
       possession of the receiving Party on a non-confidential basis prior to disclosure, (iii)
       available to the receiving Party on a non-confidential basis from a source other than the
       other Party or its affiliates, subsidiaries, officers, directors, employees, contractors,
       attorneys, accountants, bankers or consultants (the “Representatives”), or (iv)
       independently developed by the receiving Party without reference to or use of such
       Confidential Information.

   (b) Each Party shall (i) keep such Confidential Information confidential and shall not,
       without the prior written consent of the other Party, disclose or allow the disclosure of
       such Confidential Information to any third party, except as otherwise herein provided,
       and (ii) restrict internal access to and reproduction of the Confidential Information to a

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       Party’s Representatives only on a need to know basis; provided, however, that such
       Representatives shall be under an obligation of confidentiality at least as strict as set forth
       in this Section XII.

   (c) Each Party also agrees not to use Confidential Information for any purpose other than in
       connection with transactions contemplated by this Agreement.

   (d) The provisions of this Section XII will not restrict a Party from disclosing the other
       Party’s Confidential Information to the extent required by any law, regulation, or
       direction by a court of competent jurisdiction or government agency or regulatory
       authority with jurisdiction over said Party; provided that the Party required to make such
       a disclosure uses reasonable efforts to give the other Party reasonable advance notice of
       such required disclosure in order to enable the other Party to prevent or limit such
       disclosure. Notwithstanding the foregoing, Lender may disclose the other Party’s
       Confidential Information without notice pursuant to a written request by a governmental
       agency or regulatory authority.

   (e) The obligations with respect to Confidential Information shall survive for a period of
       three (3) years from the date of this Agreement. Notwithstanding anything in this
       agreement to the contrary, a Party may retain copies of Confidential Information (the
       “Retained Confidential Information”) to the extent necessary (i) to comply with its
       recordkeeping obligations, (ii) in the routine backup of data storage systems, and (iii) in
       order to determine the scope of, and compliance with, its obligations under this Section
       XII; provided, however, that such Party agrees that any Retained Confidential
       Information shall be accessible only by legal or compliance personnel of such Party and
       the confidentiality obligations of this Section XII shall survive with respect to the
       Retained Confidential Information for so long as such information is retained.

   XII.    Notices.

Any notices or right exercisable by Lender(s) hereunder may also be exercised by Custodian in
its capacity as authorized agent for Lender(s). Unless otherwise provided in this Agreement, all
notices or demands relating to this Agreement shall be in writing and shall be personally
delivered or sent by Express or certified mail (postage prepaid, return receipt requested),
overnight courier, electronic mail (at such email addresses as a Party may designate in
accordance herewith), or to the respective address set forth below:

Custodian, as authorized agent for Lender:
Gemini Trust Company, LLC
315 Park Avenue South, 18th Floor
New York, NY 10010
Attn: Gemini Earn
Email: legal@gemini.com

Borrower:
Genesis Global Capital, LLC

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111 Town Square Place, Suite 1203
Jersey City, NJ 07310
Attn: General Counsel
Email: legal@genesiscap.co

Either Party may change its address by giving the other Party written notice of its new address as
herein provided.

   XIII. Modifications.

All modifications or amendments to this Agreement shall be effective only when reduced to
writing and signed by both parties hereto.

   XIV. Single Agreement

The Parties acknowledge that, and have entered into this Agreement in reliance on the fact that,
all Loans hereunder constitute a single business and contractual relationship and have been
entered into in consideration of each other. Accordingly, the Parties hereby agree that payments,
deliveries, and other transfers made by either of them in respect of any Loan shall be deemed to
have been made in consideration of payments, deliveries, and other transfers in respect of any
other Loan hereunder, and the obligations to make any such payments, deliveries and other
transfers may be applied against each other and netted. In addition, the Parties acknowledge that,
and have entered into this Agreement in reliance on the fact that, all Loans hereunder have been
entered into in consideration of each other.

   XV.     Entire Agreement.

This Agreement, each exhibit referenced herein, and all applicable Offered Loan Terms
constitute the entire Agreement among the parties with respect to the subject matter hereof and
supersedes any prior negotiations, understandings and agreements. Nothing in this Section XVII
shall be construed to conflict with or negate Section XV above.

   XVI. Successors and Assigns.

This Agreement shall bind and inure to the benefit of the respective successors and assigns of
each of the parties; provided, that no Party may assign this Agreement or any rights or duties
hereunder without the prior written consent of each of Custodian and Borrower. Notwithstanding
the foregoing, in the event of a change of control of Custodian or Borrower, prior written consent
shall not be required so long as such Party provides the other Party with written notice prior to
the consummation of such change of control. For purposes of the foregoing, a “change of
control” shall mean a transaction or series of related transactions in which a person or entity, or a
group of affiliated (or otherwise related) persons or entities acquires from stockholders of the
Party shares representing more than fifty percent (50%) of the outstanding voting stock of such
Party. Neither this Agreement nor any provision hereof, nor any Exhibit hereto or document
executed or delivered herewith, shall create any rights in favor of or impose any obligation upon
any person or entity other than the parties hereto and their respective successors and permitted
assigns. For the avoidance of doubt, any and all claims and liabilities against Genesis arising in

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any way out of this Agreement are only the obligation of Genesis, and not any of its parents or
affiliates, including but not limited to Digital Currency Group, Inc. and Genesis Global Trading,
Inc. The Parties agree that none of Genesis’ parents or affiliates shall have any liability under
this Agreement nor do such related entities guarantee any of Genesis’ obligations under this
Agreement.

   XVII. Severability of Provisions.

Each provision of this Agreement shall be severable from every other provision of this
Agreement for the purpose of determining the legal enforceability of any specific provision.

   XVIII. Counterpart Execution.

This Agreement may be executed in any number of counterparts and by different parties on
separate counterparts, each of which, when executed and delivered, shall be deemed to be an
original, and all of which, when taken together, shall constitute but one and the same Agreement.
Delivery of an executed counterpart of this Agreement by email or other electronic method of
transmission shall be equally as effective as delivery of an original executed counterpart of this
Agreement. Any Party delivering an executed counterpart of this Agreement by email or other
electronic method of transmission also shall deliver an original executed counterpart of this
Agreement but the failure to deliver an original executed counterpart shall not affect the validity,
enforceability, and binding effect of this Agreement.

   XIX. Relationship of Parties.

Nothing contained in this Agreement shall be deemed or construed by the Parties, or by any third
party, to create the relationship of partnership or joint venture between the parties hereto, it being
understood and agreed that no provision contained herein shall be deemed to create any
relationship between the parties hereto other than the relationships of Borrower, Custodian and
Lender.

   XX.     No Waiver.

The failure of or delay by either Party to enforce an obligation or exercise a right or remedy
under any provision of this Agreement or to exercise any election in this Agreement shall not be
construed as a waiver of such provision, and the waiver of a particular obligation in one
circumstance will not prevent such Party from subsequently requiring compliance with the
obligation or exercising the right or remedy in the future. No waiver or modification by either
Party of any provision of this Agreement shall be deemed to have been made unless expressed in
writing and signed by both parties.

   XXI. Indemnification.

   (a) By Custodian. Custodian hereby agrees to indemnify, defend and hold harmless
       Borrower, its affiliates and any of their respective officers, directors, employees, agents,
       consultants or other representatives from and against all liabilities, losses, costs, damages,
       expenses or causes of action, of whatever character, including but not limited to
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       reasonable attorneys’ fees (collectively, “Liabilities”), to the extent arising out of or
       relating to any pending or threatened claim, action, proceeding or suit (each, a “Claim”)
       by any third party based on, arising out of or relating to Custodian breach of any of its
       representations, warranties or obligations set forth in this Agreement; provided, however,
       Custodian’s obligation to provide such indemnity will not apply to the extent that such
       Liabilities are incurred as a result of the breach by Borrower in any material respect of its
       obligations under this Agreement.
   (b) By Borrower. Borrower hereby agrees to indemnify, defend and hold harmless Lender,
       Custodian, and their respective affiliates and any of their respective officers, directors,
       employees, agents, consultants or other representatives from and against all Liabilities, to
       the extent arising out of or relating to any Claim by any third party based on, arising out
       of or relating to Borrower’s breach of any of its representations, warranties or obligations
       set forth in this Agreement; provided, however, Borrower’s obligation to provide such
       indemnity will not apply to the extent that such Liabilities are incurred as a result of the
       breach by Lender or Custodian in any material respect of their obligations under this
       Agreement.
   (c) By Lender. Lender hereby agrees to indemnify, defend and hold harmless Borrower,
       Custodian, and their respective affiliates and any of their respective officers, directors,
       employees, agents, consultants or other representatives from and against all Liabilities, to
       the extent arising out of or relating to any Claim by any third party based on, arising out
       of or relating to Lender’s breach of any of its representations, warranties or obligations
       set forth in this Agreement; provided, however, Lender’s obligation to provide such
       indemnity will not apply to the extent that such Liabilities are incurred as a result of the
       breach by Borrower or Custodian in any material respect of their obligations under this
       Agreement.

   XXII. Term and Termination.

This Agreement may be terminated by any Party by providing thirty days’ written notice to the
other Parties.

In the event of a termination of this Agreement, any Loaned Assets shall be redelivered
immediately and any fees owed shall be payable immediately.

   XXIII. Miscellaneous.

Whenever used herein, the singular number shall include the plural, the plural the singular, and
the use of the masculine, feminine, or neuter gender shall include all genders where necessary
and appropriate. This Agreement is solely for the benefit of the parties hereto and their
respective successors and assigns, and no other Person shall have any right, benefit, priority or
interest under, or because of the existence of, this Agreement. The section headings are for
convenience only and shall not affect the interpretation or construction of this Agreement. The
Parties acknowledge that the Agreement and any Lending Request are the result of negotiation
between the Parties which are represented by sophisticated counsel and therefore none of the
Agreement’s provisions will be construed against the drafter.



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   I.      Intent.

Each Party agrees that the Loans are intended to be commercial loans of Digital Assets and not
securities under the U.S. federal or state securities laws.




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IN WITNESS WHEREOF, the parties have caused this Agreement to be executed and delivered
as of the date first above written.

LENDER:



By: ____________________
Name:
Title:

CUSTODIAN:

GEMINI TRUST COMPANY, LLC


By: ____________________
Name:
Title:

BORROWER:

GENESIS GLOBAL CAPITAL, LLC


 By: ____________________
 Name: Kristopher Johnson
 Title: Senior Risk Officer




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                                          EXHIBIT A

                        Gemini Trust Company, LLC Acting as Agent

This Exhibit sets forth the terms and conditions governing all Loans in which Gemini Trust
Company, LLC is acting as agent (“Agent”) for a third party (“Principal”). Unless otherwise
defined, capitalized terms used but not defined in this Exhibit shall have the meanings assigned
in the Master Digital Asset Loan Agreement of which it forms a part (such agreement, together
with all exhibits thereto, the “Agreement”).

1. Additional Representations, Warranties and Covenants. In addition to the representations
   and warranties set forth in the Agreement, Agent hereby makes the following representations,
   warranties and covenants, which shall continue during the term of any Loan:

   (a) Principal (i) acknowledged electronically or in writing receiving a counterpart of the
       Agreement, (ii) has duly authorized Agent to deliver Digital Assets comprising any
       Loaned Assets for the Loans contemplated by the Agreement and to perform the
       obligations of Lender under such Loans, and (iii) has taken all necessary action to
       authorize such execution and delivery by Agent and such performance by it;

   (b) Principal has specifically directed Agent, through the Gemini Earn Platform, to deliver
       Digital Assets comprising any Loaned Assets for each Loan and to request the return of
       any Loaned Assets, and has not authorized Agent to exercise discretion in the
       determining the amount, timing or selection of any Loan on Principal’s behalf;

   (c) Agent will provide in a timely manner with a written confirmation or other notification of
       each Loan and, upon a Principal’s request, promptly provide Principal with any records
       of the Loans made on its behalf;

   (d) Agent will provide Principal with a statement, at least quarterly, containing a description
       of all lending activity on Principal’s behalf during the preceding period, including all
       Loans made on behalf of Principal, all Digital Assets returned and Loan Fees paid to
       Principal (net fees and expenses charged to Principal), and the amount of Loans
       outstanding at the beginning and end of the period; and

   (e) Agent will assist Borrower in obtaining from Principal such information regarding
       Principal as Borrower may reasonably request; provided, however, that Agent shall not
       have any obligation to provide Borrower with confidential information regarding
       Principal.

2. Identification of Principal. Agent agrees to provide Borrower, prior to any Loan under the
   Agreement, with the ability to access the name of the specific Principal for which it will act
   as Agent under the Agreement. If Agent fails to provide access to the identify of such
   Principal prior to any Loan under the Agreement,, or Borrower shall determine in its
   reasonable discretion that any Principal identified by Agent is not acceptable to it, Borrower
   may reject and rescind any Loan with such Principal, return to Agent any Loaned Assets
   previously transferred to Borrower and refuse any further performance under such Loan;
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   provided, however, that (A) Borrower shall promptly (and in any event within one Business
   Day of notice of the specific Principal) notify Agent of its determination to reject and rescind
   such Loan and (B) to the extent that any performance was rendered by Lender under any
   Loan rejected by Borrower, Lender shall remain entitled to any fees or other amounts that
   would have been payable to it with respect to such performance if such Loan had not been
   rejected.

3. Netting of Deliveries. On each Business Day, at such times and in such manner as may be
   mutually agreed by Agent and Borrower, Agent will sum together the aggregate amount of
   each Digital Asset to be delivered to Borrower, and subtract therefrom the aggregate amount
   of such Digital Asset to be delivered by Borrower to Agent, in each case on behalf of Agent’s
   Principals in accordance with the Agreement (the “Net Settlement Amount”). If the Net
   Settlement Amount for a Digital Asset is: (i) positive, Agent will deliver the Net Settlement
   Amount of such Digital Asset to Borrower or, (ii) negative, Borrower will deliver the Net
   Settlement Amount to Agent, in each case in accordance with the Agreement. Upon delivery
   of the Net Settlement Amount, Borrower and each Principal shall be fully discharged from
   liability for the obligations, if any, corresponding to such Net Settlement Amount and Agent
   shall be solely responsible and liable for delivering to each Principal the amount of such
   Digital Asset to which such Principal is entitled to under the Agreement.

4. Limitation of Agent’s Liability. The Parties expressly acknowledge that if the
   representations and warranties of Agent under the Agreement, including this Exhibit, are true
   and correct in all material respects during the term of any Loan and Agent otherwise
   complies with the provisions of this Exhibit, then:

   (a) Agent’s obligations under the Agreement shall not include a guarantee of performance by
       its Principal;

   (b) Borrower’s remedies shall not include a right of setoff against obligations, if any, of
       Agent arising in other transactions in which Agent is acting as principal; and

   (c) Following an Event of Default by Borrower, the Principal to the Loan(s) subject to such
       Event of Default may proceed directly as Lender against Borrower and not be obligated
       to join Agent or any other Principal as a condition precedent to initiating such
       proceeding.

4. Interpretation of Terms. All references to “Lender” or “Borrower,” as the case may be, in
the Agreement shall, subject to the provisions of this Exhibit (including, among other provisions,
the limitations on Agent’s liability in Section 3 of this Exhibit), be construed to reflect that
(i) Principal shall have, in connection with any Loan or Loans entered into by Agent on its
behalf, the rights, responsibilities, privileges and obligations of a “Lender” directly entering into
such Loan or Loans with Borrower under the Agreement, and (ii) Principal has designated Agent
as its sole agent for performance of Lender’s obligations to Borrower and for receipt of
performance by Borrower of its obligations to Lender in connection with any Loan or Loans
under the Agreement (including, among other things, as Agent for Principal in connection with
transfers of Loaned Assets and as agent for giving and receiving all notices under the
Agreement). Both Agent and its Principal shall be deemed “Parties” to the Agreement and all

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references to a “Party” or “either Party” in the Agreement shall be deemed revised accordingly
(and any Default by Agent under the Agreement shall be deemed a Default by Lender).




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                                     Exhibit E

                             Gemini 9019 Motion Notice
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Gemini Email

Subject: Notice - Settlement Agreement Between Genesis and Gemini

Hi [NAME],

We are writing to provide you with an update and required notice. Today, Genesis asked the
Bankruptcy Court to approve the “settlement in principle” announced on February 28, 2024,
which provides for a global settlement with Genesis and other creditors in the Genesis
Bankruptcy that will, if approved by the Bankruptcy Court, result in all Earn users receiving
100% of their digital assets back in kind in the near term and then the as recoveries are
received from Digital Currency Group, Inc. (DCG).

This notice marks the start of the required Bankruptcy Court approval process necessary for the
“settlement in principle” to become effective. No action is required on your part to benefit
from the terms of the settlement.

As a reminder, this settlement means, for example, that if you had lent one bitcoin in the Earn
program (as of November 16, 2022 — the date Genesis suspended redemptions), you will
receive one bitcoin back. And it means that you will receive any and all appreciation of your
assets since you lent them into the Earn program. If approved, we will be returning over $2
billion in value (at today’s prices) — $900 million more than when Genesis halted withdrawals.

You can find Genesis’s Motion to Approve the Settlement here [link to PDF], and you can also
find Gemini’s Statement in Support of the Settlement here [link to PDF]. The settlement itself is
Exhibit B to the Motion and starts on page 49 of the Motion PDF.

This required notice is intended to provide you with information regarding the
settlement, your recoveries under it, and your right to object to the settlement. Unless
you object to the settlement you will be legally bound to its terms pursuant to the
Proposed Order attached as Exhibit A to the Motion, which include:

   ●   Gemini distribution authorization. The settlement authorizes Gemini to expedite the
       delivery of your digital assets in kind upon the effectiveness of the settlement. Per the
       settlement, the return of your digital assets will not be dependent on the outcome or
       timing of the Genesis Bankruptcy Plan.
   ●   Initial distribution amount and timeline. The settlement provides that the initial
       distributions to you will be approximately 97% of the digital assets owed to you as of the
       suspension date (November 16, 2022) and that they will occur within a few weeks of the
       Bankruptcy Court approving the settlement. Your remaining asset balance will be
       credited in kind to you as recoveries are received from DCG. As part of this settlement
       Gemini is contributing $50 million to Earn users’ recoveries, inclusive of the $40 million
       referenced in the February 28, 2024 Earn update.
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   ●   Adversary proceeding. The settlement also resolves the Initial Collateral and Additional
       Collateral Adversary Proceeding (see February 9, 2024, November 22, and October 27,
       2023 updates on the Earn page) and resolves the preference claims against Earn Users.
       The settlement provides that Genesis waives all preference claims and causes of action
       against all Earn users.

The Motion here [link to PDF] contains additional information on the terms of the settlement. We
encourage you to read the settlement carefully.

Again, no action is required on your part unless you object to the settlement. In that case,
objections are due by April 9, 2024 at 4 and must comply with the instructions in the Notice of
Motion here [link to PDF]. Creditors who send the Bankruptcy Court an objection that is not
signed by an attorney and is not filed on the Bankruptcy Court’s docket must comply with the
requirements set forth in the Notice of Protocol for Written Communications to the Bankruptcy
Court by Creditors, as outlined on page 2 of the Notice of Motion (see December 29, 2023
update on the Earn update page).

The Bankruptcy Court will consider approval of the settlement at a hearing scheduled for April
16, 2024 at 11. Details for attending the hearing will be posted to the Earn page once they are
made available. The settlement will not become effective until it has been approved by the
Bankruptcy Court.

As a reminder, you can view the assets that will be returned to you if the settlement is approved
by logging into your Gemini account through the Gemini website or the Gemini mobile app and
clicking on “pending balance.” The settlement provides that all of your assets listed in the
“pending balances” will be restored in kind, with approximately 97% being distributed initially
and the remainder in full, upon receipt of recoveries from DCG.

Further updates regarding timelines will continue to be posted to the Earn update page as they
become available.

We truly appreciate your patience and support while we continue to advance this process to
conclusion.
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Gemini Earn Update

Same content.
